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YALE UNIVERSITY




Faculty Handbook



July 1, 2014




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                                                                       I. University Organization   1




                                        Introduction



The purpose of the Yale University Faculty Handbook is to present in a convenient form the
most important University policies and practices as they apply to the faculties of the University.
The policies included and referred to in this Handbook form part of the essential employment
understandings between members of the faculty and the University.




The Handbook is meant to inform and serve members of the administration as well as the faculty.
It is available on the Office of the Provost Web site. The text of the Handbook includes links to
University policies and resources available on Yale Web sites.




The Handbook will be revised as University policies evolve. An updated version of the Handbook
will be posted online annually each July 1, and during the year as necessary, so that faculty may
stay aware of changes in University policies. A memorandum highlighting significant changes
to the Handbook will be distributed to faculty with each new edition.




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I. University Organization

A. History

The institution that became Yale University was founded in 1701 as the Collegiate School by
ten Congregational ministers in Saybrook, Connecticut. In 1716, the school was moved to New
Haven. The School of Medicine was opened in 1813, and a Department of Theology, predecessor
to the Divinity School, was created in 1822. In 1824, a private law school conducted in New
Haven by three Yale graduates became affiliated with Yale College, and the Bachelor of Laws
degree was conferred by Yale for the first time in 1843. The Sheffield Scientific School and the
Graduate School followed. The first Ph.D. awarded in America was conferred at Yale in 1861. In
1887, the institution was given the legal title of Yale University. Schools of Music, Forestry &
Environmental Studies, Nursing, Engineering, Drama, Art, Architecture, and Management were
founded later. The activities of the Sheffield Scientific School were assumed by Yale College and
the Graduate School in 1945. The School of Engineering, part of the Sheffield Scientific School
from 1861, was established as a separate school in 1932. In 1962, most of its academic responsi-
bilities were transferred to the Department of Engineering and Applied Science, which has since
been divided into several departments, called the Faculty of Engineering and headed by a Dean
of Engineering. Women were admitted as regularly enrolled students to the Graduate School in
1892 and to Yale College in 1969. Since 2007 the Department of Epidemiology and Public Health,
which is formally part of the School of Medicine, has been called the Yale School of Public Health.
In 2008 the Faculty of Engineering became recognized as the School of Engineering & Applied
Science, which is formally a part of the Faculty of Arts and Sciences for the purposes of faculty
appointments and governance.

B.	The Yale Corporation

Yale’s Charter provides that the final authority in the “government, care and management” of the
University is the Yale Corporation, a body of nineteen Fellows consisting of the President of the
University, who presides at all meetings, the Governor and Lieutenant Governor of the state of
Connecticut, ex officiis, ten Fellows who are the “Successors of the Original Trustees” and who
may serve for two successive terms of six years each, and six Alumni Fellows, one elected each
year by the graduates to serve for six years. Upon recommendation of the President, in special
circumstances a Successor Trustee may be elected to an additional term of up to three years.
Alumni Fellows are eligible for appointment as Successor Trustees. Meetings of the Corporation
are held regularly during the academic year.




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                                                                         I. University Organization   3


C. Officers of the University

The Officers of the University are appointed by the Corporation. They are the President, Provost,
Vice President of the University, Vice President for Finance and Business Operations, Vice President
for Development, Vice President and General Counsel, Vice President for New Haven and State
Affairs and Campus Development, Vice President for Human Resources and Administration,
Secretary and Vice President for Student Life and such others as the Corporation may designate.
A description of the authority vested in each of them and the responsibilities of their respective
positions is given in The Yale Corporation By-Laws.

D.	Schools and Faculties of the University

Yale considers itself to have twelve professional schools within the University. Ten of these schools
have formal governance and faculty appointment procedures and have the authority to award
degrees by recommendation of the Dean of the School. The two remaining schools – Public Health
and Engineering & Applied Science – do not have the authority to appoint faculty, as they remain
divisions of the Schools of Medicine and the Faculty of Arts and Sciences, respectively. They do,
however, each have a Dean appointed by the President and approved by the Yale Corporation,
who oversees development and administrative matters within the school.

Degrees and courses of study in the University are offered in the twelve schools listed here with
the date each was founded: Yale College (1701); School of Medicine (1813); Divinity School
(1822); Law School (1824); School of Art (1865); Graduate School of Arts and Sciences (1892);
School of Music (1894); School of Forestry & Environmental Studies (1900); School of Nursing
(1923); School of Drama (1955); School of Architecture (1972); School of Management (1974).
Each school has its own Dean, faculty, and board of permanent officers or other governing body,
as approved by the Yale Corporation. The faculties of Yale College and the Graduate School
constitute the Faculty of Arts and Sciences, which is under the direction of the Faculty of Arts and
Sciences Executive Committee, composed of the President, the Provost, the Dean of Yale College,
the Dean of the Graduate School, and the Dean of the School of Engineering & Applied Science.

Subject to the overall authority of the Corporation, on recommendation by the President or Provost,
the faculty of each school, acting through such committees and procedures as it may adopt, has
the power to determine the school’s educational policies. In the Faculty of Arts and Sciences, the
full professors of that faculty meet together for the purpose of acting on appointments, and that
meeting is referred to as the meeting of the Joint Boards of Permanent Officers of Yale College
and the Graduate School. In each of the professional schools, the full professors on permanent




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appointment, as well as, ex officiis, the Dean of the School and the President and Provost, constitute
the board of permanent officers except where the appointment structure of a school requires a
different governing body, as approved by the Corporation.




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                                                                  II. University Policy on Freedom of Expression          5


II. University Policy on Freedom of Expression

In 1975, the Committee on Freedom of Expression at Yale,1 chaired by Professor C. Vann Woodward,
wrote the following:

       The primary function of a university is to discover and disseminate knowledge by
       means of research and teaching. To fulfill this function a free interchange of ideas
       is necessary not only within its walls but with the world beyond as well. It follows
       that a university must do everything possible to ensure within it the fullest degree
       of intellectual freedom. The history of intellectual growth and discovery clearly
       demonstrates the need for unfettered freedom, the right to think the unthinkable,
       discuss the unmentionable, and challenge the unchallengeable. To curtail free
       expression strikes twice at intellectual freedom, for whoever deprives another of
       the right to state unpopular views necessarily also deprives others of the right to
       listen to those views.

Members of this University have freely associated themselves with Yale and in doing so have
affirmed their commitment to a philosophy of mutual tolerance and respect. Physical restriction,
coercion, or intimidation of any member of the community is contrary to the basic principles of
the University. It is also a violation of these principles and of the University’s rules of conduct for
any member of the faculty, staff, or student body to prevent the orderly conduct of a University
function or activity, such as a lecture, meeting, interview, ceremony, or other public event. It is
similarly a violation of these principles to block the legitimate activity of any person on the Yale
campus or in any Yale building or facility.




1 “Report on the Committee on Freedom of Expression” (Yale University, January 1975), available at http://www.yale.edu/
yale300/collectiblesandpublications/specialdocuments/Freedom_Expression/freedom 1975.pdf.



                                                                                                       Byrne000026
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III. Faculty Ranks, Appointments, and Policies: University-wide

Nothing is more important to a university than the quality of its faculty, and this recognition informs
the policies that underlie the appointment and support of Yale faculty at all ranks. The definition
and standards for appointment at each rank and the procedures that govern appointments, reviews,
and promotions constitute the means by which the fairness and quality of faculty appointments and
promotions are ensured. The various forms of support for teaching and research described in this
book are designed to enhance the effectiveness and development of individual faculty members
and therefore the quality of the academic programs they create. In addition to the policies below,
please consult the sections relevant to each school for additional policies and information.

A. Equal Opportunity and Affirmative Action

The University is committed to basing judgments concerning the admission, education, and
employment of individuals upon their qualifications and abilities and affirmatively seeks to attract
to its faculty, staff, and student body qualified persons of diverse backgrounds. In accordance
with this policy and as delineated by federal and Connecticut law, Yale does not discriminate
in admissions, educational programs, or employment against any individual on account of that
individual’s sex, race, color, religion, age, disability, status as a special disabled veteran or veteran
of the Vietnam era or other covered veteran, or national or ethnic origin; nor does Yale discriminate
on the basis of sexual orientation or gender identity or expression. University policy is committed
to affirmative action under law in the employment of women, minority group members, individuals
with disabilities, special disabled veterans, and veterans of the Vietnam era or other covered veteran.
Inquiries concerning this policy may be referred to the Office for Equal Opportunity Programs.
Written affirmative action programs are maintained by the University for the employment of women,
members of government-designated racial or ethnic minority groups, persons with disabilities,
special disabled veterans, veterans of the Vietnam era, and other covered veterans. Copies of these
programs are available for review in the Office for Equal Opportunity Programs.

B. Faculty Ranks

At Yale, distinctions are made among ladder faculty ranks, non-ladder instructional ranks (e.g.,
lecturers, lectors, adjunct and visiting faculty), and research ranks. Differences among these
categories include the appointment and review procedures, leave and benefit policies, and maximum
time in rank. Throughout the University, ladder ranks include: at the non-tenure level, lecturer
convertible, assistant professor and associate professor on term; at the tenure level, associate
professor with tenure and professor. For a more detailed description of the faculty ranks, see
Sections IV through XVI.



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                                        III. Faculty Ranks, Appointments, and Policies: University-Wide   7


C. Recruitment and Approval Process for Faculty Appointments

Faculty positions are announced and nominations for them solicited in ways that will ensure
appointments of the highest possible quality and an appointments process that is consistent
with the University’s goals of open access and affirmative action. Usually recruitment for initial
appointments will include advertisement, such as announcements in professional journals and
newsletters and at professional meetings, as well as contact with representatives of relevant
departments and schools by letter, e-mail, or telephone. When general announcements are unlikely
to be successful, departments and schools are expected to undertake recruiting efforts that reflect the
special characteristics of the position and relevant pool of candidates. In general, new appointments
to the ranks of professor, associate professor, and assistant professor, including adjunct ranks,
require written documentation of the entire search process. This documentation is reviewed by
the Office for Equal Opportunity Programs and must be approved by the Provost’s authorized
representative before an appointment is offered. Affirmative Action Deputies are appointed in
each of the professional schools, and individuals are asked to serve on search committees in the
Faculty of Arts and Sciences, to assist search committees in their schools and departments with
the recruitment of women and members of minority groups. More detailed information about
appointments procedures can be found in memoranda prepared and distributed by the Provost
and deans of the professional schools.

D. Authority to Appoint

Appointments to all faculty positions are made by vote of the Yale Corporation, either upon
nomination by the President, or upon nomination approved and transmitted by the President or
Provost. Appointments to tenure are made after recommendation to the Provost by the board of
permanent officers or otherwise designated governing body of a school. Other appointments may
be recommended by the board of permanent officers or other governing body, by the Dean, or by
the appropriate appointments committee, depending on the school originating the appointment.

No offer of appointment or promotion is final until approved by the Corporation upon the
recommendation of the President or Provost. No member of a faculty may commit the University
to any academic appointment unless authorized by the Corporation to do so. With the approval
of the Provost, chairs of departments or deans of schools, or their representatives, may, however,
discuss the terms of possible offers of academic appointment with prospective candidates. A notice
of the Corporation’s vote making the appointment is sent to the appointee by the appropriate
department or school after authorization from the Office of the Secretary.




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E. Appointments and Terms of Employment

No one appointed to a ladder faculty position at Yale may simultaneously hold a tenure or
tenure-track position elsewhere.2 Various kinds of other appointments at other institutions may
be appropriate, as long as they are disclosed and do not create a conflict of interest or conflict of
commitment (see Section XX.E). No member of the faculty at any rank employed full-time at
Yale may hold a teaching position, whether full-time or part-time, even a visiting one, at another
institution during the academic year without special permission from the Provost, and in such
cases additional compensation is not permitted. With prior approval from the Provost, a faculty
member may accept a temporary visiting appointment at another institution while on an unpaid
leave of absence from Yale.

Appointments to the faculty are to a given rank and generally for a specified period of time ranging
from one semester to five years. The only exceptions are (i) appointments to tenure positions and,
in certain professional schools, appointments to continuing professorial ranks, neither of which are
limited as to time; and (ii) appointments to the rank of associate professor on term in the Faculty
of Arts and Sciences, which are made for a term equal to the faculty member’s remaining eligible
time in the non-tenure ranks, up to seven years (see Section IV.I.1). Many term appointments
are renewable, though the time permitted in non-tenure ladder ranks is generally limited. Most
appointments carry with them an understanding of a full-time level of compensated effort, i.e.,
full-time employment, either for the academic year or the full calendar year. However, the level
of compensated effort in appointments other than tenure appointments may be less than full-time
and may vary from year to year. Tenure appointments of less than full-time are permitted only in
exceptional circumstances and for a limited duration of time. Thus it is important to distinguish
between the level and term of appointment and the understanding with respect to the fraction
and duration of employment.

F.    Maximum Time in Non-tenure Ladder Ranks

With the exception of faculty in certain tracks in Medicine and Public Health, no one on the Yale
faculty may be employed in the ranks of assistant professor and associate professor on term for
longer than a total of ten years, plus any extensions as described below. In the Faculty of Arts
and Sciences and in the Schools of Architecture, Divinity, and Forestry & Environmental Studies,
that maximum is nine years (see Section IV.I). The maximum may be extended by up to a total



2 Exceptions may be made, with the approval of the Corporation, to enable ladder faculty in a clinical specialty in the School
of Medicine to hold tenure-track appointments in a cooperating academic institution, where there is a formal inter-institutional
arrangement with such institution and where the clinical opportunity is not sufficient at Yale alone.




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of three years for time during which the faculty member:

       (a) has taken a leave of absence for public service or military service,

       (b) has taken an approved Child-Rearing Leave or a Caregiver’s Leave of at
       least six weeks, or

       (c) has been granted an extension in his or her term of appointment in
       connection with child rearing or as a result of a short-term medical disability
       of at least six weeks (see Section XVII.D).

Extensions granted for any combination of these reasons are subject to a maximum of
three additional years in the non-tenure ladder ranks.

An extension may also be allowed, on a pro-rata basis and subject to the same three-year limit
on extensions, for time during which the faculty member holds a part-time ladder appointment
at Yale. For example, a person working half-time over the course of two academic years would
be entitled to a one-year extension of the nine or ten-year maximum.

In the School of Medicine and the School of Public Health, the ten-year maximum in the Traditional
Track includes years of appointment to the ladder ranks at Yale and up to three years served in
the ladder ranks at other institutions.

G.	Notice of Termination and Non-reappointment

The reappointment of persons holding term appointments is not automatic at Yale. Schools and
departments are expected to make a careful evaluation of each candidate’s work and promise, as
well as the programmatic needs of the school or department, before deciding whether or not to
recommend reappointment or promotion. Notice of non-reappointment for persons holding full-
time term appointments will be given in writing according to the following schedule, although
failure to provide such notice does not create any right to extension or reappointment.

For full-time faculty in the ladder ranks appointed to terms of three or more years, notice of non-
reappointment normally will be given at least one year before the terminal date of the appointment,
even when a review for promotion is underway.

In extraordinary circumstances, persons at the ladder rank of assistant professor holding an
appointment of at least three years may request, in writing, a waiver of the one-year notification
by asking for postponement of the required review until the fall term of their final year of




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appointment. Schools and departments are not obligated to grant such requests and may do so
only after approval by the Office of the Provost following consultation with the appropriate Dean.
In such cases, the decision of the department on promotion, reappointment, or termination should
be communicated to the individual no later than December 1 of the terminal academic year. Only
in extraordinary circumstances will permission be granted to postpone the review until the final
year in the non-tenure ladder ranks.

For full-time faculty in the fifth or any subsequent year of successive one- or two-year appointments
in the non-ladder ranks, notice of non-reappointment normally will be given by October 31 of
the final year of appointment.

For specific notice of non-reappointment as lector, senior lector, adjunct, and lecturer in the
Faculty of Arts and Sciences, see Section IV.J.

For notice of termination in research faculty appointments as a result of lack of external salary
support, see Section XV.A.

For notice of termination specific to certain professional schools see Sections V through XIV,
and consult the appointments procedures of the appropriate school.

H. Joint Ladder Faculty Appointments between Departments or Schools

Joint ladder faculty appointments to two or more schools or departments are normally appropriate
only if the appointee is expected to make a significant contribution to the undergraduate or
graduate programs by teaching, conducting research, supervising dissertations, or carrying out
administrative responsibilities on a regular basis in both of the schools or departments to which
joint appointment is made.

There are two kinds of joint faculty appointments. A fully joint appointment is made for the same
duration (including without term, if the rank is one of tenure) and confers voting rights appropriate
to the rank in both departments, programs, or schools. Such an appointment is made only by
vote of both departments, programs, or schools, the appropriate appointments committees and
governing boards, and the Corporation, either at the time of initial appointment or subsequently.

The more common kind of joint appointment is characterized by a primary appointment in one
department or school and a secondary (sometimes called “courtesy”) appointment in another. The
secondary appointment will normally be either for a time not to exceed the term in the primary
department or school or for five years, whichever is less. Under most conditions the secondary
appointment may be renewed by vote of the faculty in the secondary department or school.



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When either kind of joint appointment of a new member of the faculty is anticipated, the initiating
school or department is expected to seek participation of any proposed second school or department
at the beginning of or as early as possible in the search for candidates. Joint appointments require
approval through the normal procedures of both schools or departments.

Persons currently holding an appointment in one Faculty of Arts and Sciences department may
be granted a secondary appointment in another for a renewable term of up to five years with the
approval of both departments and the Steering Committee of the Faculty of Arts and Sciences.
Persons holding an appointment in a professional school may be granted a secondary appointment
in the Faculty of Arts and Sciences with the approval of the school, the department, and the Steering
Committee of the Faculty of Arts and Sciences. Persons holding an appointment in the Faculty
of Arts and Sciences may be granted a secondary appointment in a professional school with the
approval of the school’s appointments committee, where appropriate, and board of permanent
officers or other authorized governing board.

Voting rights in the secondary department or school follow department or school customs,
except that faculty holding secondary appointments may not vote on tenure appointments in the
department or school in which they hold secondary appointment.

Within the Faculty of Arts and Sciences, faculty members holding secondary appointments in
an interdisciplinary department (such as African American Studies) or certain interdisciplinary
programs (such as the Humanities Program) have the same voting privileges as those with primary
or fully joint appointments.

I.   Part-time Appointment to the Ladder Ranks of Assistant Professor, Associate
     Professor, and Professor

1.   Definition and Purpose

The primary purpose of allowing part-time appointments to the ladder ranks is to accommodate
persons whose pressing personal or professional responsibilities cannot be adjusted to full-time
appointments at the University. For positions with tenure (and in the School of Medicine,
positions held on a continuing basis), part-time appointments are permitted only in exceptional
circumstances and only for a limited period of time. The proportion of time designated in a part-
time appointment applies to the full range of faculty responsibilities, including committee work
and other administrative obligations.




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2.	Terms and Conditions of Part-time Appointments

An appointment in the ladder ranks on a part-time basis requires approval by the Provost, except
in the School of Medicine, where approval may be granted by the Dean. Normally, the proportion
of time specified at the outset of a part-time appointment will apply throughout the appointment.
Changes in the proportion of time require the approval of the Provost (or in the School of
Medicine, the Dean).

Part-time appointments are made in accordance with the standards and procedures for full-time
appointments to these same ranks. Such appointments will be made as a percentage of full-time
(not less than fifty percent) occurring throughout the academic year. With the exception of faculty
on Phased Retirement, appointments will ordinarily be made for the full academic year, rather
than on the basis of one-term-on, one-term-off. A person holding a part-time appointment in the
rank of assistant professor, associate professor, or professor is required to obtain approval from
the Provost or Dean before undertaking outside employment during the academic year.

3.	Extension of Time in Rank

The ten-year limit (nine years in the Faculty of Arts and Sciences, the Divinity School, the School
of Architecture, and the School of Forestry & Environmental Studies) on non-tenure appointments
and the limits on time in a particular rank may be extended for a faculty member who has held
part-time appointment in a ladder rank, up to a maximum of three additional years. The Provost, on
the recommendation of the appropriate Dean, will determine whether to grant such an extension.
However, in no case may an individual be on part-time status or a combination of part-time and
full-time status in term appointments to the ladder ranks for a period that exceeds thirteen years
(twelve in the Faculty of Arts and Sciences and the Schools of Architecture, Divinity, and Forestry
& Environmental Studies), including any extensions as described in Sectrion III.F.

4.   Leaves and Benefits

Persons holding part-time appointments (with proportional compensation) are eligible for most
leaves available to full-time faculty members in those faculties in proportion to the percentage of
time worked. For full information about leaves, consult the Office of the Provost. For information
about benefits, consult the Benefits Office.




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J.   Dual Appointments as Faculty and Managerial or Professional Employee

1.   Primary and Secondary Appointments

When an individual holds both a faculty appointment and an appointment as a managerial or
professional employee, one appointment is primary and the other is secondary. In rare cases, an
individual can hold a fully joint appointment. The designation is normally made either at the
time of hire or at the time the second appointment is made, but it may be done at any time by
the Dean or Provost. If a primary faculty appointment is changed to secondary during the term
of appointment, that designation becomes effective after the expiration of a period equal to the
required notice of non-reappointment for that position, as specified in Section III.G. If no formal
designation is made, a dual faculty appointment in a ladder or research rank is presumed to be
primary, and a dual faculty appointment in any other rank is presumed to be secondary.

2.	Termination

The termination of a primary appointment, whether faculty or managerial or professional,
automatically terminates a secondary dual appointment, without any notice, grievance or similar
rights with respect to the secondary appointment otherwise afforded by the Faculty Handbook
or the Personnel Policies and Practices Manual available on the Human Resources Web site.
The termination of a secondary appointment is effective at the same time as the termination of
the primary appointment, except that if the individual is teaching a course during the current
academic term under the secondary appointment, the termination may be made effective at the
end of the academic term. Termination of (or other personnel action directed toward) only the
secondary appointment will not automatically affect the primary appointment. In such instances,
the individual will be extended such notice, grievance and similar rights as are afforded by the
Faculty Handbook or the Personnel Policies and Practices Manual with respect to the secondary
appointment.

K. Faculty Appointment Procedures

1.   General

Specific details and documents regarding the appointments process in the Faculty of Arts and
Sciences can be found on the Faculty of Arts and Sciences Web site. Similar material is normally
circulated by the deans of professional schools to their faculties. The normal procedure for
appointment and promotion begins with the consideration by the department or school of its
needs and a request to the Provost for a defined position. In the Schools of Medicine, Nursing,




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and Public Health only tenure and continuing positions must be specifically approved by the
Provost. Once the position has been authorized, the department or school takes the initiative on
the appointments process, except that the Office of the Provost, the appropriate dean’s office,
and the Office for Equal Opportunity Programs are involved in various stages as set forth in the
appointments memoranda.

a. Ladder Positions in the Faculty of Arts and Sciences. When a person is recommended
for a ladder position through the search and voting processes of a department in the Faculty of
Arts and Sciences, the recommendation is reviewed by the Dean of Yale College, the Dean of the
Graduate School, the Dean of the School of Engineering & Applied Science or by an appointments
committee. Appointments to the rank of assistant professor will be reviewed by the Dean who
oversees the department. Should the Dean have concerns about the search process or appointment
that cannot be resolved in discussion with the department chair, the appointment will be referred
to an ad hoc committee composed of three faculty members from the Tenure Appointments and
Promotions Committee of the relevant division, whose decision will be final. Appointments to the
ranks of associate professor on term or with tenure and to professor are reviewed by the Tenure
Appointments and Promotions Committee for the division in which the candidate is recommended
(see Section IV.C). On the initiative of the Provost, the Dean of Yale College, or the Dean of the
Graduate School, an ad hoc committee may be impaneled by the Provost as a supplement to, or
as a substitute for, the Tenure Appointments and Promotions Committee.

b. Ladder Positions in the Professional Schools. In each of the professional schools of the
University, ladder faculty appointments are initiated either by a school-wide appointments committee
or by a department followed by a school-wide appointments committee. They are then voted upon
by the board of permanent officers or other authorized governing body of the school. In the case
of small or diversified faculties, the Provost will, as a matter of course, impanel either a standing
committee (normally called the Standing Advisory and Appointments Committee) or an ad hoc
committee to conduct an advisory review of the recommendations for tenure appointments made
by the board of permanent officers or other authorized governing body of such faculties. In some
schools (e.g., Drama and Music) recommendations of appointments to the ranks of professor
adjunct and associate professor adjunct are reviewed in the same way. No appointments are final
until voted by the Corporation on the recommendation of the President or Provost.

c.	Non-Ladder Positions University-wide. In the Faculty of Arts and Sciences and in each of
the professional schools, procedures exist that govern the steps needed to recommend a non-ladder
faculty appointment to the Corporation.




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2.   Voting on Appointments and Promotions

When meeting to discuss a faculty appointment or promotion, the permanent officers or other
authorized governing body of a school may invite to attend, with vote, other members of their
faculty who hold a rank equal or superior to that of the position to be filled. However, regardless of
rank, faculty with secondary appointments in a department or school may not vote on promotions
or appointments to tenure. An exception to this is made for faculty holding secondary appointments
in certain interdisciplinary departments and programs (see Section III.H and Section IV.H). Also,
faculty on term appointments may not vote on reappointments to ranks equivalent to or above
their own.

In the Faculty of Arts and Sciences and most professional schools, voting on all appointments
and promotions for terms of more than one year must be conducted with secret ballots. This
secret ballot requirement also applies to preliminary votes to decide among candidates. Informal,
“straw” voting about an individual candidate is prohibited. For an appointment to be approved
the candidate must receive affirmative votes from a majority of those present and eligible to vote.
Absentee ballots may not be accepted, counted, or recorded. Should a discussion of a particular
candidate extend beyond a single meeting, ballots may be accepted only from those members of
the faculty present and eligible to vote at the final meeting.

For purposes of the foregoing, in exigent circumstances and with prior permission of the cognizant
dean, a department, program, or school may treat as present a faculty member who participates in
the discussion preceding a vote via two-way audiovisual technology enabling that faculty member
to see and hear, and be seen and heard by, all other faculty members participating in the vote. A
faculty member deemed present by such technological means may submit his or her ballot in a
manner that keeps it secret, and a ballot so transmitted shall not be considered an absentee ballot.

3.   Confidentiality of Letters of Evaluation

It is University policy that only those who by usual practice transmit or vote on a particular
candidate’s appointment or promotion may see the letters of evaluation used in the appointments
process. The letters of evaluation are confidential, and their contents may not be shared with the
person being evaluated. They may be seen by a review committee in the course of a grievance
and may have to be produced in the course of administrative proceedings or legal actions.

4.   Dates of Initial Appointments and Resignations

Except in extraordinary circumstances and with the approval of the Provost, in all schools except




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Drama, Medicine, Nursing, and Public Health, initial appointments to the ladder faculty begin
on either July 1 or January 1, and resignations from the ladder ranks can take place only on June
30 or December 31.

In the Schools of Drama, Medicine, Nursing, and Public Health, initial appointments may be
made, and resignations accepted, at any time during the calendar year.

Faculty appointments to the research ranks are normally made on a 12-month basis and may
begin and end at any time of the year.

5.	Schedule of Salary Payments

Faculty on nine-month appointments who are paid over a twelve-month period are paid in advance
during July and August of each year of appointment and must complete the academic year to
have earned that salary (see Section XVIII.A.1).

Faculty on nine-month appointments who conduct scholarly or research activities during the
academic year that are supported by external funding sources may elect to participate in an
alternative compensation schedule wherein academic year salaries will be paid over the nine
academic months. This program permits faculty who charge a portion of their academic year
salaries to sponsored projects to establish from those salary savings a special research account
that may be used (a) to provide up to three months of summer salary, (b) as bridge funding, (c)
to support new initiatives, or (d) for research-related expenses not normally allowable as direct
costs on sponsored projects. This program is described in detail on the Web site of the Office of
Research Administration.

One-year appointees are normally appointed and paid from September through May, and one-
semester appointees from September through December, or January through May, as appropriate.
When circumstances warrant, and with prior permission from the Office of the Provost, one-semester
appointments may be made from July through December or from January through June, as
appropriate. Similarly, one-year appointments may be made from July through June or from
January through December.

L. Decisions Not to Reappoint or Promote and their Review

1.   General

In making any appointment to the faculty, the University seeks to appoint the best candidate for
the position. Faculty members on term appointments do not have a right to reappointment or



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promotion, and decisions on reappointment, like initial decisions on appointment, are subject to
the exercise of professional and scholarly judgment by competent University authorities.

To ensure that there is no misunderstanding about the availability of positions, that extra- department
and extra-school interests of the University have not been overlooked, and that the department
or school consideration of each member of the non-tenured faculty has been adequate, chairs
of Faculty of Arts and Sciences departments and deans of schools will, as a matter of course
(and prior to any formal action on appointments by the department or school), discuss with a
representative of the Office of the Provost all members of their faculties who might expect to
be considered for reappointment or promotion. When a decision not to reappoint or promote is
made on a candidate who has held an appointment at Yale for more than one year, the department
or school submits to the Provost a brief report of the action to be taken before that decision is
conveyed to the candidate. In the School of Medicine, departments submit such reports to its
Office for Faculty Affairs.

2.    Review Procedures Initiated by the Provost

The Provost may ask a department or school that has decided not to recommend a reappointment
or promotion to reconsider the case.

If the Provost has substantial questions about the adequacy of the consideration of a candidate for
reappointment or promotion, he or she may request a review committee to review the decision
and to offer advice on the matter. The views of the department or the school are presented in any
such reappraisal.

3.    Review Procedures Initiated by Faculty Members Concerning Decisions on
      Reappointment and Promotion

a. Purpose. The review procedures described below are intended for any faculty member3
who believes (i) that a University policy has not been properly observed in the case of his or
her reappointment or promotion; (ii) that his or her reappointment or promotion has not been
adequately or fairly considered; or (iii) that he or she has been discriminated against in matters
of reappointment or promotion on the basis of race, color, religion, age, sex, sexual orientation,



3 These procedures are available to all members of the teaching and research faculty, with the exception of clinicians and voluntary
faculty in the Schools of Medicine and Nursing. Research faculty (as described in Section XV) may not seek review of reappoint-
ment or promotion decisions related to termination of funding or nonrenewal of the grant or contract from which they are funded.




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disability, national or ethnic origin, veteran status, or gender identity or expression. It is not the
purpose of these review procedures to consider substantive issues of professional competence.

b. Process

Informal Consultation and Resolution. A faculty member is encouraged initially to seek an
equitable solution to the problem through direct discussion with the responsible persons. The
Dean of the School, the Dean of Yale College, the Dean of the Graduate School, or the Provost
will, if requested, recommend a faculty member or administrator who may be consulted for
advice in a confidential manner by any member of the faculty who believes that he or she may
have cause for complaint.

Submission to the Provost. Where any informal consultation has not resolved the problem, the
complainant shall submit a letter to the Provost explaining the complaint and the redress sought
and requesting consideration of the complaint.4 If the Provost was significantly involved in the
matter under dispute, the President will assume the Provost’s role in these review procedures.
The complainant’s letter must be received by the Provost within 45 days of the final action giving
rise to the complaint. The Provost will furnish a copy of this letter to the individual respondent(s)
who are the subject of the complaint.

The Provost, or at the request of the Provost, the cognizant dean or other designee, may conduct a
preliminary review of the complaint and, if appropriate, attempt to resolve the matter informally.
If the matter cannot be resolved informally, the Provost will consider whether the complaint falls
within the purview of a review committee and merits review. For example, the Provost will reject
any complaint based on a disagreement with the professional judgment of the department or the
appointments committee. As soon as possible, but normally within 30 days after the Provost’s
receipt of the complaint, the Provost will forward to a review committee those issues raised by
the complainant that have not been resolved, except for any that the Provost has concluded are
not within the purview of the procedures or are clearly without merit.

Review Committee Procedures. A review committee will consider complaints referred to it by
the Provost. The Review Committee for the Faculty of Arts and Sciences is a standing committee,



4 In the School of Medicine, the complainant must first submit a letter of complaint to the Dean. If the complainant believes the
Dean has been significantly involved in the matter under dispute, he or she shall submit the letter directly to the Provost. The Dean
must receive the letter within 45 days of the final action giving rise to the complaint. The Dean may attempt to resolve the complaint
informally and/or order a review by a designee or an ad hoc School of Medicine faculty review committee. The Dean’s review will
be carried out within a reasonable period (normally 90 days) and will conclude with a written response from the Dean. In cases
where the Dean appoints a review committee, the complainant may challenge the procedural propriety of the Dean’s review by
submitting a written complaint to the Provost within 14 days of the date of the Dean’s written response.




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appointed each year by the Provost in consultation with the Executive Committee of the Faculty
of Arts and Sciences and consisting of up to twenty tenured members of the Faculty of Arts and
Sciences. For any particular review, the Provost will select a panel of five faculty from the Review
Committee membership, with one of these individuals designated chair of the particular review.

When required by the number of reviews underway or by the inability of standing Review
Committee members to participate in a particular review, the Provost will supplement the standing
Review Committee with additional tenured members of the Faculty of Arts and Sciences. In these
circumstances, the panel hearing a case will consist of five members, including no fewer than
two members of the standing Review Committee and no more than three supplemental members.
The Review Committee for cases involving faculty appointments in other schools will consist of
five members of the faculty, including two members of the Faculty of Arts and Sciences Review
Committee and three members of the faculty who will be appointed by the Provost to review a
particular case. These three members must be tenured faculty, except that in the case of Music
and Drama they may be professors of the practice or professors adjunct, and in the School of
Medicine they may be professors in the clinician-scholar, clinician-educator, or investigator tracks.

No faculty member who is directly involved in the complaint may serve as a member of the
Committee hearing the complaint. When a member is excused for this reason or is otherwise unable
to participate, the Provost may designate a substitute. During its inquiry, the Committee may
review documents from any office of the University that are relevant to the underlying complaint
and that were prepared prior to the decisions about which the faculty member is complaining.
However, the Committee may not review documents covered by a legal privilege (for example,
psychiatric patient records and attorney-client communications). It is expected that all members
of the Yale community will cooperate fully with the Committee in its inquiry.

The proceedings are not intended to be adversarial. The complaining faculty member must meet
with the Committee and may be accompanied by an adviser when doing so. The complainant
and the respondent(s) will have the opportunity to present information and to propose that
the Committee interview relevant witnesses. The complainant and the respondent(s) may be
permitted to inspect documents or parts of documents that the Committee deems directly relevant
to the specific complaint and that were not written under a presumption of confidentiality. As its
inquiry proceeds, the Committee may interview the witnesses proposed by the complainant or
the respondent(s) and any other person it deems relevant. The Committee may at its discretion
pursue its inquiry with or without the presence of the complainant and his or her adviser. The
Committee may consult separately with the adviser only with the consent of the complainant.




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Where a complaint alleges sex discrimination or discrimination on the basis of disability in a
matter of reappointment or promotion, the Committee will also consult, respectively, with the Title
IX Coordinator of the University or the Director of the Office for Equal Opportunity Programs.

The Review Committee, having conducted its inquiry, will deliberate in closed session and will
present to the Provost a written report stating its findings of fact and its conclusions as to whether
University policy has been violated or the appointment or promotion was not adequately or fairly
considered. In a separate section of the report, the Committee will state its recommendations, if
any, regarding redress and outline whatever other actions or changes in policies or procedures, if
any, it recommends to the Provost in light of the information it has gathered in the course of its
review. The report of the Committee will be adopted only upon the majority vote of the members
of the Committee who participated in the inquiry.

Resolution. The Review Committee will submit its report within a reasonable period of time,
normally within 90 days of its receipt of a complaint. The Provost will furnish copies of the
Committee’s findings of fact and conclusions, but not its recommendations, to the complainant
and the respondent(s). If the complainant or the respondent(s) wish to provide a written response,
this response must be submitted to the Provost within 14 days of receiving the findings of fact
and conclusions.

On the basis of his or her own concerns or concerns raised in response to the report, the Provost
may ask the Committee to re-examine or clarify findings of fact. If necessary, the Committee may
submit a revised report to the Provost. The Provost will then accept the Committee’s findings of
fact. The Provost may accept, modify, or reject the conclusions of the Committee and any of its
recommendations. However, in any case where the Provost has reservations about the Committee’s
conclusions or recommendations, the Provost will discuss the matter with the Committee in
advance of a final decision and explain his or her reasons for disagreement. The Provost will then
decide the matter and convey his or her decision in writing to the complainant, the Committee,
the respondent(s) and, where appropriate, the relevant appointments committee.

The Provost’s decision ordinarily should be rendered within 14 days after receiving the responses
of the complainant and the respondent(s).

A decision by the Provost to sustain a decision not to reappoint or promote a member of the faculty
shall be final. Any other decision by the Provost will be implemented in accordance with rules or
practices of the University. For example, an ad hoc appointments committee might be impaneled.




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Time Periods. In instances where additional time may be required during the review process –
for example, delays caused by the absence of faculty members over the summer months – the
Provost may extend the time periods set out above. If a time period is extended, the complainant
and respondent(s) will be informed.

M. Review Procedure for Complaints about Issues Other than Reappointment or
   Promotion

If a member of the teaching or research faculty believes that he or she has suffered as a result
of a breach of University policy (e.g., discrimination on the basis of race, color, age, religion,
sex, sexual orientation, disability, national or ethnic origin, veteran status, or gender identity
or expression) in a matter not involving reappointment or promotion and seeks a review of the
matter, he or she may request a review in accordance with the procedure set forth above.5 If
the complaint is submitted to a committee for review, the Provost, at his or her discretion, may
submit the complaint either to the Review Committee composed as described above or to an ad
hoc panel of no fewer than three members appointed by the Provost. A decision of the Provost
regarding a complaint brought under this section shall be final.




5 These procedures are available to all members of the faculty, with the exception of the voluntary clinical faculty of
the School of Medicine and the School of Nursing.



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IV. Faculty of Arts and Sciences

A. General

The Faculty of Arts and Sciences is organized into departments and interdisciplinary programs
with limited powers of appointment. Each department and most programs are assigned to one
of four divisions: Humanities, Social Sciences, Biological Sciences, and Physical Sciences and
Engineering. Each division has a director appointed by the President who serves as chair of one of
four divisional advisory committees. The members of the divisional committees, also appointed by
the President, are full professors drawn from the depart ments in that division. These committees
have two related functions. They meet regularly with chairs of departments and programs or among
themselves in order to provide advice to the deans, the Provost, and the Steering Committee of
the Faculty of Arts and Sciences about the quality and effectiveness, as well as the appointments
needs, of the departments and programs in their division. They also meet, in this case chaired by
the Dean of the FAS and including a representative from a department outside the division, to
act as the Tenure Appointments and Promotions Committee for their division.

The Faculty of Arts and Sciences Executive Committee, composed of the President, the Provost,
and the Deans of FAS, the Graduate School, and the School of Engineering & Applied Science,
is the final authority for all matters of policy. The responsibility for allocating faculty resources
resides with the Provost, who chairs a committee called the Faculty of Arts and Sciences Steering
Committee, which includes the Deans of FAS, the Graduate School, the School of Engineering
& Applied Science, the Vice President for West Campus Planning and Program Development,
and appropriate deputy, associate, and assistant provosts. The Dean of the FAS monitors the
search and appointment process by which faculty positions in those departments are filled, from
advertisement to final approval of the successful candidate.

B.	The Executive, Expanded Executive, and Steering Committees of the Faculty of Arts
   and Sciences

The Executive Committee of the Faculty of Arts and Sciences consists of the President, the Provost,
and the Deans of the FAS, the Graduate School, and the School of Engineering & Applied Science,
together with such other members as the President may add from time to time. This committee is
the final authority for all matters of policy within the Faculty of Arts and Sciences. The directors
of the four divisions meet periodically with the Executive Committee for the discussion of matters
affecting this faculty. This augmented group is called the Expanded Executive Committee of the
Faculty of Arts and Sciences.




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The Steering Committee of the Faculty of Arts and Sciences is chaired by the Dean of FAS and
also includes the Deans of Yale College, the Graduate School, and the School of Engineering
& Applied Science, the Vice President for West Campus Planning and Program Development,
and appropriate deputy, associate, and assistant provosts. The Steering Committee advises the
Executive and Expanded Executive Committees on matters of policy; advises the Provost on
matters of resource allocation; and approves all appointments and promotions to assistant professor,
associate professor on term, and the various non-ladder ranks (described in Section IV.J) of the
Faculty of Arts and Sciences.

C. Divisional Committees on Appointments and Promotions

From time to time during the year, each divisional advisory committee is joined by the Dean
of the FAS and by one or two tenured faculty members from another division and meets as the
Tenure Appointments and Promotions Committee for that division. These committees review all
appointments and promotions to the ranks of professor and associate professor with tenure. The
Tenure Appointments and Promotions Committees are chaired by the Dean of the FAS.

In special cases where the proposed candidate’s field does not fall clearly within the general
area represented by a single divisional committee, the Provost may augment a divisional Tenure
Appointments and Promotions Committee by two or three additional voting members from other
divisions, chosen for the expert advice and judgment they can bring to bear on the proposed
appointment.

D. Academic Departments and Programs

The Faculty of Arts and Sciences is divided into departments, each with the capacity to propose
its own appointments and with its own chair appointed by the Corporation on nomination by
the President after consultation with the deans and faculty, for a term normally of three years.
In addition, there are several interdisciplinary departments, programs, and centers (e.g., the
MacMillan Center for International and Area Studies) with specified powers of appointment.

         Biological Sciences

               Ecology and Evolutionary Biology
               Molecular Biophysics and Biochemistry
               Molecular, Cellular and Developmental Biology




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         Humanities

                Classical Languages and Literatures
                Comparative Literature
                East Asian Languages and Literatures
                English Language and Literature
                French Language and Literature
                Germanic Languages and Literatures
                History
                History of Art
                Humanities Program
                Italian Language and Literature
                Music
                Near Eastern Languages and Civilizations
                Philosophy
                Religious Studies
                Slavic Languages and Literatures
                Spanish and Portuguese Languages and Literatures

         Physical Sciences

                Applied Physics
                Astronomy
                Chemistry
                Computer Science
                Geology and Geophysics
                Mathematics
                Physics

         Engineering

                Biomedical Engineering
                Chemical and Environmental Engineering
                Electrical Engineering
                Mechanical Engineering and Materials Science




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          Social Sciences

                 Anthropology
                 Economics
                 Linguistics
                 Political Science
                 Psychology
                 Sociology
                 Statistics

          Cross-Divisional

                 African American Studies
                 American Studies
                 Women’s, Gender, and Sexuality Studies

The departments of Biomedical Engineering, Chemical and Environmental Engineering, Electrical
Engineering, and Mechanical Engineering and Materials Science constitute the School of Engineering
& Applied Science and are under the administration of the Dean of Engineering & Applied
Science. Other programs, such as Film Studies and Theater Studies, offer courses and majors
in Yale College and have the authority to make non-ladder faculty appointments independently
and ladder appointments jointly with an FAS department or professional school. For details on
these and other programs, consult the catalogues of Yale College and of the Graduate School.

E. Appointments to the Graduate School Faculty

Principal advisors of doctoral candidates must have appointments to the Graduate School faculty.
An appointment to the ladder ranks (lecturer convertible, assistant professor, associate professor on
term or with tenure, and professor) in one of the departments in the Faculty of Arts and Sciences
or in certain of the departments or sections of the School of Medicine6 simultaneously confers
an appointment to the Graduate School faculty. Appointment to the Graduate School faculty is
also simultaneously conferred when a member of the ladder faculty in a professional school is
given a joint appointment, either fully joint or secondary, by one of the specified departments



6 Relevant departments and sections within the School of Medicine include: Cellular and Molecular Physiology,
Cell Biology, History of Medicine, Immunobiology, Microbial Pathogenesis, Neurobiology and Pharmacology. In
addition, the School of Medicine bridge departments, Epidemiology and Public Health, Genetics, and Pathology,
have significant numbers of faculty who hold appointments in the Traditional Track, and thereby simultaneously have
Graduate School appointments.



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or sections. A joint appointment is an indication by the appointing department or section that
a faculty member is fully qualified to teach and advise doctoral candidates in that department.

In professional schools that have graduate programs leading to the Ph.D. degree (Architecture,
Forestry & Environmental Studies, Management, Nursing, and Public Health), the school’s
Standing Advisory and Appointments Committee (SAAC) will evaluate the credentials of their
ladder faculty for appointment to the Graduate School faculty. The Dean of the FAS, in consultation
with the Dean of the Graduate School, will make the final appointment.

On rare occasions, a ladder faculty member of a professional school that does not have a Ph.D.
graduate program and whose scholarly interests do not align with any Graduate School department
or section may be proposed to teach or advise doctoral students. The process for appointing him
or her to the Graduate School depends upon the school or section to which the faculty member
belongs and is at the discretion of the Dean of the FAS, in consultation with the Dean of the
Graduate School.

F.   Faculty Meetings

Meetings of the Yale College faculty are held on the first Thursday of every month during the
academic year and on other occasions as announced by the Dean of Yale College. Graduate School
faculty meetings are held at least twice a year before the November or December and the May
meetings of the Corporation, and at any other time required by the business of the Graduate School.

G. Appointments Procedures

General appointment procedures outlined in Section III.K apply to the Faculty of Arts and Sciences.
For all appointments to the ladder faculty, the text of advertisements and the composition of the
search committee are approved in advance by the Dean of the FAS or the School of Engineering
& Applied Science. Search committees may include members of the faculty from outside the
department proposing the appointment. Advertisements and procedures for appointments to
non-ladder faculty positions are reviewed by the appropriate Dean. Specific details and documents
regarding the appointments process can be found on the Faculty of Arts and Sciences Web site.
These documents describe in detail the steps taken to ensure appointments of the highest quality
through a process embedded in the principles of open access and diversity.




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H. Voting Policies

1.   Voting in Departments and Programs

Tenured and, consistent with department practices, term ladder faculty with primary or fully
joint appointments in a department or program may vote on appointments and promotions to
ranks below or equivalent to their own, except that faculty with term appointments may not vote
on reappointments to ranks equivalent to their own. Also consistent with department practices,
faculty with secondary appointments may vote in the same manner, except that regardless of rank,
they may not vote on promotions or appointments to tenure positions in the department of their
secondary appointment. Faculty with fully joint appointments may vote in both departments,
including voting on a joint appointment proposed in both departments. All voting on multi-year
appointments and promotions must be done with secret ballots. For an appointment to be carried
to the appropriate appointment and promotions committee, the candidate must receive affirmative
votes from a majority of those present and eligible to vote. Consistent with department practices,
faculty members in the adjunct, lector, and lecturer ranks may, within their own ranks, vote on
appointments and promotions to ranks of the type they hold below or equivalent to their own, but
they may not vote on reappointments to ranks equivalent to their own. A member of the faculty
who has a personal or professional conflict of interest concerning an individual on whom a vote is
to be taken must absent him or herself from all discussions and all votes taken on that individual.
In interdisciplinary programs, such as American Studies, and interdisciplinary departments, such
as African American Studies, faculty members with primary appointments in another Faculty of
Arts and Sciences department and secondary appointments in the interdisciplinary program or
department may be given the same voting privileges in the interdisciplinary program or department
as those with primary or fully joint appointments.

2.   Recording Department Votes

Departments report the results of all votes, including abstentions, taken on a case being brought
forward to an appointments and promotions committee.

3.   Absentee Ballots

Departments may not accept or report absentee ballots. Only those present at the meeting where
the vote is taken may cast ballots.

4.   Voting in Appointments and Promotions Committees

Members of the committee may not vote on candidates brought to the committee by departments



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in which they are eligible to vote, regardless of whether they voted in the department. Such
committee members are counted as present and not eligible to vote. A quorum of six members
eligible to vote is the minimum required for a vote to have force. For any appointment to be
carried to the Joint Boards of Permanent Officers, the candidate must receive affirmative votes
from a majority of those present and eligible to vote.

5.   Voting in the Joint Boards of Permanent Officers

Full professors whose primary or fully joint appointments are in a Faculty of Arts and Sciences
department may vote, as may full professors of professional schools with secondary appointments
in a Faculty of Arts and Sciences department and explicit Corporation approval for such voting
rights. The only exception to this rule is for faculty in Molecular Biophysics and Biochemistry
who are assigned to vote in the School of Medicine’s Board of Permanent Officers and may not
also vote in the Joint Boards of Permanent Officers of Yale College and the Graduate School.
By long standing custom, a quorum for the conduct of business at a meeting of the Joint Boards
consists of 37 members eligible to vote. No vote has force if the number of votes, plus recorded
abstentions, falls short of that number. Tenure appointments are forwarded to the Corporation
only upon an affirmative vote by two-thirds of the members present and eligible to vote. All other
appointments are approved by majority vote.

6.   Abstentions

Because a majority of those present and eligible to vote is required to bring an appointment
forward to the next level, abstentions have the same effect as votes cast against the appointment
in departments, appointments and promotion committees, and the Joint Boards of Permanent
Officers.

7.   Voting in Yale College Faculty Meetings

All ladder faculty of departments and programs in the Faculty of Arts and Sciences are invited
to attend and vote. In addition, full-time paid adjuncts in all ranks, full-time senior lectors,
full-time lectors with appointments for more than one year, full- time senior lecturers, and
full-time lecturers with appointments for more than one year are also invited to attend and vote.
Certain other individuals who have continuing and significant interactions with undergraduates
may also attend and vote. This group includes non-ladder faculty who serve as chairs, directors
of undergraduate studies, or residential college Deans or masters; ladder faculty in professional
schools who regularly teach in Yale College; Deans in Yale College; assistant, associate, and
deputy provosts; and Officers of the University.



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8.   Voting in the Graduate School

All ladder faculty of departments in the Faculty of Arts and Sciences or in one of the basic science
departments of the School of Medicine are automatically members of the Graduate School Faculty
and may vote in meetings of the Graduate School. Ladder faculty of professional schools who
have either fully joint or secondary appointments in one of the departments described above are
also members of the Graduate School faculty and may vote. In certain cases, other members of
professional school faculty may be appointed to the Graduate School Faculty.

I.   Ladder Faculty Ranks

1.   Appointments on Term

Cumulative time in the ranks of assistant professor and associate professor on term in the Faculty
of Arts and Sciences may not exceed nine years (plus any extensions as provided in Section III.F).
This nine-year maximum includes any year in which the individual holds the rank of lecturer
convertible.

Reappointment of persons holding term appointments is not automatic and requires careful
evaluation of a candidate’s work by the members of the department eligible to vote on reappointment.
Chairs are responsible for ensuring the development and effectiveness of mentoring programs
for non-tenured faculty. They are expected to keep non-tenured faculty members informed of
the department’s procedure for appointments and promotions and every year to discuss with
each individual the department’s assessment of his or her progress and prospects. The chair is
also expected to inquire about the faculty member’s teaching (including that in interdisciplinary
programs), ongoing and published research and scholarship, and University service.

For each non-tenured member of the faculty whose term of appointment is three years or more,
it is a department’s responsibility to review formally his or her accomplishments and promise
as a member of the profession. Such a review should take place during the penultimate year of
each appointment in the non-tenure ranks. The individual faculty member should be notified in
writing that such a review will take place and asked to submit any relevant publications or works
in progress. The chair should also ask any appropriate program director(s) about the individual’s
contributions to interdisciplinary programs.

Assistant professors may be reviewed for promotion to associate professor on term at any time.
They must be reviewed no later than their sixth year in the rank of assistant professor. Any
person promoted to associate professor on term will be appointed for a term equal to his or her




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remaining eligible time in the non-tenure ranks (plus any extensions as provided in Section
III.F). Faculty in either non-tenure rank may be reviewed for promotion to tenure at any time,
but all those promoted to the rank of associate professor on term will be reviewed for tenure no
later than their penultimate year in the non-tenure ranks (including extensions as provided in
Section III.F). This tenure review will include assessments by experts outside of Yale. Assistant
professors and associate professors on term who choose to be reviewed for promotion before
their last year of eligibility are not entitled to a review in a subsequent year if the initial review
did not result in a promotion. A department or program may, following a request approved by
the Steering Committee of the Faculty of Arts and Sciences, conduct another review before the
end of the penultimate year of the faculty member’s term if notable and broad advances in the
faculty member’s scholarship, teaching, and service merit such an additional review.

The Faculty of Arts and Sciences does not make research appointments to its ladder ranks but
rather has specific ranks for appointments that are predominantly for research. Persons who hold
ladder appointments, regardless of whether and to what extent their salaries are supported by
research grants, are expected over time to devote at least half of their time to teaching and related
instructional duties (see Section XV).

Assistant Professor. The position of assistant professor is normally open only to persons who
hold the Ph.D. degree or its equivalent. Qualifications for initial appointment include promise as
a teacher and scholar or creative artist. Reappointment requires evidence of success as a teacher
and achievement as a scholar or artist.

The initial appointment is normally for four years, including years on convertible appointments.
A review for reappointment must be conducted no later than during the penultimate year of the
initial appointment.

No person may serve as assistant professor at Yale for more than seven years (plus any extensions
as provided in Section III.F). This seven-year maximum will include any years in the lecturer
convertible rank. It will also include leaves, paid or unpaid, granted for professional purposes.

Lecturer Convertible. Successful candidates for assistant professorships who have not completed
their Ph.D.s at the time their appointments begin are appointed for one year at the rank of lecturer
convertible. Appointments to this rank assume that the Ph.D. will be completed within that year.
They are renewable, but the rank of lecturer convertible may not be held for more than a total
of four semesters. Conversion to assistant professor takes place when evidence of completion of
the degree and a recommendation of the promotion are submitted by the applicable department
or program to the Steering Committee of the Faculty of Arts and Sciences. The conversion is



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retroactive to July 1 if the degree is received by October 1. If the degree is received after October
1 but before February 1, conversion is retroactive to January 1. For purposes of this conversion,
the Steering Committee will accept a letter from the candidate’s graduate school dean indicating
that all the degree requirements have been met and that the degree will be awarded at the next
opportunity.

Associate Professor on Term. Associate professor on term is normally the rank of promotion
from assistant professor or the rank of initial appointment at Yale for an individual with scholarly
or artistic achievement and substantial previous teaching experience. To be considered for this
appointment candidates must present significant published research and scholarship representing
early demonstrations of disciplinary or interdisciplinary leadership, excellent teaching and mentoring
of students, and engaged university citizenship. These accomplishments will be assessed by the
relevant departments and programs and by experts outside Yale.

This appointment as associate professor on term is always for a term equal to the individual’s
remaining eligible time in the non-tenure ranks (plus any extensions as provided in Section III.F).
There are no reappointments to this rank. No person may serve in the rank of associate professor
on term at Yale for a period exceeding seven years (plus any extensions as provided in Section
III.F). Associate professors on term may be reviewed for promotion to tenure at any time, but
must be reviewed for promotion to tenure no later than during their penultimate year in the rank
of associate professor on term.

2.   Appointments to Tenure

The following description of standards for appointments to tenure in the Faculty of Arts and
Sciences is derived from the Dahl Report of June, 1965,7 which was prepared by a committee of
faculty members. These standards were reviewed and affirmed by faculty committees in 1981,
1985, and 2007, chaired by Professor Tobin, Professor Hartigan, and Deans Butler and Salovey,
respectively.

A candidate for appointment or promotion to a tenure position, whether at the rank of professor
or associate professor, must have attained scholarly or creative distinction of a high quality as
demonstrated by both written work and teaching. Consideration for tenure emphasizes the impact




7 “Report to the Executive Committee of the Faculty of Arts and Sciences of the Ad Hoc Committee on Policies and
Procedures on Tenure Appointments” (Yale University, June 1965).




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and continuing promise, at the very highest levels, of the candidate’s research and scholarship, as
well as excellent teaching and engaged University citizenship within and beyond a department
or program.

A tenure appointment, whether at the rank of professor or associate professor, is a permanent,
forward-looking commitment. Appraisals of past contributions must be supplemented by other
evidence and estimates of future contributions to the profession and the teaching program. In
choosing among available candidates, the faculty may decide that accomplishments to date and
indicated promise justify appointment, even though his or her publications may be fewer than
those of other candidates.

While the several manifestations of intellectual distinction are prerequisite to an appointment
with tenure, it is recognized that the balance among them may vary from candidate to candidate
and from field to field; there may be variation in the quantity of the written or creative work,
although the quality must always be high. Unusually effective teaching or an unusually significant
contribution to the community’s well-being will serve as strong support for the evidence of quality
provided by the candidate’s scholarly writings, but cannot compensate for an absence of the most
tangible and enduring demonstration of a scholar’s distinction.

The criteria for appointment or promotion to the rank of associate professor with tenure differ
from those for professors in degree rather than in kind. Tenured faculty at Yale are expected to
stand among the foremost leaders in their fields throughout the world. Associate professors with
tenure are expected to develop the qualities of scholarship that earned them their permanent
appointments, so that within a reasonable period of time their value to the University and their
national or international standing will make them suitable candidates for professor.

Professor. Candidates for the rank of professor are expected to stand among the foremost leaders
in their fields throughout the world. It is expected that professors will continue to develop the
qualities of scholarship, creativity, teaching and university citizenship that earned them their
appointments.

Associate Professor with Tenure. Candidates for this rank are expected to have shown evidence of
exceptional accomplishments and future promise that makes the sponsoring department confident
that within five years they will merit promotion at Yale to the rank of professor. Tenured associate
professors must be reviewed by their department for promotion within five years. At any time after
seven years have passed from the date of appointment or promotion to associate professor with
tenure, the Provost, in consultation with the department chair, may recommend that individual
directly to the Corporation for promotion to professor.



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J.	Other Instructional Appointments

The following positions are not among the ladder ranks, and appointments to these positions
are not counted in the calculation of the maximum time that a faculty member may serve in
any ladder rank or ranks. Recommendations for appointment to these ranks are reviewed by the
Steering Committee of the Faculty of Arts and Sciences. Depending upon department practices,
adjunct and other non-ladder faculty may participate in appropriate departmental deliberations.
Non-ladder faculty members are not eligible to vote on appointments or promotions in the ladder
faculty. Fringe benefits and other privileges for non-ladder appointments are not necessarily the
same as those for ladder appointments (see Section XVIII.D). In all these positions where the
term of appointment exceeds one year, the individual will be carefully reviewed in the penultimate
year of appointment. (See also Section III.G for notice of termination and non-reappointment.)
Reappointment depends on the continued budgetary authorization of the position, the teaching
needs of the department, and an evaluation of the performance of the individual.

Professor Adjunct, Associate Professor Adjunct, and Assistant Professor Adjunct. In the
Faculty of Arts and Sciences, the adjunct ranks are appropriate for the appointment of individuals
with special qualifications who play important roles in the teaching of undergraduate or graduate
students, but who may not be fully engaged in the research activities characteristic of ladder faculty
in disciplines represented by Yale’s Faculty of Arts and Sciences departments and programs. The
clearest examples of individuals who qualify for these ranks are professional writers and performing
artists. Other examples include business leaders, individuals with specific competencies relevant
to a need in the teaching program, or individuals with academic qualifications in fields normally
not represented at Yale. In some cases, adjunct faculty may be appointed full-time, but more often,
they will spend a significant amount of time engaged in administrative or professional activities
either at Yale or outside Yale. In the latter case, the fraction of time they are employed by Yale
will depend on the level of those activities and the amount of their contribution to Yale. In some
cases, particularly in the sciences, members of the adjunct faculty may be employed full-time at
another institution or company, and they may contribute to the University’s teaching program,
may make other contributions to a department or program or may contribute to the larger Yale
community.

Adjunct faculty may not vote on ladder faculty appointments or serve as the principal advisers
of dissertations. With special approval of the Provost, adjunct faculty may become principal
investigators of grants. Depending upon department practices, adjunct faculty participate in
deliberations on matters other than appointments. Because adjunct faculty who are appointed
primarily as teachers are not expected to participate in many of the research, advising, and



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administrative responsibilities of ladder faculty, their teaching loads are heavier than those of
ladder faculty. For the same reasons, they do not qualify for research leaves of absence or funds
for travel to professional meetings. Full-time adjunct faculty may be eligible to compete for a
limited number of paid Professional Development Leaves (see Section XVII.B.5.c). Depending
upon department needs, adjunct faculty may from time to time be allowed to take leaves of
absence without salary.

Appointments to the adjunct ranks may vary in length from one semester to five years and
are renewable, depending upon the continued teaching needs of the department, the Provost’s
authorization for the appointment, and the performance of the individual. Recommendations for
appointments for terms of more than one year must be supported by letters from outside Yale
and approved by the Steering Committee of the Faculty of Arts and Sciences. Shorter terms of
appointment also require supporting letters and are approved by the Office of the Provost. Although
appointments to this rank may be renewed, they carry no presumption of reappointment and no
expectation of long-term employment at Yale. The appointment may be made for a given number
of years without specifying a particular amount of teaching or the level of salary. The responsi-
bilities and compensation may be determined subsequently, and in some cases the appointment
may carry no remuneration.

The level of the adjunct rank is dependent upon the qualifications and experience of the individual.
An assistant professor adjunct will normally just have completed the Ph.D. or other terminal
professional degree or have had fewer than six years of full-time teaching experience at the
beginning of the appointment. The appointment must be supported by written evidence that
the individual will be an effective teacher in his or her field. Appointment or promotion to the
rank of associate professor adjunct requires substantial teaching experience at a high level of
effectiveness; evidence of significant professional development, either at Yale or elsewhere;
and demonstrated excellence in the area of expertise, whether in performance, scholarship, or
professional achievement. Appointment or promotion to the rank of professor adjunct requires
scholarly or professional achievement of the highest quality, as reflected by visible impact at a
national level.

Professor in the Field. Persons who have achieved exceptional distinction as practitioners or
performers in a field may be candidates for appointment as professor in the field. Candidates
must show evidence of exemplary ability to teach the skills of their field. They must also show
evidence, through past achievement and future promise, that they will advance the practice and
understanding of their field at the highest level. Appointments to this rank shall be full-time for
terms of three to five years; they may be renewed, after review by the sponsoring department or



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program and the appropriate Tenure Appointments and Promotions Committee. Persons holding
this rank have all the responsibilities and privileges of ladder faculty except for membership
in the Joint Boards of Permanent Officers and the right to vote on ladder appointments in their
departments. They are eligible for most of Yale’s benefits, but they are not eligible for the Early,
Planned, or Phased Retirement Programs or the Early Retirement Subsidy. Appointments to this
rank are expected to be rare.

Lecturer and Senior Lecturer. Appointment to these ranks is appropriate only for persons whose
responsibilities include regular teaching. Lecturers and senior lecturers will normally have earned
the Ph.D. or its equivalent or another appropriate terminal degree. Appointment to the rank of
senior lecturer requires at least six years of full-time teaching, at Yale or elsewhere, in a ladder
or non-ladder rank, including the rank of lecturer. Individuals appointed or promoted to that rank
must also have established a documented record of excellent teaching. Appointments to the rank
of lecturer may be part- or full-time for one semester, for one year, or for a period of up to three
years. Appointments to the rank of senior lecturer may be part- or full-time for one semester,
for one year, or for a period of up to five years. Recommendations for appointments of more
than one year must be approved by the Steering Committee of the Faculty of Arts and Sciences.
Shorter terms of appointment are approved by the Office of the Provost. Although appointments
to this rank may be renewed, they carry no presumption of reappointment and no expectation of
long-term employment at Yale. Reappointment will depend on the continued need for the position,
the availability of resources for the position, and the performance of the individual.

An individual with an appointment in one of these ranks for a term of three or more years will
be reviewed for possible reappointment by the end of the penultimate year. An individual with
an appointment of one or two years will be reviewed only if a reappointment is contemplated
by the department and authorized by the Provost. Individuals who have held a combination of
non- ladder ranks, e.g. lecturer and lector, on a full-time basis for four or more consecutive years
will be given written notice of non-reappointment at least one year before the expiration of their
current term of appointment (see Section III.G).

Lector and Senior Lector I and II. Individuals engaged in the teaching of foreign languages at
Yale may be appointed to one of these ranks for terms varying from one semester to five years,
depending on professional accomplishment, teaching experience, and programmatic needs. The
ranks are characterized by an increasing level of programmatic and pedagogical responsibility
and by the qualifications and experience of the individuals appointed to them. Appointments,
reappointments, and promotions in any of these ranks depend on the demonstrated need for
instruction in the language, the availability of resources for the position as authorized by the



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Provost, and the qualifications and performance of the individual.

All recommendations for appointments to these ranks must be approved by the Steering Committee
of the Faculty of Arts and Sciences.

In the case of appointments for terms of three years or more, individuals will be reviewed by the
end of the penultimate year of the appointment. Individuals who have held any combination of
appointments in the non-ladder ranks, e.g. lecturer, lector and senior lector, on a full-time basis for
four or more consecutive years and who are not to be reappointed will normally be given written
notice of non-reappointment in the penultimate year of the current appointment (see Section III.G).

The rank of Lector is appropriate for individuals who have native or near-native language
proficiency and some training in language pedagogy, but who have had relatively little teaching
experience. That experience might range from teaching during graduate training to fewer than
three years of full-time teaching at the college level. Lectors may be appointed for terms varying
from one semester to three years, renewable to a maximum of six years in that rank. Promotion
to senior lector I may be considered at any time.

The rank of Senior Lector has two levels, characterized by programmatic and pedagogical
responsibility and the qualifications and experience of the individuals appointed to them. Senior
lectors with appropriate qualifications may be asked to engage in a limited amount of teaching
in non-language courses at the undergraduate or graduate level.

Qualification for appointment to senior lector I includes: substantial teaching experience with
documented evidence of excellence; the capacity to carry out administrative or other departmental
responsibilities such as directing courses, contributing to the training of language teachers, or
serving on departmental committees; and evidence of professional growth and activity, either at
Yale or nationally, in support of the department’s language teaching mission. Senior lectors I may
be appointed for terms varying from one semester to three years, and their terms are renewable
following a favorable review and a recommendation from the department. There is no limit on
the number of terms to which senior lectors I may be reappointed, depending on continued high
performance and need for the position. Senior lectors I who have served at least five years at
that rank may be considered for promotion to senior lector II. In unusual circumstances, senior
lectors I may be considered for promotion before serving five years in rank.

Qualification for appointment to senior lector II includes: superlative record of teaching as a senior
lector I; continued professional growth as evidenced by special achievements or innovation in
support of the department’s language teaching mission; and demonstrated capacity for leadership



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in the language teaching profession outside the University. Appointment or promotion to senior
lector II requires thorough review of the candidate by members of the department, including the
Language Program Director if the department has such a position, and by the University’s Director
of Language Study. Senior lectors II may be appointed for terms varying from one semester to
five years, and their terms are renewable following a favorable review and a recommendation
from the department. There is no limit on the number of terms to which senior lectors II may be
reappointed, depending on continued high performance and need for the position. Departmental
recommendations for appointment, reappointment, or promotion to senior lector II will be reviewed
by the Language Study Committee before going forward to the Executive Committee of the
Faculty of Arts and Sciences for approval.

Gibbs Assistant Professor. The rank of Gibbs assistant professor exists in certain departments
in the physical sciences and is open only to persons who hold a Ph.D. degree or its equivalent. A
Gibbs instructor is normally appointed for two years and a Gibbs assistant professor for three years
without the possibility of reappointment in that rank. For this reason, this rank is not considered a
ladder faculty ranks, individuals holding this rank are not eligible for paid leaves, and no special
notice of non-reappointment is necessary. Gibbs assistant professors are eligible for teaching relief
for child rearing for non-ladder faculty (see Section XVII.D.4). In most other respects, however,
Gibbs assistant professors have the same responsibilities and benefits as assistant professors.

K. Instructional Opportunities for Yale Graduate and Professional School Students

Instructional appointments for graduate and professional school students are not faculty appointments,
and individuals holding them must remain registered students of their schools.

Part-time Acting Instructor. Yale graduate and professional school students who are appointed
as part-time acting instructors are responsible for teaching one or more courses, seminars, or
sections of a multi-section course, subject to department guidance and supervision. No one may
teach more than one course in any semester at the rank of part-time acting instructor. Graduate
students in the Faculty of Arts and Sciences are first eligible for this appointment at the beginning
of the term after they have completed all requirements for the Ph.D. except the dissertation. In
certain departments, however, students are expected to teach as PTAIs in their third year, prior
to advancing to candidacy, according to a standard teaching schedule.

Teaching Fellow and Teaching Assistant. Teaching fellows are students registered in the Graduate
School of Arts and Sciences who have formal teaching duties assisting members of the faculty
and involving regular classroom or laboratory contact with students. Students registered in one of
the professional schools who perform these duties are appointed as teaching assistants. Teaching



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fellows may have responsibility for teaching sections of a multi-section course if supervision
is provided by a regular member of the faculty. Supervision by the faculty will be expected to
include assistance both in planning the work of the sections and in helping teaching fellows and
teaching assistants to improve their teaching.

Appointments will ordinarily be made at various levels according to policies established by the
Graduate School of Arts and Sciences.

L. Leaves of Absence

Ladder and non-ladder faculty in the Faculty of Arts and Sciences are eligible for a variety of
leaves, both paid and unpaid. Please see Section XVII, especially B.5.




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V. School of Architecture

A. Description

The School of Architecture offers graduate and post-professional education in the fields of
architecture and environmental design. It also offers a program that leads to a Ph.D. and programs
of study to Yale College students that may lead to an undergraduate major in architecture.

For the School of Architecture, policies and practices specified in this section take precedence
over conflicting policies and practices designated in other sections of the Handbook.

B. Governance: The Executive Committee

The Executive Committee is the governing board of the School and consists of all tenured faculty
members holding appointments in the School and others appointed by the Dean from the ranks of
associate professor on term, associate professor adjunct, professor adjunct, and endowed professor
in practice. The Dean may invite non-voting members from other ranks at the School to meet
with the Executive Committee in an advisory capacity. The Executive Committee participates
in the formulation of educational and administrative policies and reviews proposed faculty
appointments and promotions.

C.	Composition and Ranks of Faculty

The faculty in the School of Architecture is composed of scholars and professional practitioners.
Faculty members are expected to devote a portion of their time to research or practice in their
areas of professional interest and expertise. The faculty is composed as follows:

1.   Ladder Faculty

The ladder faculty comprises the ranks of assistant professor, associate professor on term,
associate professor with tenure, and professor. With modifications as appropriate for faculty
holding appointments in the School of Architecture or as modified in this section, ladder faculty
appointments in the School of Architecture follow the definitions, policies, and procedures for
appointment and reappointment of these ranks as established for the Faculty of Arts and Sciences
(see Section IV.I). Appointees within this category are considered members of the regular faculty;
are considered full-time faculty members; and are responsible for teaching and other duties, such
as participation in faculty meetings, juries, School committees, and student advising.

a.	Term Appointments. Assistant professor and associate professor on term are non-tenure




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appointments made for a stated number of years. Initial appointments of assistant professors are
normally for four years. No one may serve in the rank of assistant professor for more than seven
years plus any extensions as described in Section III.F. The cumulative time on term appointments
in the ranks of assistant professor and associate professor on term may not exceed nine years plus
any extensions as described in Section III.F.

b.	Tenure Appointments. Associate professor with tenure and professor are tenure appointments
and are made without term.

2.   Adjunct Faculty

The adjunct faculty comprises the ranks of assistant professor adjunct, associate professor adjunct,
and professor adjunct. Appointees within these ranks are considered members of the regular
faculty. Appointments in these ranks are given to those who are active as practitioners in their
professional field, and are defined as requiring less than full-time participation in teaching and
other activities expected of faculty holding full-time appointments in the School. Adjunct faculty
will not be appointed to less than half of full-time employment. Appointments to these ranks are
normally for a term of one to five years and may be renewed one or more times without either
the expectation or the promise of tenure. Adjunct faculty members are responsible for teaching
and other duties, such as participation in faculty meetings, juries, School committees, and student
advising.

3.	Critic, Lecturer, or Instructor

Appointment as a critic, a lecturer, or an instructor may be offered to outstanding scholars and other
distinguished individuals who may or may not hold any rank from another academic institution.
Faculty members appointed within these ranks are responsible for teaching and may be responsible
for other duties, such as participation in faculty meetings, juries, School committees, and student
advising. Appointments in these ranks are for a term of one year or less.

4.	Endowed Visiting Professorships and Visiting Fellowships

Endowed visiting professorships and visiting fellowships may be given to distinguished professionals
who may or may not hold an academic rank from another academic institution. These faculty
members are responsible for teaching and normally are not required to participate in administrative
responsibilities within the School. Appointments are generally considered to be part-time and
normally are made on an annual basis for lengths of time varying from one to two semesters.




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5.	Endowed Professorships in Practice

Endowed professorships in practice may be given to distinguished professionals who may or may
not hold an academic rank from another academic institution. Appointments to these ranks are
normally for a term of up to five years and may be renewed one or more times without either the
expectation or the promise of tenure. Faculty members at this rank are responsible for teaching
and may be responsible for other duties, such as participation in faculty meetings, juries, School
committees, and student advising.

6.   Visiting Appointments

Visiting appointments may be given to distinguished scholar-professionals who hold an academic
rank from another academic institution. Their visiting Yale appointment will carry the same
rank as they hold at the other institution. These appointments normally carry only teaching
responsibilities and are made in lengths of time varying from one week to nine months. These
appointments are made in accordance with Section XVI and are subject to benefit limitations as
described in Section XVIII.D.2.

D. Appointment, Reappointment, and Promotion Policy and Procedures

Open searches are required to fill initial appointments within the ranks of ladder and adjunct
faculty. Searches are not required for appointments to any other ranks or for reappointments or
promotions within the ranks of ladder and adjunct faculty. Ladder positions are normally open
only to persons who hold the Ph.D. degree, its equivalent, or an appropriate terminal professional
degree. Rules governing ladder appointments and promotions are consistent with FAS policies
as described in Section IV.

Qualifications for an initial appointment as assistant professor include promise of success as a
teacher and achievement as a scholar or professional. Reappointment as assistant professor requires
evidence of success as a teacher and achievement as a scholar or professional. To be considered
for appointment or promotion as associate professor on term, candidates must present original
significant creative and professional accomplishments or published research and scholarship
representing early demonstrations of disciplinary or interdisciplinary leadership, excellent teaching
and mentoring of students, and engaged university citizenship. For candidates being considered for
promotion to associate professor on term, review criteria shall include, if appropriate, a statement
of professional practice together with documentation of built or design work.




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1.	Term Appointments, Reappointments, and Promotions

a.	Non-tenured Ladder and Adjunct Faculty. Proposed term appointments, reappointments,
and promotions to the ranks of non-tenured ladder and adjunct faculty are presented by the Dean
to the Executive Committee for review and recommendation. Voting is limited to members of
the Executive Committee at the rank under consideration or higher without distinction between
ladder and adjunct status, e.g., all professor, professor adjunct, associate professor on term, and
associate professor adjunct members of the Executive Committee may vote on appointment or
reappointment for an associate professor on term. The Dean forwards appointments, reappointments,
and promotions recommended by the Executive Committee to the Provost. If the Provost approves
an appointment, reappointment, or promotion, in consultation with the School’s Standing Advisory
and Appointments Committee (SAAC) when appropriate, the recommendation is forwarded to
the Corporation for final approval. Adjunct faculty members are reviewed for promotion when
recommended by the Dean.

b.	Other Term Faculty. Proposed term appointments and reappointments of one year or less
to ranks other than mentioned above are made by the Dean and forwarded to the Provost for
approval. Those appointments longer than one year are proposed by the Dean for approval by
the Executive Committee and then forwarded to the Provost for approval.

2.	Tenure Appointments and Promotions

A candidate for appointment or promotion to a tenure position, whether at the rank of professor
or associate professor, must have attained distinction of a high quality in scholarly, creative, or
professional accomplishment as demonstrated by both (i) written or professional work and (ii)
teaching. Candidates for the rank of associate professor with tenure will be expected to have
produced a substantial body of significant professional work or have published or have expected
for publication a substantial work or body of scholarship. Criteria for promotion shall include,
if appropriate, documentation of built or design work.

Proposed appointments to tenure as well as proposed promotions from associate professor with tenure
to professor are presented by the Dean to the Executive Committee for review and recommendation.
Only tenured members of the Executive Committee at the rank under consideration or higher
may vote. The Dean forwards appointments and promotions recommended by the Executive
Committee to the Provost. If the Provost approves an appointment or promotion, with the advice
of the Standing Advisory and Appointments Committee (SAAC), the recommendation is forwarded
to the Corporation for final approval.




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Associate professors with tenure must be reviewed for promotion to professor within five years
of hire or promotion to that rank. At any time after seven years have passed from the date of
appointment or promotion to associate professor with tenure, the Provost, in consultation with
the Dean, may recommend that individual directly to the Corporation for promotion to professor.

3.   Non-reappointment Notification Policy for Term Appointments

a. Ladder and Adjunct Faculty. Faculty members of ladder and adjunct ranks holding appointments
of three or more years shall receive written notice of non-reappointment at least one year before the
terminal date of the appointment. Appointments for terms of fewer than three academic years shall
receive notice of non-reappointment at least six months before the expiration of the appointment.
Failure to provide such notice does not create any right to extension or reappointment.

b.	Other Faculty. For full-time faculty in the fifth or any subsequent year of successive years of
appointment in the non-ladder and non-adjunct ranks, notice of non-reappointment normally will
be given by December 31 of the final year of appointment. There is no requirement of notification
of non-reappointment for any ranks not mentioned above.

E. Leave Policy and Procedures

Leave policies for the School of Architecture conform in general to those set forth in Section
XVII and Section III.I. Tenured faculty are eligible for Triennial Leaves of Absence, Sabbatical
Leaves of Absence, and Senior Faculty Fellowships. Adjunct faculty and endowed professors in
practice are eligible for Sabbatical Leaves of Absence after having taught in those ranks at Yale
for twelve semesters without a paid leave.

1.   Assistant Professor Leaves

Assistant professors are eligible for a one-year leave at full pay in the second, third, or fourth
year of teaching at that rank at Yale, provided they return to Yale for a full year of teaching.
Such leaves are awarded to assistant professors who present, in the fall of the previous academic
year, a leave proposal that is evaluated by a subcommittee of the Executive Committee and then
approved by the Dean and the Office of the Provost. The leave proposal shall consist of a five-page
single-spaced explanation of the scope and significance of the proposed research or professional
practice and the opportunities for publication and realization. It shall include a detailed plan to
achieve the stated intention regarding research, publication, or professional practice.




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2.   Associate Professor Leaves

Assistant professors who are appointed or promoted to the rank of associate professor on term are
eligible for a one-year leave at full pay provided that at least two semesters of full-time teaching
in residence have elapsed since their last leave and that they return to Yale after the leave for
a full year of teaching. Such leaves follow the same application process and criteria as leaves
afforded assistant professors.

F.   Research/Travel Funds

Faculty members may apply to the Dean for research or travel funds.




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VI. School of Art

A. Description

The School of Art offers professional instruction in the fields of painting/printmaking, graphic
design, sculpture, and photography. Each of these areas is headed by a director of graduate
studies. The School also offers programs of study to Yale College students that may lead to an
undergraduate major in art.

B.	The Governing Board and the Appointments Committee

All members of the tenured faculty (associate professors and professors) and the Dean constitute
the Governing Board of the School of Art. The Appointments Committee includes a chair, who is
a tenured professor, and other members of the faculty representing different areas of study. The
committee is appointed by the Dean.

C.	Composition and Ranks of Faculty

Faculty in the School of Art are expected to be established professional artists who bring to their
teaching a high level of accomplishment in their creative work. Consequently, most members
of the faculty begin teaching after they are established in professional practice, and as a matter
of School policy they are expected to continue to devote a considerable portion of their time to
practice in their areas of professional interest.

1.   Full-time Faculty Ranks (Term and Tenure)

With modification as appropriate for faculty holding appointments in the School of Art, the
definitions of the ranks of assistant professor, associate professor, and professor are in accordance
with the Faculty of Arts and Sciences as described in Section IV.I. Terms of appointment for these
ranks in the School of Art are three to five years as assistant professor and three to five years
as associate professor. No one may serve in the rank of assistant professor for more than seven
years. No one may serve in the rank of associate professor on term for more than six years. The
cumulative time on term appointments in the ranks of assistant professor and associate professor
on term may not exceed ten years plus any extensions as described in Section III.F above.

2.   Adjunct Ranks

Appointments to the ranks of associate professor adjunct and professor adjunct are defined as
requiring less than full-time participation in teaching and other activities expected of faculty




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holding full-time appointments in the School. Adjunct appointments are made for terms of one to
five years and may be renewed one or more times without either the expectation or the promise
of tenure. In special cases they may be made on a continuing basis subject to termination on two
years’ notice.

3.   Part-time Appointments and Other Instructional Appointments

In accordance with University procedures it is possible for some individuals to serve part-time
in the regular academic ranks (see Section III.I) or to hold other instructional appointments (see
Section IV.J).

4.   Visiting Appointments

Visiting appointments may be made in the regular academic ranks by the Dean on the advice of
the department for a term of up to one year (see Section XVI).

5.	Senior Critic, Critic, and Lecturer

These appointments are recommended by the Dean to the Provost for approval by the Corporation
and are made for a term of up to one year. They may be renewed annually.

D. Appointments

1.   Procedure

Recommendations for new term and tenure appointments will be made only after an open search
has been conducted with regard to the position.

a.	Term Appointments. All proposed appointments, promotions and reappointments are
reviewed by the Appointments Committee and forwarded with recommendation to the Governing
Board for a vote. Only those individuals at the rank under consideration or higher may vote. No
non-tenured faculty may vote on reappointment to ranks equivalent to their own. Appointments
recommended by the Governing Board are sent to the Dean. Recommendations for appointments
to the adjunct ranks and to the rank of assistant professor are then forwarded by the Dean to the
Provost. If approved by the Provost, those recommendations are forwarded to the Corporation
for final approval. Recommendations for appointments to the rank of associate professor on
term are reviewed by the Provost in consultation with the Standing Advisory and Appointments
Committee (SAAC) for the School of Art. If the Provost approves, those recommendations are
then forwarded to the Corporation for final approval.




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b.	Tenure Appointments. Recommendation for tenure is voted by the Appointments Committee
and the Governing Board and sent to the Provost, who will review the recommendation in
consultation with the Standing Advisory and Appointments Committee (SAAC). If the Provost
approves, the recommendation is forwarded to the Corporation for final approval.

2.   Promotion

Tenure Appointments. Recommendation for tenure is voted by the Appointments Committee and
the Governing Board and sent to the Provost, who will review the recommendation in consultation
with the Standing Advisory and Appointments Committee (SAAC). If the Provost approves, the
recommendation is forwarded to the Corporation for final approval.

3.	Termination

Written notice of non-reappointment of ladder and adjunct faculty members will be given according
to the duration of the applicable appointment. Faculty holding term appointments of three or
more years will receive notification of termination at least one year before the expiration of the
appointment, and faculty holding appointments of fewer than three academic years will receive
notice of termination at least six months before the expiration of the appointment. For one-year
appointments, there will normally be three months’ notice given. For further information on
terminations, see Section III.G.

E. Leave Policy

Leave policies for the School of Art conform in general to those set forth in Section XVII.
Faculty holding the ranks of associate professor and professor are eligible for Senior Faculty
Fellowships and Triennial and Sabbatical Leaves of Absence. In addition, faculty at the ranks of
associate professor adjunct and professor adjunct are eligible for Sabbatical Leaves after having
taught at those ranks at Yale for six years since their last paid leave. Assistant professors holding
full-time appointments will be eligible for a one-semester Junior Leave of Absence at full pay
if they have served three years at Yale at the rank of assistant professor and if they have been
reappointed to the rank of assistant professor. Thus a reappointed assistant professor is eligible
for a Junior Leave of Absence in the fourth year of service at Yale. For further information on
leaves, consult the Dean.




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VII. Divinity School and Institute of Sacred Music

A. Description

The Divinity School is a graduate professional school whose primary purpose is to educate men
and women for the churches’ lay and ordained ministries, including pastoral leadership, Christian
education, pastoral care, and chaplaincies. The Divinity School also offers theological resources
for persons who anticipate professional, public, and social service careers. Finally, the Divinity
School offers programs preparatory to Ph.D. studies in the theological fields. Through the Graduate
School, members of the Divinity School faculty participate in Ph.D. instruction, educating future
scholars and teachers in the fields of religious studies.

The Berkeley Divinity School is one of the seminaries of the Episcopal Church, with its own
Board of Trustees and resources. By action of both schools, the Berkeley Divinity School affiliated
with the Yale Divinity School on July 1, 1971, with a fully integrated faculty, student body, and
program. All degrees are granted by Yale University, and Berkeley resources are used to support
the academic program of the Divinity School and to supervise the formation of Episcopal students
for ordination.

The Institute of Sacred Music was established at Yale in 1973 to provide a program of preparation
in music, worship and the arts. Through faculty and students it is related both to the Divinity
School and the School of Music, and faculty of the Institute are appointed jointly with one of
these Schools.

B. Governance

1.   Governing Board

The Governing Board consists of the Dean and all tenured faculty with primary or fully joint
appointments in the Divinity School. The Board is responsible for recommending candidates for
academic and research appointments to the Provost. It also advises the Dean on academic planning.

2.	The General Faculty

All ladder faculty appointed on term or with tenure participate with voice and vote in the General
Faculty, which is responsible for educational policy and curricular affairs. Adjunct and visiting
faculty members may attend faculty meetings, but do not vote. Associate deans and other members
of the administration who do not hold faculty appointment may be invited by the Dean to attend
and vote.



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C. Faculty Ranks

The definition of rank and the time limits in rank for persons holding term and tenure appointments
are the same as those in the Faculty of Arts and Sciences (see Section IV.I). Faculty may also
be appointed as adjuncts, visitors, and professor in the practice (see Section IV.J). For further
information about non-ladder ranks, consult the Dean.

D. Appointments

1.	Term Appointments

Review committees appointed by the Dean recommend appointments, reappointments, and
promotions to the Governing Board. An appointment approved by the Governing Board is forwarded
to the Provost, who reviews it; if approved by the Provost, the recommendation is forwarded to
the Corporation.

2.	Tenure Appointments

Review committees appointed by the Dean recommend appointments and promotions to the
Governing Board. An appointment recommended by the Board is forwarded to the Provost.
Recommendation on appointments to tenure will be made by the Provost with the advice of the
School’s Standing Advisory and Appointments Committee (SAAC). The Provost will forward
approved recommendations to the Corporation.

3.   Visiting Fellows

A limited number of professors, ministers, priests, and other appropriate persons may be appointed
as visiting fellows for a semester or an academic year. Visiting fellows are not members of the
faculty, but they are entitled to use the University libraries, consult with members of the faculty,
and audit Divinity School courses (see Section XV.C.3).

E.	Termination Policy

For information regarding notice of termination, see Section III.G.

F.   Leave Policy

Leave policy for senior faculty in the Divinity School conforms in general to that of the University
(see Section XVII). Assistant professors are eligible for a paid year of research leave in the second,
third, or fourth year of their service at that rank. Newly promoted associate professors on term



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are eligible for a paid year of research leave upon their appointment to the rank, provided that
two semesters of full-time teaching in residence have elapsed since their last paid leave. In both
cases, a faculty member must submit a proposal for the research to be pursued during the leave
to the Dean by January 1 of the prior academic year. A faculty member awarded a leave must
return to Yale after the leave concludes for a full year of teaching. For complete information on
leaves, consult the Dean.




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VIII. School of Drama

A. Description

The School of Drama is a professional school offering graduate degrees in nine programs covering
all major disciplines within theater: Acting, Design, Sound Design, Directing, Dramaturgy and
Dramatic Criticism, Playwriting, Stage Management, Technical Design and Production, and
Theater Management. In addition, the Drama School is a conservatory for theater training utilizing
Yale Repertory Theatre as a laboratory in which theoretical study in the classroom can be related
continuously to professional practice in production work.

For the School of Drama, policies and practices specified in this section take precedence over
conflicting policies and practices contained in other sections of the Handbook.

B. Faculty Composition and Responsibilities

Appointments in the School of Drama are based primarily on professional theater qualifications
rather than on academic credentials. Faculty members take responsibility for both teaching and
the practice of theater at Yale. These standards are applicable to all faculty members regardless
of how their responsibilities are divided between teaching and their work on productions at the
School or at Yale Repertory Theatre.

1.	Scope of Responsibilities

The training process extends into project and performance situations that take place beyond the
classroom setting. Therefore, faculty members maintain a substantial responsibility for students’
applied work and must be available to examine, consult, and evaluate students’ involvement in
rehearsal and production, and in the administration of the School of Drama and Yale Repertory
Theatre productions.

While appointments to the faculty are normally for nine months, faculty responsibilities in
administrative, supervisory or production areas will often require faculty presence to extend to
ten, eleven or twelve months.

2.	Outside Interests and Employment

The School of Drama encourages its faculty to engage in professional work, just as other schools
and departments encourage their faculties to publish scholarly work. However, the School seeks
to balance the enhancement of a faculty member’s professional competence with the individual’s




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obligation not only to meet classes but also to be available to students outside the classroom and
to participate in the life of the School. No full-time member of the faculty or staff may undertake
an outside professional commitment without permission. All such requests should be submitted
to the appropriate department chair in sufficient time to be reviewed and approved by both the
department and the Dean. The approval of such requests will be guided by the general principles
cited in this Handbook under Outside Interests and Employment in Section XX.E.

C. Faculty Ranks

The School of Drama does not make tenure appointments. Therefore all appointments are for a
specific term. Ranks include lecturer, assistant professor adjunct, associate professor adjunct, and
professor adjunct. All ranks can include either full-time or part-time appointments.

Visiting faculty members can be appointed at the Dean’s discretion in any proportion of full time.
All appointments for visiting faculty will be at the rank of lecturer unless an individual currently
holds a professorial rank at another university. For further information see Section XVI.

D. Appointments

Proposed appointments above the rank of lecturer will be reviewed by a committee appointed by
the Dean and composed of a chair and two or more members of the faculty representing different
areas of study. The committee will forward recommendations to the Dean, who will then forward
them to the Provost for review.

Recommendations on appointments to the rank of professor adjunct and associate professor adjunct
will be made by the Provost with the advice of the School’s Standing Advisory and Appointments
Committee (SAAC). The Provost will forward approved recommendations to the Corporation.

Recommendations for appointments of assistant professor adjunct, associate professor adjunct,
and professor adjunct will be made only after an advertised national or international search has
been conducted with regard to the position.

1.	Term of Appointments

Initial appointments are normally made for one year. The Dean, in consultation with the faculty
of the appropriate departments, makes reappointments for terms of one to five years following
a review.




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2.	Notice of Termination

Faculty members will be given notice of non-reappointment in accordance with Section III.G.

E. Reappointments and Promotions

1.   Lecturer

There are no limits to the number of years an individual may serve in the rank of lecturer.

2.   Assistant Professor Adjunct

There are no limits to the number of years an individual may serve in the rank of assistant professor
adjunct. However, at least six years at the assistant professor adjunct level are normally required
before promotion to associate professor adjunct is considered. Those proposed for promotion should
have demonstrated that they are excellent teachers and are recognized professionals of national
standing. Promotion, if approved, will normally be to the rank of associate professor adjunct.

3.   Associate Professor Adjunct and Professor Adjunct

There are no limits to the numbers of years an individual may serve in the rank of associate
professor adjunct. However, at least four years at the associate professor adjunct level are normally
required before promotion to professor adjunct is considered. Those proposed for promotion to
professor adjunct should have demonstrated exemplary teaching skills and must have achieved
the highest recognition of distinction in the profession.

F.   Leave Policy

Because the School does not require research or publication for promotion, it does not normally
grant paid leaves. Requests for a leave of absence without pay will be considered by the Dean,
and some funds are available to provide short-term leaves for full-time faculty members engaged
in specific scholarly or production projects. For information on leaves, consult the Dean.




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IX. School of Forestry & Environmental Studies

A. Description

The School of Forestry & Environmental Studies (F&ES) pursues teaching, research, and practice
in the natural, physical, and policy sciences most relevant to the management of natural resources
and the environment. Within that broad range of disciplines and problem areas, the School offers
the degrees of: Master of Environmental Management (M.E.M.); Master of Forestry (M.F.,
accredited by Society of American Foresters); and two research-oriented master’s degrees: Master
of Environmental Science (M.E.Sc.) and Master of Forest Science (M.F.S.). The School also acts
as a department of the Graduate School to offer the Doctor of Philosophy (Ph.D.) degree.

B. Governance

1.   Governing Board

The Board of Permanent Officers is the governing board of the School. It includes the Dean and
all tenured faculty with primary or fully joint appointments in the School. The Board participates
in formulating educational policy and in recommending candidates for academic and research
positions.

2.   Appointments Committees

For all ladder and some other faculty positions, the Dean appoints individual ad hoc committees
to run searches and make recommendations to the Board of Permanent Officers on hiring and
promotions. For most non-ladder faculty positions, a Faculty Development and Appointments
Committee, appointed by the Dean, reviews candidates for appointment, reappointment, and
promotion. Recommendations of that Committee are forwarded to the Board of Permanent
Officers and the Dean for approval.

3.	Standing Advisory and Appointments Committee (SAAC)

The School’s SAAC reviews all promotions to associate professor on term and all appointments
to tenure. The SAAC is composed of four to six full professors appointed and selected by the
Provost in consultation with the Dean of Forestry & Environmental Studies. The SAAC is advisory
to the Provost. Decisions on tenure are made by the Provost, who forwards appointments to the
Corporation for final approval. Proposed areas of appointment are presented to the SAAC for
consideration of field and resources in the context of the programmatic mission of the School.




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C. Ladder Faculty Ranks and Appointments

1.	Term Appointments

The definitions of rank and the maximum length of time in rank for persons holding term ladder
appointments are the same as those for the Faculty of Arts and Sciences (see Section IV.I). An
appointment approved by the Board of Permanent Officers is forwarded to the Provost. If approved
by the Provost, the recommendation is forwarded to the Corporation.

2.	Tenure Appointments

Appointments to tenure are generally made at the full professor level. A recommendation for
promotion to tenure voted by the Board of Permanent Officers is forwarded to the SAAC. If then
approved by the Provost, the recommendation is forwarded to the Corporation.

In the case of a fully-joint tenure appointment in the School of Forestry & Environmental Studies
and another school or department in the Faculty of Arts and Sciences, the appointment procedures
of each unit must be followed.

3.	Termination Policy

The termination policy conforms in general to that established for the University (see Section
III.G).

D. Leave Policy

The leave policy conforms in general to that established for the University (see Section XVII).

E.	Other Instructional and Research Appointments

Most recommendations for appointment to these ranks are reviewed by the School’s Faculty
Development and Appointments Committee and voted on by the Board of Permanent Officers. Among
the exceptions are associate research scientist/scholar, visiting research scientist/scholar, visiting
fellow, and senior visiting fellow. These appointments are approved by the Dean. Appointments
approved by the School are forwarded to the Provost who, on approval, transmits them to the
Corporation. In all term positions where the term of appointment is three years or more, the
individual will be reviewed in the penultimate year of appointment. Reappointment depends on
the needs of the School and the performance of the individual. Compensation and benefits are
described in Section XVIII.




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1.   Professor Adjunct, Associate Professor Adjunct, and Assistant Professor Adjunct

In Forestry & Environmental Studies, the adjunct teaching ranks are normally intended for the
appointment of persons whose interests, as well as the interest of the University, are served by
their continuing in a professional capacity outside of the University while teaching less than
full time. They do not serve as the principal advisers of dissertations or vote on ladder faculty
appointments, though with the approval of the Dean of the School, adjunct faculty may become
principal investigators of grants. Adjunct appointments are normally less than full-time and are
made for terms of up to five years. Following a review, individuals in these ranks may be renewed
upon the recommendation of the Board of Permanent Officers, but such renewal is made without
the expectation or the promise of tenure or of subsequent reappointment. The adjunct rank to
which a candidate might be appointed or promoted reflects the individual’s accomplishments
and distinction.

2.   Professor, Associate, and Assistant Professor in the Practice or in the Field

Candidates for appointment to the ranks of professor in the practice or in the field must show
evidence of significant accomplishment as either a practitioner or scholar in an area integral to
the practice of natural resource or environmental management, or in another field highly relevant
to the School’s mission. They must also show promise of exemplary performance in teaching the
fundamental skills of that area of practice to others. Professors in the practice will typically have
emphasized the practical application of these skills in their area of specialty; professors in the
field will typically have spent more time developing new knowledge as evidenced by a record
of publication in academic or professional journals. Appointments to these ranks are typically
full-time, may be made for terms of up to five years, and may be renewed one or more times.
Persons holding appointment to these ranks have all the responsibilities and privileges of ladder
faculty except for membership on the Board of Permanent Officers and the right to vote on ladder
appointments. They are eligible for most of Yale’s benefits but not for Early, Phased, or Planned
Retirement or the Early Retirement Subsidy.

3.   Lecturer and Senior Lecturer

Appointments to these ranks are made only for persons whose responsibilities include regular
teaching. Lecturers will normally hold a Ph.D. or its equivalent or another appropriate terminal
degree. Appointment to the rank of senior lecturer requires the experience of at least six years of
full-time teaching. Individuals appointed to that rank must also have established a documented
record of excellent teaching. Appointments to the rank of lecturer or senior lecturer may be part- or
full-time for one semester, for one year, or for a period of up to three years for lecturers and five



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years for senior lecturers. Although appointments to these ranks may be renewed, they carry no
presumption of reappointment and no expectation of permanent employment by the University. A
lecturer or senior lecturer with an appointment for a period of at least three years will be reviewed
for possible reappointment in the penultimate year. Persons who have held the rank of lecturer or
senior lecturer on a full-time basis for two or more consecutive one-year appointments and are
not to be reappointed will normally be given three months’ notice of non-reappointment. Persons
who have held the rank of lecturer or senior lecturer on a full-time basis for five consecutive years
or more will be given written notice of non-reappointment at least one year before the expiration
of their term of appointment.

4.   Visiting Faculty

Visiting faculty appointments conform to University policies (see Section XVI). The Faculty
Development and Appointments Committee recommends appointees to the Board of Permanent
Officers and the Dean, who then passes the approved appointments to the Provost, who, upon
approval, transmits them to the Corporation.

5.   Visiting Fellows and Senior Visiting Fellow

In addition to visiting fellows, described in Section XVI.C, the School of Forestry & Environmental
Studies also appoints senior visiting fellows. This title is given to established scholars and other
distinguished individuals whose association with the University and residence in the community
for an extended period (greater than one year) will be of mutual benefit. Appointments may be
for two to five years. No teaching or work for the University is required. As with visiting fellows,
senior visiting fellows are not members of the faculty, nor are they Yale employees, and they
receive no compensation from the University. They are not eligible for participation in Yale’s
fringe benefit plans.

6.   Research Appointments

Research appointments conform to University policies (see Section XV). For senior research
scientist/scholar and research scientist/scholar positions, the Appointments Committee recommends
individuals to the Board of Permanent Officers and the Dean, who then passes approved appointments
to the Provost and then to the Corporation. For the position of associate research scientist/scholar,
the Dean may approve appointments and then pass them on to the Provost, who, after approval,
transmits them to the Corporation.




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F.   Instructional Opportunities for Graduate Students (Ph.D., D.F.E.S. and Masters)

For a description of these opportunities, refer to Section IV.K. The Associate Dean for Academic
Affairs, in consultation with the faculty member responsible for each course, must determine
which level of appointment is appropriate. The faculty member will have primary responsibility
for seeing that undue demands are not made of the teaching fellows. The rules governing part-time
acting instructors described in Section IV.K apply also to D.F.E.S. students in the School.




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X. Law School

A. Description

The primary educational purpose of Yale Law School is to train lawyers; its primary scholarly role
is to pursue research in law. Throughout much of the School’s history, its teachers, students, and
Deans have taken a broad view of the role of law and lawyers in society. The School has sought to
train lawyers for public service and teaching as well as for private practice and to advance inquiry
at the boundaries of the law as well as to inculcate knowledge at the core.This professional and
academic orientation is enriched by a setting hospitable to a wide variety of intellectual currents
and is designed to produce lawyers who are creative, sensitive, and open to new ideas.

B. Appointments: The Governing Board

All teaching appointments to the Law School are reviewed by the Governing Board (Board of
Permanent Officers), which consists of persons holding the rank of professor. In the case of all
clinical teaching appointments and promotions to the rank of Clinical Professor of Law, however,
the set of persons eligible to vote shall be expanded to include all faculty holding the rank of
Clinical Professor of Law. Associate professors on term, clinical associate professors, clinical
professors, professorial lecturers, and associate deans may participate in meetings of the Expanded
Governing Board and may discuss new appointments but, except for clinical professors in the case
of all clinical teaching appointments and promotions to the rank of Clinical Professor of Law, they
do not vote and may not participate in discussion of the status of existing non-tenured faculty.
An appointment approved by the Governing Board is forwarded to the Provost, who reviews
it; if approved, the recommendation is forwarded to the Corporation. In general, appointment
procedures conform to those set forth in Section III, with some variations, mainly resulting from
the nature of the appointments process at the Law School. For more information on appointments,
consult the Dean of the Law School. For information concerning terminations, see Section III.G.

C. Faculty Ranks

1.   Appointments on Term and to Tenure

The definitions of rank for persons holding the following two ladder appointments in the Law
School are the same as those for the Faculty of Arts and Sciences (see Section IV.I) with the
following modifications: wherever reference is made to the Ph.D. degree, it should be read to
refer to the J.D. degree, or the equivalent.




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Associate Professor on Term. All non-tenure appointments to ladder positions are made at
this rank. An initial appointment is made for a period of three years. It is presumed that this
first appointment will be renewed for a second term of four years. In exceptional circumstances
the presumption may be rebutted and denied. A decision on whether or not the individual will
be appointed to a tenure position will be made by the close of the sixth year of the candidate’s
appointment.

Professor. This is the only rank with tenure in the Law School. Individuals are promoted to this
rank from associate professor on term when the Governing Board is satisfied that the individual
has demonstrated achievement in scholarship and teaching appropriate to the rank. This decision
ordinarily must be made within seven years of initial appointment to the faculty in any rank.
Appointment directly to this rank for individuals not currently holding an appointment as an
associate professor on term is usually preceded by a visiting year or semester. It is made only
when the individual has a record of extraordinary distinction in teaching, scholarship, or the
practice of law.

Associate Professor (Adjunct) of Law. This rank is given to an individual who is an Associate
Professor in another school at Yale University. Associate Professor (Adjunct) appointments are
term appointments and may be granted for a term, academic year, or multiple academic years.

Professor (Adjunct) of Law. This rank is given to an individual who has or had “professor” in
their title and who is or has been a tenured member of the faculty of any school at Yale University.
Professor (Adjunct) appointments are term appointments and may be granted for a term, academic
year, or multiple academic years.

2.	Clinical Ranks

Clinical Associate Professor of Law. Initial appointment to this rank normally will be for a
three-year term as associate professor. Upon favorable review and recommendation, the first
appointment will be renewed for a term normally of four years. Normally, consideration for
promotion to clinical professor will occur no later than the sixth year after the initial appointment.

Clinical Professor of Law. This appointment is normally without term, subject to termination
on two years’ notice following a two-thirds vote of the Governing Board.

Supervising Attorney. This faculty rank is coterminous with a clinical faculty appointment in
the Law School and is used for persons who supervise students engaged in legal services, student
practice, and forensic programs.




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3. Other Instructional Ranks:

Professorial Lecturer. This appointment following retirment may be for a term of ten years
within a period of 13 consecutive years or without term, depending on the plan the appointee
selects, and is available to retired professors teaching at least one semester course per year but
less than one-half a full teaching load.

Visiting Lecturer. This designation is used for members of the profession who teach a seminar
or course for credit. The appointment is normally for one year and may be renewed.

Lecturer. This designation is used for individuals who have non-ladder faculty appointments
or administrative appointments in the University who teach a seminar or course for credit. The
appointment is normally for one year and may be renewed.

Tutor in Clinical Studies. This rank is used for law school graduates who assist members of
the faculty in courses or seminars, especially in the forensic or services programs, on a part-time
basis. The appointment is for a term or year and may be renewed.

Teaching Assistant. This designation is for third-year students at the Law School who assist
members of the faculty teaching in the first-term program. The appointment is for the fall term
and is not renewable.

D. Leave Policy

The policy in the Law School generally conforms to that of the University (see Section XVII)
with some minor differences. For more information, consult the Dean.




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XI. School of Management

A. Description

The School of Management prepares leaders for the global business environment by providing
students with a broad intellectual framework and the business skills necessary to manage in the
ever-changing marketplace. The principal scholarly role of the School is research in the disciplines
and functional fields of management, broadly understood, including accounting, economics,
finance, marketing, operations, organizational behavior, and politics.

The School seeks to develop innovative research in management from its own resources and
to make functional use of the scholarly work of the social science departments and of other
professional schools at Yale.

B. Governance

1.   Board of Permanent Officers

The Board of Permanent Officers (BPO) includes the Dean and all faculty members at the rank of
full professor holding appointments in the School, with the President and the Provost ex officiis.
The BPO participates in formulating educational policy and faculty promotion and appointments
policy, and it participates in recommending candidates for faculty appointments.

2.	The Senior Faculty

The Senior Faculty consists of the BPO and all professors in the practice. The Senior Faculty
participates in formulating educational policy.

3.   Appointments Committee

The Appointments Committee, consisting of the Dean and members of the Board of Permanent
Officers appointed by the Dean, oversees and coordinates the reviews of all candidates for
appointment, reappointment, or promotion at the School.

C. Ladder Faculty

In the School of Management, the maximum number of years in the non-tenure ranks is ten.
Appointment to the non-tenure ranks normally includes two consecutive three-year appointments
as assistant professor and, following a promotion review in the fifth year, one five-year term at
the rank of associate professor. Tenure is granted at the rank of professor.



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1.   Professor (Tenured)

SOM uses the standards for professor (tenured) described in Section IV.I.2. Wherever reference
is made in Section IV.I to the Ph.D. degree, the reference indicates the Ph.D., D.B.A., J.D., or
substantial equivalent.

2.   Associate Professor (Term)

Associate professor on term is normally the rank of promotion from assistant professor, or the
rank of initial appointment at SOM for an individual with substantial previous scholarly and
teaching experience. To meet SOM’s standard for appointment at the associate professor rank,
candidates must present

• s ignificant published research and scholarship representing early demonstrations of intellectual
  leadership and the likelihood of meeting the standards for tenure at SOM or a comparable
  institution within the term of the appointment;
• effective teaching and mentoring of students; and
• engaged institutional citizenship.

Terms are typically five years. Review for promotion normally takes place in the penultimate
year of the term.

3.   Assistant Professor (Term)

To be considered for an initial appointment as assistant professor, a candidate must show exceptional
promise as a scholar and a teacher. Initial terms are typically three years. To be considered for
re-appointment at this rank, candidates should be actively engaged in research and teaching, with
promise of meeting the standards for promotion to associate professor by the end of the term.
Terms are typically three years. The reappointment review takes place in the third and final year
of the initial assistant professor term. In the event that the initial term is not renewed, the initial
term will be extended by one year. Review for promotion normally takes place in the penultimate
year of the second term.

Candidates for assistant professorship who have not yet completed their Ph.D. at the time their
appointment begins will be appointed with the title of lecturer convertible as described in Section
IV.I.




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D.	Non-Ladder Faculty

SOM benefits from the participation of faculty members with experience and expertise that the
School views as essential but is unlikely to find in a ladder-faculty member. In that case, the Dean
may authorize a non-ladder position. SOM non-ladder faculty positions include professor in the
practice, senior lecturer, and lecturer. SOM does not use the title of adjunct professor, except
for faculty members already holding the title as of December 2013. Persons holding non-ladder
faculty appointments where the term of appointment exceeds one year are entitled to a review in
the penultimate year of their contract, using the standards described below.

1.   Professor in the Practice

This is a term position for practitioners or scholars whose appointments are based primarily on
their distinction in one of the areas integral to the practice of management. Such appointments
may be made for terms of up to five years and may be renewed with no limit on the number of
reappointments without involving the University in either the expectation or promise of tenure.
Appointment to the rank of professor in the practice typically requires at least six years of full-time
teaching, at Yale or elsewhere, in a ladder or non-ladder rank, including the rank of lecturer.
Appointments to the rank of professor in the practice are made for full-time faculty members
only. The standards for an appointment as a professor in the practice are

• s uperior teaching that effectively brings practice into the classroom in a way that is linked to
   a rigorous body of knowledge;
• demonstration of intellectual leadership in some area of practice through continuing written
   contributions, although such writings need not be research-based in the same way as the
   publications of ladder faculty members;
• intensive engagement in the activities of the school, such that the SOM position is the faculty
   member’s primary career focus;
• through the foregoing teaching, writing, and engagement, the provision of experience and
   expertise that the school views as essential but otherwise lacks; and
• a professional reputation that enhances the reputation of SOM.

2.	Senior Lecturer

Appointment to the rank of senior lecturer typically requires at least six years of full-time teaching,
at Yale or elsewhere, in a ladder or non-ladder rank, including the rank of lecturer. Furthermore,
a senior lecturer must either hold an earned terminal degree in the relevant field (academic
qualification) or have at least five years of experience in the relevant field (practice qualification).



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For senior lecturers with only the practice qualification, the title used at SOM will be “senior
lecturer in the practice (of relevant field).” Initial appointments to the rank of senior lecturer are
made for full-time faculty members only. Terms may be for a minimum of one semester or a
maximum of five years. The standards for an appointment as a senior lecturer are

• s uperior teaching that effectively brings practice into the classroom in a way that is linked to
   a rigorous body of knowledge;
• intensive engagement in the activities of the school, such that the SOM position is the faculty
   member’s primary career focus; and
• through the foregoing teaching and engagement, the provision of experience and expertise that
   the school views as essential but otherwise lacks.

Re-appointments at this rank may be made at part-time status with the same standards, except
that SOM need not be the faculty member’s primary career focus.

3.   Lecturer

For an initial appointment as lecturer, the candidate must show evidence of promise as a superior
teacher. Furthermore, a lecturer must either hold an earned terminal degree in the relevant field
(academic qualification) or have at least five years of experience in the relevant field (practice
qualification). For lecturers with only the practice qualification, the title used at SOM will be
“lecturer in the practice (of relevant field).” Once a lecturer attains at least six years of full-time
teaching experience, at Yale or elsewhere, in a ladder or non-ladder rank, he or she may request
that a promotion to senior lecturer be considered at the time of his or her next re-appointment
review. Terms may be for a minimum of one semester or a maximum of three years. The standards
for an initial appointment as a full-time lecturer are

• i ntensive engagement in the activities of the school, such that the SOM position is the faculty
   member’s primary career focus; and
• the provision of experience and expertise that the school views as essential but otherwise lacks.

Initial appointments and re-appointments at this rank may be made at part-time status with the
same standards, except that SOM need not be the faculty member’s primary career focus. For
re-appointments as a lecturer, the candidate must also demonstrate superior teaching that effectively
brings practice into the classroom in a way that is linked to a rigorous body of knowledge or
show evidence that this teaching standard could be satisfied during the term of the appointment.




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E.	Other Appointments

1.   Joint Ladder Faculty Appointments

SOM follows the University policy for joint ladder faculty appointments with other schools as
described in Section III.H.

2.   Part-Time Appointments to Ladder Ranks

SOM follows the University policy for part-time ladder faculty appointments as described in
Section III.I.

3.   Dual Appointments as a Faculty Member and Managerial or Professional Employee

SOM follows the University policy for dual appointment as a faculty member and professional
or managerial employee as described in Section III.J. All such appointments are made at the rank
of Lecturer or Senior Lecturer, following the standards set out above, except that SOM need not
be the faculty member’s primary career focus.

4.   Research Appointments

SOM follows University policy for research appointments as described in Section XV.

5.   Visiting Appointments

SOM follows University policy for visiting appointments as described in Section XVI, with the
additional visiting appointment of executive fellow.

For a visiting appointment as an executive fellow, a candidate must provide experience and
expertise that the school views as essential but otherwise lacks or have a professional reputation
that enhances the reputation of SOM. An executive fellow is normally appointed for one semester
or one year, with the possibility of renewal for additional terms, not to exceed three consecutive
years. Executive fellows are not members of the faculty, and no teaching or paid work for the
University is required. An executive fellow may receive compensation for work in executive
programs and for assisting with other programmatic activities at the school. If an executive fellow
is given responsibility for a course, he or she must also receive a faculty appointment.

F.   Procedures for Appointment

The BPO is the ultimate authority at the school level for all faculty appointments. Unless stated
otherwise in this section, the BPO alone votes on all appointments. As discussed below, the BPO


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may elect to include other members of the faculty in certain votes or delegate voting authority
to a committee.

1.   Professor (Tenured)

Recommendations for appointments to tenure positions are reviewed by the BPO. Appointments
approved by the BPO are sent to the Dean and then to the Provost for review and recommendation
to the Corporation. The Provost will ask the School’s Standing Advisory and Appointments
Committee (SAAC) to review and make a recommendation on tenure appointments or in other
cases where the Provost deems it appropriate. When tenure appointments are made jointly between
the School and a department of the Faculty of Arts and Sciences, appointments are also sent
to the appropriate divisional Tenure Appointments and Promotions Committee for review and
concurrent approval. Tenure appointments proposed jointly with another school must also follow
that school’s appointments procedure. Appointments approved by the Provost are forwarded to
the Corporation. For information concerning terminations, see Section III.G.

2.	Term Appointments

The BPO votes on all re-appointments to the rank of professor in the practice.

The Senior Faculty votes on all initial appointments to the rank of professor in the practice, all
appointments to associate professor and senior lecturer, and all re-appointments to assistant
professor.

The BPO delegates all votes for lecturers, research appointments, visiting appointments, secondary
appointments, and initial appointments of assistant professors to the Appointments Committee.

G. Leave Policy

For information on leaves, consult the Dean.




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XII. School of Medicine

A. Description

The faculty of the School of Medicine is responsible for the instruction of students of medicine,
students of public health, graduate students of the biomedical sciences, and students in the
Physician Associate Program. The School provides graduate training programs for residents in
medical disciplines and postdoctoral trainees in the biomedical and behavioral sciences. Continuing
education programs are offered for physicians and other health care professionals. Clinical
programs of instruction are available at the Yale-New Haven Medical Center, the Connecticut
Mental Health Center, the Veterans Affairs Connecticut Healthcare System, and other medical
facilities with which the School of Medicine holds formal affiliation agreements.

The faculty in the Department of Epidemiology and Public Health also serve as the faculty of
Yale’s accredited School of Public Health. The Chair of the Department of Epidemiology and
Public Health serves as Dean of Public Health in the School of Medicine.

B. Departments

The faculty is organized into basic science departments and sections and clinical departments,
each headed by a chair or director appointed by the Corporation upon the recommendation of
the President.

         Basic Science Departments and Sections

                Biomedical Engineering
                Cell Biology
                Cellular and Molecular Physiology
                Comparative Medicine
                History of Medicine
                Immunobiology
                Microbial Pathogenesis
                Molecular Biophysics and Biochemistry
                Neurobiology
                Pharmacology

         Clinical Departments

                Anesthesiology



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               Child Study Center
               Dermatology
               Diagnostic Radiology
               Emergency Medicine
               Internal Medicine
               Laboratory Medicine
               Neurology
               Neurosurgery
               Obstetrics, Gynecology and Reproductive Sciences
               Ophthalmology and Visual Sciences
               Orthopaedics and Rehabilitation
               Pediatrics
               Psychiatry
               Surgery
               Therapeutic Radiology

         Bridge Departments

               Epidemiology and Public Health
               Genetics
               Pathology

C. Governance

1.   Board of Permanent Officers

Faculty at the rank of full professor who are appointed without limit of term, together with the
President and Provost, ex officiis, and the Dean of the School of Medicine, constitute the School’s
Board of Permanent Officers. This is the governing board of the School, entrusted with matters
of educational policy and governance and responsible for recommendations to the President and
Provost for appointments at the associate professor, professor, clinical professor, and professor
adjunct ranks. The permanent officers may invite other faculty to attend meetings of the Board and
to vote on appointments and promotions to ranks below or equal to their own. By longstanding
policy, the Board of Permanent Officers has offered such rights to all faculty who hold the ranks of
associate professor with tenure and clinical professor. In all meetings, action is taken by majority
vote of those present and eligible to vote. Emeritus faculty are invited non-voting members of
the Board of Permanent Officers.




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2.   Voting Rights and Policies

Professors in the Traditional Track, Investigator Track, Clinician-Scholar Track, and the Clinician-
Educator Track have full voting rights on appointments and promotions to all ranks in all tracks.
Associate professors with tenure may vote on all ranks in all tracks except for the rank of professor.
Assistant and associate professors on term appointments in the faculty tracks may be invited by
the professors in their departments to vote in their departments on appointments and promotions
to ranks below or equivalent to their own, although associate professors may not vote on the
reappointment of associate professors. Absentee ballots are not accepted in department voting.
Regardless of rank, faculty with secondary appointments with a department or school may not
vote on promotions or appointments to tenure. Recommendations for appointments or promotions
to all ranks above assistant professor and associate research scientist are submitted for action to
the appropriate appointment and promotion committee after a majority affirmative vote by the
faculty qualified by rank to vote in the applicable department. Since a majority of those present
and eligible to vote is necessary and sufficient to bring an appointment forward to the next level,
abstentions have the same effect as votes against the appointment or promotion. All voting on
appointments and promotions must be done with secret ballots.

D.	Supervision of Students

The School of Medicine confers the Doctor of Medicine (M.D.) degree, the Master of Medical
Science (M.M.S.) degree, the Master of Health Science (M.H.S.) degree, and, through its relationship
to the School of Public Health, the Master of Public Health (M.P.H.) degree. Students who are
candidates for the Master of Science or Doctor of Philosophy in the biomedical sciences or in
Public Health are enrolled not in the School of Medicine but in the Graduate School of Arts and
Sciences. Faculty of the School of Medicine, including Public Health, who supervise Graduate
School students must have an appointment to the Graduate School faculty (see Section IV).

E. Appointments and Promotions Procedures

Faculty in the School of Medicine, including Public Health, are appointed to a faculty track, a
research rank, an adjunct rank, or a voluntary rank. General appointment procedures, as described
in Section III.K, apply to the School of Medicine, including Public Health. Some procedures,
however, are specific to the School of Medicine.

Department chairs are appointed by the Yale Corporation upon recommendation of the President
after nomination by the Dean. The academic appointments of individuals recruited to serve as
chairs are recommended by the search committee to the appropriate committee on appointments.



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If approved, the appointment is presented to the Board of Permanent Officers of the School of
Medicine before being forwarded to the Yale Corporation.

Except for appointment of the chair, any faculty appointment at the rank of associate professor,
professor, research scientist, or senior research scientist must be recommended by the professors
and tenured associate professors in non-voluntary ranks of the department of primary and, where
applicable, secondary appointment. When meeting to discuss a faculty appointment or promotion,
the professors and tenured associate professors of a department may invite attendance by the
other faculty of the department who hold rank equal to or higher than the rank of the position to
be filled and may empower them to vote. Faculty with secondary appointments in a department
may not vote on appointments or promotions to tenure. Faculty who hold appointments at the rank
of associate professor on term may not vote on reappointments to the rank of associate professor.
Absentee ballots are not accepted in department voting.

Appointments and reappointments to the rank of assistant professor without track designation
are initiated within the department and submitted by the chair to the Dean for endorsement and,
if endorsed, for recommendation to the President and Provost. As noted, recommendations for
appointment or promotion to all ranks above assistant professor and associate research scientist
are submitted for action to the appropriate appointment and promotion committee after a majority
affirmative vote of the faculty qualified by rank to vote in the applicable department.

The committee that has authority to recommend tenure appointments in the basic science departments
and sections (excluding Comparative Medicine, Epidemiology and Public Health, and History of
Medicine), is chaired either by the Dean of the School of Medicine, the Dean of Yale College, or
the Dean of the Graduate School. This committee is called the Tenure Appointments Committee
for Biological Sciences (TACBS). All term appointments, as well as appointments and promotions
to the rank of associate professor without term and professor in departments other than those
listed above, are reviewed by the appointments and promotions committees appointed by the Dean
and chaired by the Dean or the Dean’s designee. The number of committees on appointment and
promotion, as well as the constituency and responsibility of each, may change from time to time.
Ad hoc members may be invited to join when circumstances require. When an appointment in the
Graduate School is being considered, the Dean of the Graduate School of Arts and Sciences or his
or her designee is a voting member of an appointments and promotions committee of the School
of Medicine. In Epidemiology and Public Health, appointments and promotions to the ranks of
professor, associate professor without term, associate professor with term, senior research scientist,
and research scientist are reviewed by the Standing Appointments and Promotions Committee
of the Department of Epidemiology and Public Health, which is appointed by the Provost and



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co-chaired by the Dean of the School of Medicine and the Dean of the Graduate School of Arts
and Sciences. The recommendations of any of the appointments and promotions committees are
then presented to the Board of Permanent Officers of the School of Medicine for a vote. When
meeting to vote on such recommendations, faculty in Molecular Biophysics and Biochemistry
who are assigned to vote in the Joint Boards of Permanent Officers of Yale College and the
Graduate School may not also vote in the School of Medicine’s Board of Permanent Officers.
Approved appointments and promotions in all faculty tracks and ranks are put forward by the
Dean to the President and Provost for review and, when approved, for recommendation to the
Yale Corporation for final approval.

F.   Faculty Tracks

Ladder faculty appointments at the Schools of Medicine and Public Health are made in the
Traditional Track, Investigator Track, Clinician-Scholar Track, and Clinician-Educator Track.
Appointments and promotions are made in the context of department needs and the missions of
the school.

Track designation occurs at the time of promotion to associate professor except in the case of
the Clinician-Educator Track where it may occur after at least one year in the rank of assistant
professor.

Transfer of Track. Faculty in any track may request a transfer of an appointment to another
track, subject to the following restrictions:

No transfer of track at the rank of associate professor or professor will be permitted within two
years of the expiration of an appointment. However, transfers from the rank of assistant professor
in the Clinician-Educator Track are not subject to this restriction.

Transfer to the Traditional Track is permitted only for faculty who have served at the ranks of
assistant professor and associate professor for a total of fewer than ten years. Such requests must
be reviewed and approved by the appropriate appointments and promotions committee.

Assistant Professor. Faculty who are appointed at the rank of assistant professor are usually not
assigned to a track. In this way, entry-level faculty have flexibility to test their strengths and to
define their interests.

Appointments to this rank are conferred without a track designation, except for appointments as
assistant professor in the Clinician-Educator Track where the appointment can be made after the
first year as an assistant professor without track designation. Appointment as assistant professor



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may be considered for individuals who have achieved an M.D., Ph.D., or equivalent degree and
who have completed appropriate postdoctoral training. Qualifications for initial appointment
include promise as a teacher and scholar. Published papers of high quality are desirable. Individuals
who will contribute to graduate education and who hold a primary appointment in a basic science
department are automatically appointed to the Graduate School. Those who will contribute to
graduate education and hold a primary or secondary appointment in a bridge department are
eligible for appointment to the Graduate School.

The initial appointment is usually for, but cannot exceed, three years. Reappointment requires
evidence of success as a teacher and scholar. Reappointments may bring a faculty member’s total
years in rank as assistant professor to no more than six years, unless he or she is in the Clinician-
Educator Track. In the Clinician-Educator Track, there is no limit to the number of years a faculty
member may serve as assistant professor. Any appointment or promotion beyond six years requires
assignment to a track. In order to be appointed to the Traditional Track, Investigator Track, or
Clinician-Scholar Track, the candidate must achieve promotion to the rank of associate professor.
Non-reappointment requires one year’s written notice, except in the case of current one-year
appointments or reappointments, which require 30 days’ notice.

1.   Traditional Track

Individuals who achieve excellence in research and teaching are eligible for appointment in this
track.

Appointments on Term

Associate Professor. Candidates for appointment or promotion to the rank of associate professor
on term should have achieved recognition as independent investigators and have demonstrated
excellence as teachers. Their achievements and promise as teachers and scholars should be strong
enough to suggest that they will be qualified for appointment to tenure at Yale or another major
medical institution within four to five years. Individuals who will contribute to graduate education
and who hold a primary or secondary appointment in a basic science department are eligible for
appointment in the Graduate School.

The maximum initial term of this appointment is five years. If, at the end of the term, the individual
has been a member of the faculty at the combined ranks of assistant and associate professor for
less than ten years (plus extensions described in Section III.F), the appointment may be extended
for up to two years, subject to the approval of the Dean and the Provost and in accordance with
limits on term appointments described below.



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Limits on Term Appointments. No one shall be appointed in the Traditional Track at the combined
ranks of assistant professor and associate professor on term for longer than a total of ten years,
plus extensions described in Section III.F. Years of appointment to the ladder ranks at Yale and up
to three years served in the ladder ranks at other institutions shall count towards this maximum.

Appointments with Tenure

A tenure appointment, whether at the rank of professor or associate professor, is a permanent,
forward-looking commitment. This commitment is made with consideration of the achievements
of the individual and the programmatic needs of the department and the School. Appraisals of past
contributions must be supplemented by strong evidence of future contributions to the profession
and the teaching program. In choosing among available candidates, the faculty may decide that
outstanding promise of a person in the earlier stages of a career justifies appointment even though
his or her published attainments to date may be fewer than those of more established candidates.

While the several manifestations of intellectual distinction are prerequisite to an appointment
with tenure, it is recognized that the balance among them may vary from candidate to candidate
and from field to field; there may be variation in the quantity of the written or creative work,
though the quality must always be high. Unusually effective teaching or an unusually significant
contribution to the community’s wellbeing may serve to supplement but not to substitute for
evidence of scholarly achievement.

Individuals who will contribute to graduate education and who hold a primary or secondary
appointment in a basic science department are eligible for appointment in the Graduate School.

Associate Professor. Candidates for appointment or promotion to the rank of associate professor
with tenure must have produced a significant body of scholarship, must be able teachers and, if
clinicians, must be accomplished in their clinical fields. They must be rising toward national and
international leadership in their areas of specialty, and there must be clear evidence that academic
growth will continue, with the expectation that their value to the institution and their national
and international standing will make them suitable candidates for promotion to professor within
a reasonable period of time.

Professor. Candidates for appointment or promotion to the rank of professor with tenure are
expected to stand in competition with the foremost leaders in their fields throughout the world,
as demonstrated by major scholarly achievements and by teaching. If they are clinicians they
must be outstanding practitioners of their field of clinical medicine. There should be ample
evidence that they will continue to make significant contributions as scholars, to serve as able and



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influential teachers, and to contribute to the wellbeing of the academic community. The strength
of commitment conferred by appointment to the rank of professor mandates that candidates in this
track have attained the same level of achievement in their domains as candidates for professor
in the other ladder tracks.

2.   Investigator Track

This track is intended for investigators who demonstrate conceptual and creative leadership in
research that may be carried out either as an independent investigator or as a key participant in
a research team or core facility. If working in a collaborative research effort, an investigator’s
creative contributions must be distinguished and identifiable. There must be sustained funding
for salary and research activities. Faculty members in this track may engage in teaching, but
their major responsibility will be the development of productive research programs. Individuals
who will contribute to graduate education and who hold a primary or secondary appointment in
a basic science or bridge department are eligible for appointment to the Graduate School of Arts
and Sciences.

Associate Professor. Candidates for appointment or promotion to the rank of associate professor in
the Investigator Track must have demonstrated a strong record of conceptual and creative research
leadership in independent research or in collaborative efforts as part of a team. If working in a
collaborative research effort, an investigator’s creative contributions must be distinguished and
identifiable. There must be clear evidence that academic growth will continue with the expectation
that the investigator will be a suitable candidate for promotion to professor within ten years. There
must be a record of sustained funding sufficient to cover the proportion of salary and research
activities required by the investigator’s department.

The initial term of appointment may be up to five years. Reappointments may be made for terms
of up to five years, provided that the total number of years in the rank of associate professor
does not exceed ten. Non-reappointment requires one year’s written notice except in the case of
one-year appointments or reappointments, which require 30 days’ written notice.

Professor. Candidates for appointment or promotion to the rank of professor in the Investigator Track
are expected to stand in competition with the foremost leaders in their fields throughout the world.
A strong record of conceptual and creative research leadership that has significantly advanced the
frontiers of knowledge must be demonstrated in independent research or in collaborative efforts as
part of a team. If working in a collaborative research effort, an investigator’s creative contributions
must be distinguished and identifiable. There must be a record of sustained funding sufficient to
cover the proportion of salary and research activities required by the investigator’s department.



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The strength of commitment conferred by appointment to the rank of professor mandates that
candidates in this track have attained the same level of achievement in their domains as candidates
for professor in the other ladder tracks. Appointments at the rank of professor in the Investigator
Track are made on a continuing basis without term but do not confer tenure. Appointments continue
without extra-departmental review as long as the faculty member generates funding sufficient to
cover the proportion of salary and research activities required by the investigator’s department.
Funding is reviewed annually by the department. If, for any three years in a five-year period,
the individual’s funding is not sufficient, as determined by the department and the Office of the
Dean, the appointment reverts to a term appointment that expires at the end of two additional
years. Non-reappointment requires one year’s written notice.

3.   Clinician-Scholar Track

Individuals who achieve excellence as clinicians, public health practitioners, teachers, and scholars
are eligible for appointment to the Clinician-Scholar Track.

Associate Professor. Candidates for appointment or promotion to the rank of associate professor
in the Clinician-Scholar Track must excel in patient care and teaching and must have an emerging
national reputation for outstanding scholarship. Appointments are made for terms of up to five
years. They may be renewed if clinical productivity, scholarship, and teaching expertise continue
and if programmatic needs of the department and school justify renewal.

There is no limit to the number of terms a faculty member may serve at this rank, but there is no
entitlement to reappointment. Non-reappointment requires one year’s written notice.

Professor. Candidates for appointment or promotion to the rank of professor in the Clinician-
Scholar Track must be national or international leaders in their fields. In addition to excellence in
patient care, public health practice, and teaching, they must have produced outstanding, nationally
or internationally recognized scholarship which has substantially advanced the field. The strength
of commitment conferred by appointment to the rank of professor mandates that candidates have
attained the same level of achievement in their domains as candidates for professor in the other
ladder tracks.

Such appointments will be made on a continuing basis without term. Continuing appointments
may be terminated for reasons of financial stringency and with written notice of not less than two
years. Under such circumstances, termination shall be applied to a class of individuals holding
continuing appointments (e.g., all those in one or more departments or all those with fewer than
a certain number of years of service) and not to any single individual.



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4.   Clinician-Educator Track

Individuals who achieve excellence as clinicians or public health practitioners and teachers
are eligible for appointment in the Clinician-Educator Track. Faculty in this track must play an
integral role in the department’s clinical and teaching programs. They must also participate in
the research endeavors of the School.

Support for salary and professional activities is expected to come predominantly from the faculty
member’s clinical or public health practice, supplemented as appropriate from department funds.

Assistant Professor. Candidates for appointment to the rank of assistant professor in the Clinician-
Educator Track must have completed at least one year as an assistant professor without a declared
track. They must show evidence of excellence in clinical practice and must contribute to educational
programs. They must also demonstrate a commitment to the research mission of the School.

Appointments are made for terms up to three years. There is no limit to the number of terms a
faculty member may serve at this rank, but there is no entitlement to reappointment. Non-reap-
pointment requires one year’s written notice.

Associate Professor. Candidates for appointment or promotion to the rank of associate professor
in the Clinician-Educator Track must have an outstanding record of patient care or public health
practice. Equally important, they must be exemplary teachers and active contributors to the
educational mission of the School. They are expected to influence the teaching or practice of medicine
in a significant way and should participate in research and scholarly activities. Appointments are
made for terms of up to five years. They may be renewed if clinical productivity, scholarship,
and teaching expertise continue and if programmatic needs of the department and School justify
renewal. There is no limit to the number of terms a faculty member may serve at this rank, but
there is no entitlement to reappointment. Non-reappointment requires one year’s written notice.

Professor. Candidates for appointment or promotion to the rank of professor in the Clinician-
Educator Track must be national or international leaders in their fields, as evidenced by scholarship
that has had a national impact on clinical medicine, public health, or education, as well as by
sustained excellence in patient care and teaching. The strength of commitment conferred by
appointment to the rank of professor mandates that candidates in this track have attained the
same level of achievement in their domains as candidates for professor in the other ladder tracks.
Appointments are made on a continuing basis without term but do not confer tenure. Faculty
at this rank must continue to contribute to the clinical and teaching missions of the School.
Appointments are contingent upon continued faculty productivity and the capacity to generate



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financial support, which are reviewed annually by the department. If either is found unsatisfactory
for three years in any five-year period, as determined by the department and the Office of the
Dean, the appointment reverts to a term appointment that expires at the end of two additional
years. Non-reappointment requires one year’s written notice.

G. Adjunct Faculty Ranks

Professor Adjunct, Associate Professor Adjunct, and Assistant Professor Adjunct. These
ranks are intended for the appointment of persons whose interests, as well as the interests of the
University, are served by their continuing in a professional capacity outside the University while
teaching less than full time. Adjunct faculty members do not serve as the principal advisers of
dissertations nor do they vote on faculty appointments. With the approval of the chair and the
Dean or the Dean’s designee, they may become principal investigators of grants.

Appointments are made for terms of up to three years at the rank of assistant professor and
five years at the rank of associate professor or professor. Following departmental review, they
may be renewed upon the recommendation of the department. Such renewal is made without
the expectation or the promise of tenure. The adjunct faculty rank to which a candidate may be
appointed or promoted reflects the individual’s accomplishments and distinction. There is no
limit to the number of terms a faculty member may serve at this rank, but there is no entitlement
to reappointment. Reappointment is dependent on the continued budgetary authorization of the
position, the teaching needs of the department, and the performance of the individual.

H. Voluntary Ranks

Voluntary faculty are typically clinicians or others who are employed outside of the School
but make significant contributions to department programs at the medical center or at affiliated
institutions. Each department has established guidelines for the nature of required participation,
such as the relative importance of teaching students, supervising residents, engaging in scholarly
activity, participating in department administration, and other activities. Voluntary faculty typically
do not receive compensation or benefits from the School.

With the approval of the chair and the Dean’s office, voluntary faculty may become principal
investigators of grants. As a principal investigator, the voluntary faculty member must abide by
all relevant university and school policies (see especially Section XX.C). They must be able to
commit and devote the requisite effort with or without compensation from the grant. Voluntary
faculty are expected to be board eligible, licensed, or certified in their specialties.




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Clinical Instructor. Individuals who have completed clinical training will be eligible for this
rank. Appointments are made for renewable one-year terms.

Assistant Clinical Professor. This rank is for those persons who have made academic contributions
documented in at least one of the following ways: (1) publication or other evidence of substantial
contribution to their disciplines; (2) exemplary teaching; (3) well-recognized clinical expertise.

Appointments are made for renewable terms of up to three years.

Associate Clinical Professor. This rank is for those persons who have achieved recognition for
their outstanding scholarship and sustained contribution to academic life documented in at least
one of the following ways: (1) publication or substantial contribution to their respective disciplines;
(2) exemplary teaching activities and well-recognized clinical expertise. Appointments are made
for renewable five-year terms.

Clinical Professor. This rank is reserved for those few persons who have achieved national or
international recognition for their exceptional scholarship and sustained contribution to academic
life documented in both of the following ways: (1) publication or substantial contribution to their
respective disciplines; (2) exemplary teaching activities and well-recognized clinical expertise.
Appointments are made for renewable five-year terms.

I.	Clinician

The role of the Clinician is to provide the highest quality of patient care consistent with the
policies, standards, and guidelines of the Yale Medical Group. Appointment as a Clinician may
be part-time or full-time. All appointments are recommended by the chair and approved by the
Dean of the School of Medicine, are made for terms of up to five years, and are renewable. They
may be renewed based on a number of factors including the continued need for the position,
the availability of resources for the position, and the clinical productivity and performance of
the individual. Appointments of up to and including one year carry no expectation of long-term
employment at Yale and may be terminated immediately for cause and, with 30 days’ notice, for
reasons other than cause. Appointments longer than one year may be terminated for cause upon
determination by the Dean of the School of Medicine or for such other basis and grounds as may
be set forth in the official offer letter.

Clinicians must have a demonstrated level of clinical skill commensurate with the requirements
of the clinical practice specialty for which they are being appointed. They must also satisfy other
clinical practice requirements of the department as set forth in the official offer letter. Clinicians




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are eligible for benefits, as set forth in Section XVIII.D.

Clinicians may coterminously hold appointments as voluntary faculty members, subject to the
provisions of the University, School and departmental policies and guidelines for voluntary
faculty appointments.

J.     Research Ranks

For research ranks in the School of Medicine, refer to Section XV.

K.	Other Instructional Ranks

Appointments to these ranks are recommended by the chair and approved by the Dean. They do
not require the approval of committees within the department or the School of Medicine.

1.     Lecturer

Appointments at this rank are normally on a one-year basis. To hold the rank of lecturer, a person
must make contributions to the academic program through approved educational activities.

2.     Instructor

This rank is available:

• f or individuals who have recently completed professional training and who wish to embark
   on a full-time academic career. The appointment is made for a maximum of three one-year
   renewable terms;

• for trainees in clinical fellowship programs who are qualified by prior training to provide
     independent clinical services and serve as teachers in fields of medicine. For such individuals
     the term of appointment is a one-year secondary appointment that may be renewed for the length
     of the fellowship. The years served as a secondary appointment instructor are not included in
     the total number of years available as a primary appointment instructor; and

• w
   ith prior approval by the dean and the provost, for certain categories of non-physician providers
  who are qualified to provide independent clinical services and serve as teachers in fields of
  medicine. For such individuals, the appointment is made for one-year renewable terms with
  no limit on the number of terms.




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3.	Clinical Instructor or Assistant Clinical Professor of Social Work in Psychiatry or in
   the Child Study Center

These ranks will be used for social workers who do not qualify for or who do not desire regular
academic rank.

L.	Training Ranks

The following ranks are not faculty appointments. Like postdoctoral fellows and associates,
postgraduate fellows, and postgraduate associates (see Section XV), they may or may not be
employees of the University.

1.   Hospital Resident

Postgraduate physicians who, as residents, are employees of the Yale-New Haven Hospital or
other affiliated hospitals, may, upon recommendation by the chair and approval by the Dean,
receive the title of hospital resident in the School of Medicine, coterminous with their hospital
residency appointment. Hospital residents are entitled to access to certain School services such as
the School of Medicine library. However, compensation and benefits are provided by the hospital
of primary employment; hospital residents are not eligible to enroll in any of the University’s
health care plans.

2.	Clinical Fellow

Individuals with clinical responsibilities who have completed residency training or other appropriate
training and are enrolled in a fellowship training program in a School of Medicine department are
granted this rank, upon recommendation of the chair and approval by the Dean. The maximum
time an individual may spend in a clinical fellowship is four years. Clinical fellows engage in
University-based activities, both clinical and scholarly. They may minister to patients as part
of their training to the extent permitted by legal and quality standards. Clinical fellows are not
faculty members. Their University status is comparable to that of postdoctoral associate if they
are paid by the University or postdoctoral fellow if they are paid by a training grant or external
fellowship (see Section XV.C.1).

Clinical fellows may receive limited additional compensation for teaching or other University
service, but these activities may not interfere with their primary role as fellows in training.




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M.	Coterminous Appointments

A faculty appointment in any rank or track may be coterminous with an appointment at an affiliated
institution, e.g., Yale-New Haven Hospital, the Veterans Affairs Connecticut Healthcare System,
Connecticut Mental Health Center, or the John B. Pierce Laboratory. Coterminous appointments
are designated such at the time of appointment, reappointment, or promotion and upon approval
of the Dean.

A coterminous appointment normally ends automatically upon termination of the other institutional
appointment, without any notice, grievance rights, or similar provisions otherwise afforded by the
Faculty Handbook. However, at the time of appointment, the Dean, at the request of the chair of
the candidate’s department, may offer a period of notice beyond the termination date of the other
institution’s appointment not to exceed two years for those at the ranks of professor or associate
professor without term, or one year for a faculty member at any other rank.

An appointment coterminous with a Pierce Laboratory appointment will carry all of the rights
and responsibilities of a department appointment, with the exception of voting privileges. Voting
privileges may be granted to them by the professors and tenured associate professors in the
non-voluntary ranks of the department of primary and, where applicable, secondary appointment.
At least one faculty member with a primary appointment in the department of the proposed
appointment and with experience pertinent to the proposed appointment will be a member, with
vote, of each Pierce Laboratory search committee.

N. Leave Policy

Full-time professors and associate professors in the School of Medicine, are eligible to apply
for Sabbatical Leaves of Absence and Triennial Leaves of Absence under those policies and
conditions described in Section XVII. Senior Faculty Fellowships are not available at the School
of Medicine. Eligibility for a Triennial Leave of Absence in the School of Medicine begins
after two and one-half years of full-time activity at the rank of associate professor or professor.
Thereafter, the faculty member will become eligible for a Triennial Leave after each additional
two and one-half years of full-time faculty activity at Yale. Faculty members shall first become
eligible for a Sabbatical Leave of Absence after having taught at Yale at the rank of associate
professor or professor for two and one-half years. Thereafter, they shall be eligible after having
taught in those ranks at Yale for six full years from the end of their previous leave of absence.
In the School of Medicine a Triennial Leave of Absence is up to four months in length during
which time a faculty member receives full pay. A Sabbatical Leave of Absence may be up to six
months at full salary or up to one year at half salary.



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A leave of absence without salary may be granted to any member of the faculty, on recommendation
of the chair and Dean, with the restrictions and provisions described in Section XVII.C.

O. Joint Appointments

Depending on the needs of the School of Medicine and its departments, joint appointments may
be made in accordance with the procedures outlined in Section III.H. For fully joint appointments,
the approval of the Dean’s Office is required before the vote by the relevant School of Medicine
department(s).




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XIII. School of Music and Institute of Sacred Music

A. Description

The School of Music is a graduate professional school whose goal is to educate musicians for
professional careers through broad and intensive studies in performance and composition. Its
curriculum, faculty, and other resources serve to develop both excellence in a special field and
intellectual growth beyond the area of specialization. The School of Music offers professional
instruction in composition, conducting, voice, keyboard, wind and string instruments, and related
work in musicianship, music history, and music theory.

Through the affiliated Institute of Sacred Music, interdisciplinary study in liturgy, worship, music,
and related arts is also available. The faculty of the Institute is appointed jointly with either the
School of Music or the Divinity School. Additional collaborations exist with the Department of
Music and with Yale College.

B. Governing Committees

The School of Music is governed by the following committees:

1.	The Executive Committee

The Executive Committee is appointed by the President and is chaired, alternately for one-year
terms, by the Dean of the School of Music and the Chair of the Department of Music of the
Faculty of Arts and Sciences. Members are appointed to the committee by the President upon
recommendation from the Dean and Chair. Membership includes the Chair of the Department
of Music, the Dean of the School of Music, a faculty member of the Department of Music, a
faculty member of the School of Music, the Director of the Institute of Sacred Music, and one
member-at-large. This committee considers major policy questions concerning all areas of music at
Yale and coordinates the activities of the Institute, the Department, and the School. The committee
meets monthly or more often if issues warrant.

2.	The Faculty Steering Committee

The Faculty Steering Committee consists of the coordinators of the performance programs of the
School of Music. This committee advises the Dean on matters of policy and on promotion in the
junior ranks and also serves as the Curriculum Committee.




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3.	The Governing Board

The Governing Board is charged with making recommendations for appointment to senior ranks
of members of the faculty promoted from within or recruited from outside. The membership
consists of the Dean, tenured faculty, and professors in the practice.

4.	Other Committees

Other governing committees include the Performance Committee, the Doctor of Musical Arts
Degree Committee, the Academic Affairs Committee, the Master of Musical Arts Committee,
the Admissions Committee, and the Dean’s Student Advisory Committee. These committees are
appointed by the Dean and meet as frequently as their individual charges dictate.

C. Faculty Ranks and Appointments

Members of the faculty in the School of Music generally pursue active professional careers in
addition to their teaching responsibilities at Yale. Appointments are made on the basis of distinction
as an artist and success as a teacher.

1.   Faculty Ranks

Faculty positions in the School of Music are at the ranks of lecturer, instructor, assistant professor
adjunct, associate professor adjunct, professor adjunct, professor in the practice, professor, and
appropriate designations for visiting appointments.

Conductor in residence is an adjunct rank and designates faculty devoting substantial time to
the direction of Yale’s performing ensembles, principally the Philharmonia Orchestra of Yale.

2.   Appointment and Promotion Procedures

Initial appointments for all non-tenured faculty members are normally from one to three years
and in no case exceed five years. Appointments recommended by the Governing Board are
forwarded to the Provost. Recommendations for appointment at the level of associate professor
adjunct and above will be made by the Provost with the advice of the School’s Standing Advisory
and Appointments Committee (SAAC). The Provost will forward approved recommendations
to the Corporation. Recommendations for appointment are made after a thorough search and are
reviewed at levels below associate professor adjunct by the Faculty Steering Committee, which
also reviews recommendations for promotion in the ranks of lecturer, instructor, and assistant




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professor adjunct. Recommendations for promotion and tenure in the ranks of associate professor
adjunct and above are reviewed by the Governing Board.

D. Joint Appointments with the Department of Music

Depending on the instructional needs and resources of the School of Music and the Department
of Music in the Faculty of Arts and Sciences, occasional joint appointments may be made,
generally in the areas of conducting, composition, history, and theory. Recommendations for
such appointments are made jointly by the Dean of the School of Music and the Chair of the
Department of Music in accordance with the procedure outlined in Section III.H.

E.	Off-campus Professional Engagements

The full-time faculty in the School of Music are encouraged to continue their professional pursuits
as performing artists, composers, scholars, and teachers. In addition to their teaching, members
of the faculty are also obligated to participate in auditions and interviews for admission to the
School, degree recitals, juries, student advisory meetings, and MMA and DMA auditions and
examinations. To ensure that all responsibilities to the students and programs of the School are
met and that a reasonable balance of teaching and professional activity is maintained, faculty
must receive approval for travel leave each semester. The normal allowance is three weeks per
semester, and all lessons and classes must be satisfactorily assigned or rescheduled.

This requirement is not intended to restrict unduly the freedom of faculty to engage in professional
activities, and permission will normally be granted automatically. Official notification of absence
is necessary to enable the School to respond to inquiries that arise while faculty members are
away, and it is important in the orderly administration of the School. Also, off-campus professional
activities may be combined with University business, and prior approval by the Dean will have
an important bearing on questions of liability in the event of death or injury while traveling.

F.   Leave Policy

For information on leaves, consult the Dean of the School of Music.

G.	Termination Policy

Individuals holding term appointments of three or more years receive written notification at
least one year before the end of the current term of appointment. Under normal circumstances,
individuals holding terms of appointment of fewer than three years are given three months’ notice.




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XIV. School of Nursing

A. Description

The School of Nursing offers master’s and doctoral degree preparation for a variety of leadership
roles in nursing specialties. The programs emphasize the relationships among nursing theory,
practice, and research. Graduates of the master’s program are prepared to function as nurse
practitioners, clinical nurse specialists, nurse midwives, or leaders in management policy. Graduates
of the doctoral program are prepared as nurse scientists who are expert in clinical research and
who assume leadership roles in nursing research and in shaping health care systems. The doctoral
program emphasizes development of the theoretical base of nursing.

The Yale School of Nursing subscribes to the tripartite mission of teaching, clinical practice,
and scholarship. All faculty members contribute to excellence in teaching. The Clinical Track is
designed to recognize clinical scholars who choose to place their primary emphasis on clinical
practice and scholarship. Traditional Track faculty place their primary emphasis on research and
scholarship. Traditional Track faculty also seek or have attained tenure.

B. Governance

1.   The Board of Permanent Officers

Faculty at the rank of professor who are appointed without limit of term, together with the President
and Provost, ex officiis, and the Dean of the School of Nursing, constitute the School’s Board of
Permanent Officers. This is the governing board of the School, and it is entrusted with matters of
policy and governance. The permanent officers may invite other faculty to attend meetings and
to vote on matters before the Board. By long standing policy, the Board of Permanent Officers
has offered to all faculty who hold the rank of associate professor with tenure the opportunity to
participate in Board activities, including voting in all matters before the Board except regarding
promotion and appointment to professor with tenure. In all meetings, action is taken by majority
vote of those present and eligible to vote.

2.	The Executive Committee

The Executive Committee is entrusted with matters of educational policy and serves in an advisory
capacity to the Board for other matters of policy and governance in the School of Nursing. The
Committee is chaired by the Dean, or the Dean’s designee, and it consists of the deputy, associate
and assistant deans, ex officiis, members of the Board of Permanent Officers, Clinical Track




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professors, four elected members of the faculty who hold rotating terms on the Committee, and
three students of the School who act as non-voting Committee members.

3.	The Appointments Committee

The Appointments Committee is chaired by the Dean and reviews and recommends all initial
appointments, reappointments and promotions to clinical, research, and traditional tracks,
including appointments and promotions to tenure. This includes appointments, reappointments,
and promotions to the ranks of assistant professor, associate professor, professor, associate research
scientist, research scientist and senior research scientist. The Committee consists of all faculty on
permanent appointment, all clinical track professors, two associate professors on term who are
elected by the faculty and two assistant professors on term also elected by the faculty. Clinical
Track professors, assistant professors on term, and associate professors on term do not vote on
appointments to tenure. Only committee members at or above the rank for which a candidate is
under consideration may vote on a given appointment.

C. Faculty Composition and Responsibilities

The School of Nursing seeks for its faculty individuals who can take on responsibility in teaching,
practice, research, and scholarship. These expectations apply to all full-time faculty regardless of the
division of their primary responsibilities among teaching, scholarship, clinical and administrative
responsibilities, and notwithstanding whether or not they are nurses.

It is the responsibility of the Appointments Committee to consider an individual’s contributions in
different areas in light of the responsibilities and the type of appointment held. Although the close
relationship among nursing practice, teaching, and scholarship may mean that a single activity
satisfies requirements for more than one aspect of faculty commitment, continued productivity
in teaching and scholarly work is essential for continued reappointment and promotion. Account
is taken of the individual’s willingness to seize opportunities to participate in several modes of
teaching and of the individual’s ability in each. The criteria for evaluating teaching depend on the
length of time the individual has been engaged in teaching and the level of appointment sought.

Faculty members are clinical experts as well as scholars in their fields of study. In addition to
serving patient needs, many faculty members engage in the practice of nursing for the purpose
of developing knowledge, demonstrating excellence in practice, establishing innovations to
improve patient care, and developing model environments for student education. Faculty members
are expected to be knowledgeable about the contemporary practical issues within their areas of
expertise. Many faculty hold joint appointments within a health care facility or organization and
engage in the regular practice of their identified specialty.


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The research tradition in the School of Nursing is the study of patient-care problems. Although
empirical research is the conventional expectation of University faculty, scholarship of other
kinds is also important, including original clinical abstraction, theoretical work not based on
new data, and analysis and synthesis of knowledge in other disciplines as they apply to nursing
and patient care.

D. Faculty Ranks

Faculty appointments in the School of Nursing are made in the Traditional Track and the Clinical
Track. Faculty at the assistant professor rank are not assigned to any track. Before consideration
for appointment or promotion to the rank of associate professor, individuals designate whether
they will progress in the Traditional Track or the Clinical Track. Faculty in any track at the rank
of associate professor may request a one-time only transfer of an appointment to another track,
subject to the following restrictions: transfer requests must be submitted by the end of the second
year of the first term of the initial appointment at the rank of associate professor, no transfer of
track will be permitted within two years of the expiration of the appointment, and such requests
must be reviewed and approved by the Appointments Committee.

Faculty Not Assigned to Track Appointments

1.   Assistant Professor (Junior Faculty Rank)

Qualifications for appointment or promotion to this rank are a combination of actual and potential
production as a teacher, scholar and clinician. Candidates for this rank must hold the appropriate
terminal degree.

Faculty Assigned to Traditional-Track Appointments

2.   Associate Professor with Term

This is normally the rank of promotion from assistant professor or the rank of initial appointment
for a person who has achieved excellence in teaching, clinical, and research activities, but who
has not yet fully demonstrated the distinction necessary for appointment to the rank of professor.
Associate professors with term must have demonstrated scholarly and teaching achievement and
promise strong enough to suggest qualification for tenure within five years. Distinction may be
demonstrated in publications and completed research. Candidates for this rank must hold the
appropriate terminal degree.




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Appointments to Tenure

Candidates for appointment or promotion to a tenure position would normally hold the rank
of professor or associate professor and have achieved high distinction in scholarship. Tenure
is a forward-looking decision. Therefore candidates for tenure are evaluated not only for their
accomplishments, but also for their commitment to the continuing development of new knowledge
in nursing science and to the education of the next generation of nurse-scholars, educators, and
clinicians. Contributions made to the intellectual life of the School of Nursing and to the health
of local, national, or international communities are important aspects of the tenure decision.

Pedagogical and clinical expertise and accomplishments are also considered, within the context
of the candidate’s training and scholarly work. Exceptionally effective teaching, an outstanding
contribution to the community’s health, or an outstanding contribution to the profession, while
given weight in the tenure decision, do not substitute for contributions to knowledge through
publications in the professional literature.

3.   Associate Professor with Tenure

Candidates for this rank will be expected to have published or to have had accepted for publication
a substantial work or body of scholarship that represents research undertaken since, and extending
well beyond the scope of, the dissertation. Associate professors with tenure must be reviewed
for promotion to professor within five years of their appointment to tenure. At any time after
seven years have passed from the date of appointment or promotion to associate professor with
tenure, the Provost, in consultation with the Dean, may recommend that individual directly to
the Corporation for promotion to professor. Candidates for this rank must hold the appropriate
terminal degree.

4.   Professor

Candidates for professor are expected to stand in competition with the foremost scholars and
practitioners in their professional fields throughout the academic world. Candidates for this rank
must hold the appropriate terminal degree.

Faculty Assigned to Clinical-Track Appointments

The Clinical Track is designed to recognize those faculty who place their emphases on clinical
scholarship and practice. Faculty whose endeavors are derived from or affect the clinical practice
setting and shape the health care system are eligible for consideration for appointment to the
Clinical Track.



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‘5. Associate Professor

After an appointment of at least three years as assistant professor, and after at least five years
of post-specialization clinical experience (degree and national certification in area of specialty
attained, when appropriate), full-time faculty members who have demonstrated exemplary teaching
skills, high-level patient care or administration thereof, and clinical scholarship are eligible for
consideration for associate professor in the Clinical Track. Candidates for this rank must hold
the appropriate terminal degree.

6.   Professor

Individuals who have held full-time faculty appointments at the rank of assistant professor or at a
higher rank, at Yale or at a comparable institution, are eligible for consideration for appointment
as professor in the Clinical Track. Candidates for professor in the Clinical Track are expected
to stand in competition with the foremost clinical and advanced practice scholars in similar
professional fields. They will have achieved the highest recognition of distinction as demonstrated
by publication record, completed clinical scholarship, clinical excellence, and professional and
academic awards.

7.   Research Track Appointments

Research appointments are available to persons holding the Ph.D. degree or having equivalent
training. Faculty in the Research Track who take on teaching assignments will be appointed as
lecturer annually by the Dean. The research track ranks are fully described in Section XV.B.

Other Faculty Appointments

The following appointments are non-tenure, made on an annual basis, and renewable.

8.   Lecturer

Appointment to the rank of lecturer is appropriate only for persons whose responsibilities include
regular teaching and who demonstrate clinical excellence and hold the appropriate terminal degree.
Appointments may be part- or full-time for up to one year and are renewable. Appointments are
made in accordance with the criteria and procedures described in Section IV.J, with the exception
that the length of lecturer appointments at the School of Nursing may be for less than one semester.

9.   Visiting Faculty

The School of Nursing appoints visiting faculty as designated in Section XVI.



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E.	Terms of Appointment

Length of time in rank for term appointments is determined in part by the availability of resources
and may be shorter than the standard three years for assistant professors. The cumulative total of
all term appointments for faculty in the Traditional Track may not exceed ten years. The School
of Nursing follows University policy regarding part-time appointments (see Section III.I), with
the exception that part-time appointments at the School of Nursing may be less than 50% time.

1.   Faculty Not Assigned to Track Appointments

Assistant Professor. The initial term in rank for an assistant professor is normally not less than
three years and may not exceed five years. This rank is renewable for one additional term. No
person may serve in the role of assistant professor in the School for more than seven years, except
for the extensions provided in Section III.F. The seven-year maximum also includes paid and
unpaid leaves which are granted for professional purposes.

2.	Traditional Track Appointments

Associate Professor. Initial appointment to the rank of associate professor is normally for a period
of three years and may be up to a period of five years. There may be only one reappointment,
and no person may serve in the rank of associate professor on term in the School for more than
seven years, except for the extensions provided in Section III.F.

3.	Clinical Track Appointments

a. Associate Professor. Appointments may be made for terms not to exceed five years and may
be renewed with no limit on the number of terms. Persons at these ranks are considered full-time
faculty.

b. Professor. The initial appointment and any subsequent reappointments may be made for
terms not to exceed five years and may be renewed with no limit on the number of terms.

F.   Procedures for Appointments and Promotions

Appointments and promotions follow in general the procedures outlined in Section III.K, with
modifications appropriate for the School of Nursing.

Recommendations for appointments and reappointments to all ranks except lecturer and visiting
appointments are made by the Appointments Committee to the Dean, who makes recommendations
to the Provost. Recommended appointments are reviewed by the Provost and, if approved,



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forwarded to the Corporation for final action. Appointments to the rank of lecturer and visiting
appointments are made by the Dean.

Recommendations for appointments to tenure are forwarded by the Board of Permanent Officers
to the Dean. The Dean’s recommendation is advanced to the Provost and reviewed by the School’s
Standing Advisory and Appointments Committee (SAAC) which is appointed and chaired by the
Provost. A recommendation for appointment to tenure is reviewed by the Provost and, if approved,
forwarded to the Corporation for final action.

G.	Coterminous Appointments

A faculty appointment in any rank or track may be coterminous with an appointment at another
affiliated institution, e.g., Yale-New Haven Hospital, the Veterans Affairs Connecticut Healthcare
System, or the Connecticut Mental Health Center. Coterminous appointments are so designated
at the time of appointment, reappointment, or promotion.

A coterminous appointment normally ends automatically upon termination of the other institutional
appointment, without any notice, grievance rights, or similar provisions otherwise described in
the Faculty Handbook.

H.	Courtesy Faculty

Courtesy faculty are generally individuals in the community or from other Yale departments
who actively participate in the School of Nursing’s educational or scholarly activities. They are
not normally remunerated for their participation. Eligibility for appointment, reappointment,
and promotion in these voluntary ranks requires active participation in programs at the School
of Nursing or at affiliated institutions. The School of Nursing uses the criteria for appointment
to academic rank as guidelines for determining the rank of courtesy faculty. These criteria may
include guidelines for the nature of required participation, such as the relative importance of
teaching and precepting students, scholarship, and participation in the School’s administrative
and other activities. Appointments and determination of the rank and length of the appointment
are the responsibility of the Dean.

1.	Clinical Instructor

Individuals who have completed clinical training and wish to be members of the courtesy faculty
will be eligible for this rank. Appointments are made for up to two years in length and are renewable.




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2.   Assistant Clinical Professor

This rank is for individuals who have achieved recognition at a high level of scholarship and made
contributions to academic life documented in at least one of the following ways: (1) publication
or substantial contribution to their respective disciplines; or (2) exemplary teaching activities
and well-recognized clinical expertise. Appointments are made for up to three years in length
and are renewable.

3.   Associate Clinical Professor

This rank is for individuals who have achieved recognition for their outstanding scholarship and
sustained contribution to academic life documented in at least one of the following ways: (1)
publication or substantial contribution to their respective disciplines; or (2) exemplary teaching
activities and well-recognized clinical expertise. Appointments are made for up to five years in
length and are renewable.

4.	Clinical Professor

This rank is reserved for individuals who have achieved national recognition for their exceptional
scholarship and sustained contribution to academic life documented in the following ways: (1)
publication or substantial contribution to their respective disciplines; or (2) exemplary teaching
activities and well-recognized clinical expertise. Appointments are made for up to five years in
length and are renewable.

I.   Leave Policy

The leave policy in the School of Nursing is generally consistent with that of the University (see
Section XVII), with the exception listed below. For more information on leaves, consult the Dean
of the School of Nursing.

Triennial Leave. In addition to associate professors and professors, in the School of Nursing,
assistant professors are eligible for the Triennial Leave of Absence. Faculty who hold coterminous
appointments are relieved of their academic and administrative responsibilities only.




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XV. Research Appointments: University-wide

A. General Policy

Research appointments are available to persons holding the Ph.D. or M.D. degree or having
equivalent training. There are three categories of faculty research ranks and two non-faculty
categories, namely postdoctoral appointees and visiting fellows. These are described below.
All research appointees are expected to be in residence or at Yale on a regular basis during the
period of their appointments. Exceptions require the approval of the Office of the Provost or the
appropriate professional school Dean.

Teaching is not required of any research appointee, but part-time teaching is permitted. Persons
who are asked to undertake such teaching should also be given a teaching appointment as a
lecturer or adjunct professor at the appropriate rank. In such circumstances an appropriate portion
of the salary may be paid from a teaching budget; however, teaching efforts must be conducted
in alignment with effort committed to and compensated by other University activities, and
compensation for teaching must be administered in compliance with University and sponsors’
effort reporting policies. In no case may any effort devoted to teaching be paid from an externally
sponsored project unless teaching is a specific requirement of the project.

B. Description of Research Faculty Ranks

Persons holding the ranks of associate research scientist/scholar, research scientist/scholar, or
senior research scientist/scholar are considered to be research faculty. In most cases they are
employees of the University, and if employed at least half-time, receive fringe benefits and
are eligible for membership in the Yale University Retirement Account Plan. In the School of
Medicine, however, some research faculty may instead be employees of the Veterans Affairs
Connecticut Healthcare System, the Yale-New Haven Hospital, the Howard Hughes Medical
Institute, or the John B. Pierce Laboratory, and fringe benefits may vary according to the source
of salary. Research faculty members who are so employed should consult with the Dean of the
School of Medicine concerning these matters.

In each of the research faculty ranks, appointments and compensation for faculty are conditioned
upon the availability of salary support from specified sources, including external research sponsors.
In some circumstances, when external funding is unavailable or has been reduced or interrupted, a
department may, at its discretion, provide internal funding support on a temporary basis. Reductions
in salary support will result in commensurate reductions in effort and compensation or, in the case




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of the absence of salary support, in termination of the appointment and compensation. In any case,
termination prior to the end of an appointment for lack of salary support requires 90 days’ notice.

The reappointment of persons holding research faculty appointments is not automatic. Schools
and departments are expected to make a careful evaluation of each candidate’s work and promise,
as well as of the programmatic needs of the school or department, before deciding whether or not
to recommend reappointment or promotion. Notice of non-reappointment for persons holding
full-time appointments will normally be given in writing according to the schedule indicated
under each research faculty rank description below, although failure to provide such notice does
not create any right to extension or reappointment.

In general, research faculty who are full-time employees of the University are eligible for most of
the benefits accorded to the ladder faculty, including the Scholarship Plan for Sons and Daughters
of the Faculty and Staff, the Mortgage Program, Child-Rearing Leave, and Caregivers Leave, but
excluding the teaching relief policy for faculty with teaching responsibilities and the associated
extension of appointment described in Section XVII.D. However, full-time research faculty are
eligible for the Parental Leave for Research Faculty described in Section XVII.D.5. Research
faculty have access to the same procedures as do the teaching faculty for reviewing a decision
not to reappoint or promote, unless the decision is related to the absence of salary support.

Full-time research faculty with the rank of research scientist/scholar or senior research scientist/
scholar may apply for sponsored projects as principal investigators provided that the faculty
member’s department or school has committed the necessary space and other support, including
salary support when necessary, for grant writing activities. Full-time research faculty with the
rank of associate research scientist/scholar generally do not serve as principal investigators
and may apply for sponsored projects as principal investigators only with the prior approval of
the department chair and the Dean (for professional schools) or the cognizant provost (for the
Faculty of Arts and Sciences) or their designees. Part-time research faculty similarly must have
permission from the Dean (for professional schools) or the cognizant provost (for the Faculty of
Arts and Sciences) in order to be principal investigators on sponsored projects.

Individual department faculties may invite research scientists and senior research scientists to
participate in faculty meetings. They may not vote on ladder faculty appointments, but they may,
if the department wishes, vote on research faculty appointments up to and including the rank they
hold, though they may not vote on reappointment to ranks equivalent to their own.




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1.   Associate Research Scientist/Scholar

This appointment is given to persons who are engaged in scholarly or scientific research in
association with a faculty member or as a member of a research group. Such persons will normally
have at least two years of research experience following a Ph.D. (or equivalent), will have
demonstrated professional ability in fields related to the work or program of the department
or area concerned, and will be expected to contribute to it as a colleague. The initial term of
appointment in this rank is normally one year and is renewable. There is no limit on the number
of terms to which an associate research scientist may be reappointed. However, reappointment
will depend on the continued need for the position, the availability of resources for the position,
and the performance of the individual. With prior approval of the Dean or cognizant provost,
an appointment or reappointment may be for a term of up to three years, conditional upon the
availability of salary support. In the Faculty of Arts and Sciences, nominations for this rank are
submitted by department chairs to the Office of Faculty Development and are reviewed by the
Steering Committee of the Faculty of Arts and Sciences. In the professional schools, appointments
to this rank must be approved by the Dean of the school in which the appointment is to be made
or the Dean’s designee, in accordance with school policies. Non-reappointment for reasons other
than the absence of salary support normally requires 90 days notice.

An associate research scientist/scholar must receive a professional development review at intervals of
no longer than three years. While the primary goal of such a review is to advise on the professional
development of the individual, the possibility of promotion should be considered at this time.

2.   Research Scientist/Scholar

This appointment is given to persons who are engaged in scholarly or scientific research as
advanced scholars or as senior members of a research group. The term of appointment in this rank
may be up to three years, conditional upon the availability of salary support, and is renewable in
successive terms of up to three years, again conditional upon the availability of salary support.
Nominations for the rank of research scientist/scholar are submitted for approval by the department
chair to the appropriate appointments committee. In the Faculty of Arts and Sciences, such
appointments are reviewed by the Steering Committee of the Faculty of Arts and Sciences; and
in the School of Medicine, by the Term Appointments and Promotions Committee. Procedures in
the other professional schools are described in the relevant portions of Sections V through XIV.
For research scientists who have served at least three years in that rank, non-reappointment for
reasons other than the absence of salary support normally requires six months’ notice.




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A research scientist/scholar must receive a professional development review at intervals of no
longer than five years. While the primary goal of such a review is to advise on the professional
development of the individual, the possibility of promotion should be considered at this time.

3.	Senior Research Scientist/Scholar

This appointment is appropriate for persons of high professional attainment, outstanding ability,
and critical importance to a major research program. The term of appointment in this rank may
be up to five years, conditional upon the availability of salary support, and is renewable in
successive terms of up to five years, again conditional upon the availability of salary support.
Nominations for this rank are submitted for approval by the department chair and sent to the
appropriate appointments committee. In the Faculty of Arts and Sciences these appointments are
reviewed by the Faculty of Arts and Sciences Steering Committee; in the School of Medicine, by
the Term Appointments and Promotions Committee. Procedures in the other professional schools
are described in the relevant portions of Sections V through XIV. For senior research scientists
who have served at least five years at that rank, non-reappointment for reasons other than the
absence of salary support requires one year’s notice.

4. Research Professor

Emeritus faculty members who plan to commit sponsor-paid effort as a principal investigator on
an externally-funded award may be eligible for this distinguished title. The term of appointment in
this rank may be three to five years (as necessary to be coterminous with awards) and is renewable
in successive terms of three to five years (as necessary to be coterminous with awards). The initial
appointment is conditioned upon a plan to submit proposal applications to external sponsors during
the term. There is no limit to the number of terms a faculty member may serve at this rank, but there
is no entitlement to reappointment. Reappointment is based on a number of factors including the
availability of University resources and the research productivity and performance of the individual.

In the Faculty of Arts and Sciences, this appointment is approved by the Faculty of Arts and Sci-
ences Steering Committee. In the School of Medicine, this appointment is approved by the Dean,
or the Dean’s designee. Procedures in the other professional schools are described in the relevant
portions of Sections V through XIV. In all cases, faculty must apply for principal investigator status
on an application basis and in accordance with Yale University Policy 1310 Principal Investigator
Eligibility Requirements on Sponsored Projects.




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C. Postdoctoral and Other Non-faculty Research Ranks

1.   Postdoctoral Appointees

Postdoctoral appointments afford recent Ph.D. (and equivalent advanced degree) recipients a
period in which to extend their education and professional training. Postdoctoral appointees
may be appointed by or affiliated with a department or other academic unit authorized to make
non- ladder academic appointments, such as the MacMillan Center and the Institution for Social
and Policy Studies. All postdoctoral appointees must have financial support at a level that meets
University standards. There are two categories of appointees: postdoctoral fellows and postdoctoral
associates. The difference in classification arises from the requirements of the funding source.
Appointees funded from Yale-administered research grants, contracts, or other University sources
in order to provide services related to the supported research are postdoctoral associates; they are
employees of the University even though they are considered trainees.

Postdoctoral fellows are also trainees, but they are not Yale employees. They may be funded either
from training grants to the University or from funding directly awarded to the trainee from an
outside source. The postdoctoral fellow classification is used if the funding source requires that
the candidate not be an employee of the University. In nearly all other circumstances, appointees
are classified as postdoctoral associates. The cumulative time an individual may spend in the two
ranks should generally not exceed four years. Extensions to a fifth or sixth year may be granted
in exceptional cases. In such cases, the Dean would grant extensions to appointments in the
professional schools, and the cognizant provost would grant such extensions in the Faculty of
Arts and Sciences. The total number of years of postdoctoral appointment may not exceed six.

The terms of appointment and procedures for postdoctoral appointees are set forth in University
Policies for Postdoctoral Appointments available on the Office for Postdoctoral Affairs Web site.
Each new postdoctoral appointment is to be made in writing by a letter from the supervising
faculty member describing the details of the appointment. Approval must be obtained from
the department chair and from the Dean or Provost or their designees. The supervising faculty
member is expected to be a mentor to the postdoctoral appointee. He or she must provide training,
supervision, and clear and timely annual written evaluations of, or progress reports concerning,
the postdoctoral appointee’s activities. Mentors have the responsibility to provide an educational
postdoctoral experience that also seeks to advance the career of the postdoctoral appointee.

The postdoctoral appointee is responsible for: (i) fulfillment of specific research and training
objectives; (ii) conformity with ethical research standards of the University; (iii) compliance with




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all relevant federal, state and municipal regulations that relate to human subjects research, the
care and use of laboratory animals, and the use of hazardous materials; (iv) compliance with all
relevant University policies; and (v) appropriate recording and documentation of research results.

If the appointee will be engaged in other specific activities, such as teaching, these expectations
should be stated in the letter of appointment or in a subsequent written communication.

The policies that govern eligibility of postdoctoral appointees to teach are determined primarily
by the funding agency that supports the postdoctoral appointee. These agencies include the federal
government and other outside agencies as well as Yale departments and programs. Specific policies
concerning allowable teaching and other non-research related activities, outside employment,
tax implications of stipends, and compensation in addition to the stipend are outlined in detail
in University Policies for Postdoctoral Appointments available on the Office for Postdoctoral
Affairs Web site.

A Grievance Procedure for Postdoctoral Appointees is available for individuals who believe
they have been treated in a manner inconsistent with University policies, or that they have been
discriminated against or have been inappropriately disciplined for misconduct. This procedure
can be found in University Policies for Postdoctoral Appointments in the Office for Postdoctoral
Affairs. Complaints of academic fraud or scientific misconduct must be brought under the “Policies
and Procedures for Dealing with Allegations of Academic Fraud at Yale University.” Benefits for
postdoctoral appointees are described in Section XVIII.D.3.

2.    Postgraduate Fellows and Associates

Postgraduate appointments may be made under certain circumstances to invite individuals who
have completed a terminal degree other than a doctorate to come to Yale primarily for advanced
training. Their relationship to Yale is comparable to that of postdoctoral appointees. All postgraduate
appointees must have a designated faculty supervisor and clearly defined training objectives. If
the postgraduate appointee is to be compensated by the University, the appointment will be as a
postgraduate associate. All are short-term appointments, with a maximum term of one year, with
a possibility of a one-year extension under special circumstances. Appointments of postgraduate
fellows and associates are processed through the Office for Postdoctoral Affairs.

3.    Visiting Fellow

The appointment of visiting fellow is given to individuals who hold the Ph.D., who are established
scholars with equivalent training, or who are accomplished individuals such as government officials,




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journalists, and writers, whose associations with the University and whose regular and significant
presence at Yale for a limited period of time will be of mutual benefit. This appointment will
only be given to individuals who need such formal affiliation to carry out their research or other
planned activities at Yale. This appointment incorporates a former and very similar non-faculty
appointment called research affiliate. Appointment at this rank requires review by the Office for
Postdoctoral Affairs and approval of the cognizant provost in the Faculty of Arts and Sciences
or of the Dean in one of the professional schools, depending on the location of the appointment.
Visiting fellows may normally be appointed for one semester or up to one year, with the possibility
of renewal for an additional year. Any further appointment requires approval by the member of
the Office of the Provost responsible for the applicable department or school. Visiting fellows are
not members of the faculty, and no teaching or work for the University is required or permitted.
Visiting fellows are, however, eligible for certain library borrowing privileges, and the department
may apply for a Yale e-mail account when it is necessary for the planned activities of the fellow.
Appointees are not considered employees of Yale and do not receive Yale salary or fringe benefits.
They must show evidence of sufficient financial support and adequate medical insurance for the
period of time they hold the appointment.

4.   Laboratory Associate

The appointment of Laboratory Associate is given to individuals who hold the Ph.D. or have
equivalent training, who are engaged in scholarly or scientific research in association with a
faculty member or member of a research group, and whose work requires that they be present
on campus and have access to Yale laboratory facilities. This appointment will only be given to
individuals who need formal affiliation to carry out such collaborative activities while at Yale.
Appointees will normally have at least two years of research experience following the Ph.D. (or
equivalent) and will have demonstrated a high professional ability in fields related to the work
or program in the area concerned. Appointment as Laboratory Associate requires review by the
Office for Postdoctoral Affairs and approval of the cognizant provost in the Faculty of Arts and
Sciences or the Dean in one of the professional schools. All applicable research compliance and
safety training as stipulated by the University must be completed before an appointee enters
the lab. Laboratory Associates are normally appointed for the actual duration of the on-campus
collaborative activity, up to a maximum of one year. Any further appointment requires the approval
of the member of the Office of the Provost who oversees the department or school. The appointee
is not paid from Yale-administered funds, is not considered an employee of Yale, and does not
receive fringe benefits.




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Candidates for this assignment must provide evidence of sufficient financial support and adequate
medical insurance, which must be maintained for the full term of the appointment.




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XVI. Visiting Appointments: University-wide

A. Visiting Teaching Faculty

Faculty from other academic institutions are often invited to Yale to teach for a semester or an
academic year, and on rare occasions for more than one year. Visiting faculty members on salaried
appointments for one semester or longer are eligible for health benefits and contributions toward
retirement (see Section XVIII.D.2). Persons who hold academic teaching appointments in an
established college or university and who are appointed to a visiting teaching position at Yale
will be given a title at Yale which is the same or equivalent to the title they hold at their home
institutions. Except in the School of Architecture, visiting faculty who concurrently do not hold
regular professional rank at another institution will be appointed as lecturers.

The University seldom makes appointments of visiting faculty who during their Yale appointments
hold full-time teaching appointments at other institutions. Where a special situation requires the
appointment of a part-time visitor, including for a period of less than one term, approval of the
Yale Provost and the dean or provost of the visitor’s institution is required before the appointment
may be offered.

B. Visiting Research Faculty

This category is reserved for persons affiliated with other institutions whose in-residence participation
for limited periods in sponsored research administered by Yale will be of mutual benefit. Such
persons will normally have at least two years of research experience following the Ph.D., M.D.
or equivalent degree. The appointee’s salary is normally paid from Yale-administered grant or
contract funds. The salary of a visiting research faculty member will not exceed the salary offered
by that faculty member’s home institution. The appointment title will be comparable to that held
at the individual’s home institution, with the prefix “visiting.” Visiting research faculty must
comply with all University research and training requirements.

In the Faculty of Arts and Sciences, visiting research scientist/scholar appointments must be
approved by the Office of the Provost. In the professional schools, those appointments must be
approved by the Dean.

C. Visiting Fellow

This title is given to established scholars and other distinguished individuals – for example,
faculty on leave from other institutions, government officials, journalists, and writers – whose
association with the University and whose residence in the community for a limited period will



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be of mutual benefit. No teaching or work for the University is required, and visiting fellows are
neither members of the faculty nor Yale employees. Refer to Section XV.C.3 for a full description
of visiting fellow.




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XVII. Leaves of Absence: University-wide

Yale’s commitment to support the research interests and professional development of its faculty
is reflected in the opportunities for leave that are described below. All research leaves with salary
paid from University funds and most leaves without salary paid from University funds are granted
by and under the authority of the Corporation for purposes of research or to allow faculty to
benefit from professional opportunities that necessitate a short time away from their normal duties.

In some cases, the University continues to pay the faculty member’s full or partial salary or
fringe benefits from Yale funds (including General Appropriations, endowments, or sponsored
projects) during the period of leave. In other cases, the full or partial salary may be covered by
an outside fellowship or another institution, as, for example, when the faculty member holds
a visiting appointment elsewhere. Any leave that is fully or partially funded from University
funds or from externally sponsored funds awarded to the University is referred to in this section
as a paid leave. An unpaid leave is any leave during which the faculty member’s salary is fully
funded by an outside source—such as a fellowship paid directly to the faculty member or a
visiting position at another university—or during which the faculty member otherwise receives
no salary from University funds.

Faculty members who are eligible for leave with salary are nevertheless encouraged to help finance
their leaves from sources outside the University. Faculty should consult both the Office of Grant
and Contract Administration and Corporate and Foundation Relations in the Development Office
for help in identifying agencies or foundations appropriate to the purpose of the leave.

Some leaves without salary are granted for personal reasons – such as medical disability or child
rearing – or for public service not directly related to academic development. All policy questions
concerning leaves in the Faculty of Arts and Sciences should be referred to the Office of the
Provost. Questions concerning leaves in a professional school, several of which have their own
policies, should be referred to the Dean of that school.

A. General Conditions Governing All Leaves

1. Leave is a privilege, not a right. Eligibility for a leave according to the policies spelled out
below does not in itself constitute entitlement to that leave. No leave will be granted without
the approval of the Provost and the applicable department or program chair (in the Faculty of
Arts and Sciences) or Dean (in the professional schools). A leave generally will be granted only
if the Provost and the department or program chair, or Dean, are assured that the leave will not
have adverse effects on the department’s, program’s or school’s teaching, research program,



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or clinical or administrative responsibilities. A significant exception to this condition exists in
that Morse Fellowships, Junior Faculty Fellowships, and Associate Professor Leaves – where
the benefit to the faculty member is paramount – will not be disallowed or delayed by reason of
adverse effect on the department, program, or school. A faculty member may be denied a leave
if, during the period since the initial appointment or the prior leave, he or she has not adequately
met his or her responsibilities to teaching, research, clinical work, and administrative service.
Faculty members are expected to remain on campus and to teach during all semesters when not
on an approved leave; scheduling teaching overloads during one semester to create a de facto
leave during another semester is not allowed without prior approval of the Provost. University
leave policies incorporate the rights provided to employees under both federal and state Family
Medical Leave Acts.

2. A faculty member requesting a leave must submit a formal application in accordance with the
regulations and deadlines established by his or her particular school. All applications for a research
leave should include a full description of the faculty member’s plans for that leave.

3. Faculty members who are granted leave will be relieved of all teaching and administrative
duties, except that ordinarily they will be required to continue supervising dissertations.

4. The period of a full-year leave is defined as the academic year during which faculty members
are otherwise expected to meet their institutional responsibilities. In the case of a semester’s leave,
the period of leave is one-half of the academic year. Leave periods in the Schools of Medicine
and Nursing are exceptions to this rule. The normal requirement that a full-year leave be taken
within a single academic year may be altered occasionally to permit such a leave to be taken
during successive terms in the same calendar year.

5. The maximum period of a leave is one academic year, whether the leave is taken within a single
academic year or divided between two successive academic years. One full year of teaching in
residence must precede any leave, paid or unpaid. The normal expectation is that a faculty member
who has had a leave of any kind will return to Yale for a full year of teaching. This expectation
does not apply to a tenured faculty member who retires at the end of a scheduled leave or a
non-tenured faculty member who has been granted permission to take a leave for which he or
she is eligible in the final year of appointment.

6. In special circumstances and with specific approval by the Corporation, a second consecutive
leave may be granted, typically in connection with a leave for public or military service such that
the total period of absence exceeds one academic year (see Section XVII.C). The total period
of consecutive leaves is extended beyond two academic years only in the most exceptional



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circumstances, such as when required by law or for a public service leave deemed to be in the
national interest.

7. No member of a University faculty may be on leave, whether paid or unpaid, more than four
semesters in a seven-year period unless required by law. Absence from the University in excess
of this limit is inconsistent with the teaching and University service expectations of a full-time
member of the faculty. Exceptions to this policy will be considered when a faculty member has
had one or more semesters of leave for reasons such as child rearing, caregiving, or public service,
including leaves for military service. Teaching relief for child rearing or for a short-term medical
disability is not considered a leave.

8. The calculation of the terms of appointment, maximum time in a particular rank, and maximum
time in the combined non-tenure ladder ranks includes all leaves, with or without Yale salary,
except Child-Rearing Leaves, Caregivers Leaves of at least six weeks, and leaves granted for
public service. For these leaves and when a member of the faculty experiences a short-term medical
disability of at least six weeks or has been granted teaching relief for child rearing, extensions in
the terms of appointment and time in rank will typically also be granted. See Section XVII.D for
policies regarding these leaves and teaching relief for child rearing. See Section III.F for policies
governing maximum time in non-tenure ladder ranks and Section XXI.E for policies governing
short-term medical disability.

9. With the agreement of the Provost, faculty members may change from one leave option to
another provided that the criteria for the type of leave which is to be taken are met, and that the
change is effective for the entire period (a semester or an academic year) for which the leave is
taken.

10. Leaves of absence with reduced Yale salary or without Yale salary affect certain fringe benefits.
Members of the faculty who are on leave with less than full salary paid by Yale should check
with the Benefits Office for further information.

11. Members of the faculty who are not eligible for a paid leave and who are awarded an outside
fellowship may apply for an unpaid leave, but they will normally not be eligible to receive
supplemental salary from the University. See Section XVII.C for policies governing unpaid leaves.

B. Leaves with Salary from University Funds

1.   General

a.	Eligibility. On recommendation of the department chair in the Faculty of Arts and Sciences



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and of the Dean in the professional schools, full-time faculty may be awarded a leave of absence
with salary according to the policies described below. Eligibility for paid leaves varies from
school to school. Faculty members should consult the Dean for information about policies
governing eligibility for paid leave in their particular school. The normal expectation is that a
full year of teaching in residence must follow any leave. Faculty members who intend to resign
from the University at the end of a leave are not eligible for paid leave during that year, even if
they meet other eligibility requirements. However, faculty members who retire or whose terms
of appointment expire at the end of an academic year are eligible for paid leave during that year
if they meet the other eligibility requirements.

b. Salary and Benefits. The amount of salary and benefits received by a faculty member on
a paid leave depends upon the type of leave. When a faculty member who is eligible for a paid
leave is successful in obtaining partial or full outside support, the University will continue all
benefits to which the faculty member is normally entitled. When the University contributes any
part of salary or benefits, the leave is considered a paid leave.

c.	Employment during Leave. Faculty members who are granted paid leave under any of the
provisions of this section are not permitted to teach or to engage in any remunerative employment
during the period of the leave, except as provided under Section XVII.B.3 for Sabbatical Leave of
Absence and as permitted for full-time faculty not on leave under policies on outside employment
(see Section XX.E).

2.	Triennial Leaves of Absence

a.	Eligibility. Eligibility for a Triennial Leave of Absence begins after five semesters of teaching
at Yale at the rank of associate professor (both term and without term) or professor, provided
that five semesters of full-time teaching in residence have elapsed since the faculty member’s
previous paid leave. For a variation of this policy in the School of Nursing, see Section XIV.I.
Thereafter, the faculty member must complete an additional five semesters of full-time teaching
at Yale subsequent to the prior Triennial Leave before he or she becomes eligible for another.
In the School of Medicine, two and one-half years of full-time faculty activity is considered the
equivalent of five semesters of full- time teaching at Yale. Eligibility for a Triennial Leave of
Absence in the School of Medicine begins after two and one-half years of full-time faculty activity
at the rank of associate professor or professor. Thereafter, the faculty member must complete an
additional two and one-half years of full-time activity at Yale subsequent to the prior Triennial
Leave before he or she becomes eligible for another. Generally, accrued full-time teaching or
activity in excess of five semesters or (in the School of Medicine) two and one-half years may




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not be carried forward beyond one Triennial Leave of Absence in order to meet the eligibility
threshold for another, except with permission of the Provost based on major administrative service.

b. Length and Salary. A Triennial Leave of Absence is a one-semester leave during which a
faculty member receives full salary. Except for leaves granted for child care, caregiving, or public
service, a Triennial Leave may not be combined with any other form of leave, paid or unpaid,
to make up a leave of absence for a full academic year. In the School of Medicine, a Triennial
Leave may last up to four months, during which time a faculty member receives full salary.

c.	Special Triennial Leave. With the approval of the chair of the department and the Provost,
a faculty member who is eligible for a Triennial Leave of Absence and who succeeds in winning
outside fellowship support for a period extending beyond one semester may be granted instead a
Special Triennial Leave of a full year. Yale’s contribution to such Special Triennial Leaves will
not exceed one-half of the academic year salary at the time of the leave, with the remainder up
to full salary to come from the source originating outside the University. Yale’s contribution to
salary will be paid over the full leave period, and the full year will count as paid leave. University
contributions to benefits will continue, with contributions to retirement accounts based upon the
amount of salary paid by Yale.

3.	Sabbatical Leaves of Absence

a.	Eligibility. Faculty members shall first become eligible for a Sabbatical Leave of Absence
after having taught at Yale or elsewhere at the rank of associate professor or professor for four
years without a paid leave of absence. Thereafter they shall be eligible after having taught in those
ranks at Yale for six years without a paid leave of absence. In the School of Medicine, faculty
members shall first become eligible for a Sabbatical Leave of Absence after having taught at Yale
at the rank of associate professor or professor for two years. Thereafter they shall be eligible
after having taught in those ranks at Yale for six full years from the end of their previous leave
of absence.

b. Length and Salary. A Sabbatical Leave may be for either one semester at full salary or a
full year at half salary. In the latter case, an exception will be considered to the general rule that
employment may not be undertaken by a faculty member while on leave, and the faculty member
may be permitted to supplement his or her Yale salary, up to full approved salary, from sources
originating outside the University. A one-semester Sabbatical Leave of Absence at full salary may
be combined with a one-semester leave of absence without salary to make up a full year’s leave.
In the School of Medicine, a Sabbatical Leave of Absence may be up to one semester at full salary
or up to a full year at half salary. Although it may start or end in mid-year, faculty members do



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not become eligible for a subsequent Sabbatical Leave of Absence until they have taught at Yale
for six full years from the end of the academic year in which their previous Sabbatical Leave was
taken.

4.	Senior Faculty Fellowships

a.	Eligibility. Faculty members in all schools except Medicine (see Section XII.N) shall first
become eligible for a Senior Faculty Fellowship after having taught at Yale or elsewhere at the
rank of associate professor or professor for six years without a paid leave of absence. Thereafter
they shall be eligible after having taught in those ranks at Yale for six years without a paid leave
of absence.

b. Length and Salary. A faculty member awarded a Senior Faculty Fellowship is granted a full
year’s leave. The University will fund this leave at a level equal to the amount halfway between
the base pay for the rank held and the individual’s approved base salary. Faculty on Senior Faculty
Fellowships may accept salary funding from sources originating outside of the University, provided
that the purpose of that funding is consistent with the purpose of the leave. Faculty may also
continue to receive project support from external sponsors during a Senior Faculty Fellowship.
Salary may be charged to the sponsored project during the leave; however, the effort devoted
must, at a minimum, be commensurate with the salary charged. Under no circumstances may a
faculty member on a Senior Faculty Fellowship aggregate more than his or her approved base
salary. Faculty members may not undertake outside employment while on this leave.

5.	Special Leaves and Fellowships for Teaching Faculty in the Faculty of Arts and
   Sciences

a.    Morse Fellowships (Humanities) and Junior Faculty Fellowships (Social Sciences and
Natural Sciences). These fellowships are intended to provide time for research and writing at a
crucial point in the careers of recently appointed scholars at the rank of assistant professor. The
fellowships pay full salary and the University contributions to fringe benefits.

Assistant professors who have had no leave of any kind while at Yale are eligible to hold Morse or
Junior Faculty Fellowships in the second, third, or fourth year of teaching at that rank at Yale. The
fellowships may be awarded to assistant professors who present, during the fall of the previous
academic year, a research proposal that is approved by the department chair and the cognizant
dean (the Dean of Yale College, the Dean of the Graduate School, or the Dean of Engineering
& Applied Science).




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The holder of a Morse Fellowship or a Junior Faculty Fellowship is relieved of all duties to the
University for the period of the fellowship. Each fellowship holder is expected to devote full-time
effort to the proposed project.

A faculty member awarded either a Morse or Junior Faculty Fellowship must return to Yale after
that fellowship for a full year of full-time teaching.

b. Associate Professor Leave. Assistant professors in the Faculty of Arts and Sciences who are
promoted to the rank of associate professor on term are eligible for an Associate Professor Leave,
a full year’s leave at full salary, provided that two semesters of full-time teaching in residence
have elapsed since their last paid leave. Faculty members appointed to Yale at the rank of associate
professor on term are eligible for the Associate Professor Leave in the second, third, or fourth
year of appointment. These leaves may be awarded to associate professors who present, during
the fall of the previous academic year, a research proposal that is approved by the department
chair and the cognizant dean (the Dean of Yale College, the Dean of the Graduate School, or the
Dean of Engineering & Applied Science). A faculty member who is awarded such a leave must
return to Yale for a full year of full-time teaching.

c. Professional Development Leave. Members of the full-time non-ladder teaching faculty in
the Faculty of Arts and Sciences may apply for a limited number of one-semester Professional
Development Leaves. While on leave they receive full salary and benefits and are relieved of
teaching and administrative responsibilities. To be eligible, individuals must have served as
full-time teachers in the Faculty of Arts and Sciences for at least three years and must hold
multi-year appointments that extend through the year following the proposed leave. A faculty
member awarded such a leave must return to Yale for a year of full-time teaching. At least six
years of full-time teaching at Yale must be completed before an individual who has been awarded
a leave becomes eligible for another.

Lecturers, Senior Lecturers, and Assistant, Associate, and full Professors Adjunct who are
eligible may submit a written proposal, which must be supported by a department or program, for
review by the Steering Committee of the Faculty of Arts and Sciences. The Steering Committee
will judge proposals on the basis of quality and feasibility and on the likelihood that the completed
project would enhance the teaching program of the department or program and advance the
professional development of the individual.

Lectors, Senior Lectors, and Senior Lectors II who are eligible may submit a written proposal,
which must be supported by a department or program, for review by the Language Study Committee.
The Committee will judge proposals on the basis of quality and feasibility and on the likelihood



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that the completed project would enhance the language teaching program of the department or
program as well as advance the professional development of the individual. Those proposals
reviewed favorably by the Language Study Committee will be forwarded for review by the
Steering Committee of the Faculty of Arts and Sciences, which will judge proposals on the basis
of the same criteria. All awards of Professional Development Leaves are made by the Steering
Committee of the Faculty of Arts and Sciences.

d.	Outside Funding. Faculty members who are eligible for any paid leave are encouraged to
seek support from sources outside the University. If a member of the Faculty of Arts and Sciences
who has been granted a paid leave is successful in obtaining from outside sources any portion
of the salary that he or she is eligible to receive from Yale for the term of that leave, one half of
the resulting salary savings to the University, up to a total of $25,000, will be used to create an
individual research account that may fund any legitimate research expenses.

C. Leaves without Salary from University Funds

1.    General

Faculty who are on appointments of three years or more and who have taught at Yale for at least
one year are eligible for a one-semester or full year leave of absence without salary. Such a leave
is granted on recommendation of the department chair in the Faculty of Arts and Sciences or of
the Dean in one of the professional schools, and with the approval of the Provost. Semesters spent
on leave without salary do not count as years of teaching at Yale in determining eligibility for
subsequent paid leaves. Faculty on leave of absence without salary cannot receive salary support
from University-administered funds.

2.    Public Service and Military Service

With the approval of the Provost, leaves may be granted to faculty for military service or to serve
the public interest at a local, state, national, or international level. Such leaves are granted for
either one semester or one year. Upon petition, recommendation by the Provost, and a special
vote by the Corporation, a Public Service Leave or a Military Service Leave may be extended
for up to a total of two years. Only in the most exceptional circumstances, such as when required
by law, e.g. for military service, or for public service deemed to be in the national interest, can
such a leave be extended beyond two academic years.

3.    Benefits during a Leave

See Section XVIII.D for a more complete description of the fringe benefit plans that follow.



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a. Health, Dental, and Group Life Insurance. Faculty on an unpaid leave of absence are
responsible for their share, if any, of health, dental, and group life insurance costs. Yale will pay
its share for the period of the leave. Faculty members who wish to maintain health, dental, and
group life insurance coverage should contact the Benefits Office to arrange for prior payment of
the individual’s contribution.

b. Disability Insurance. For faculty members on unpaid leaves of absence, the University will
continue to provide, at no cost to the individual, insurance as partial protection against loss of
income and retirement benefits resulting from long-term disability.

c. Retirement Annuities. Both faculty and University contributions to retirement accounts are
suspended during an unpaid leave of absence.

d.	Scholarship Plan for Sons and Daughters of the Faculty and Staff. During an unpaid leave,
a faculty member’s children are not eligible to receive scholarship awards under the University’s
Scholarship Plan for Sons and Daughters. An unpaid leave does not count as a disruption of
continuous University employment, but time spent on unpaid leave with outside employment
does not count toward the six years of continuous full-time service that are required for eligibility
in the Scholarship Plan.

e. Payroll Deductions to Third Parties. Faculty on unpaid leave should make arrangements
with the appropriate office to maintain or discontinue, as desired, payments normally made by
payroll deductions to third parties, such as the Yale Credit Union, the Yale Parking Service, and
banks participating in the University Mortgage Program.

f. Tuition Benefit. Faculty on unpaid leave and their spouses or civil union partners will
continue to be eligible for tuition benefits on the same terms as those for faculty not on leave.

D.	Child-Rearing Leaves, Caregivers Leaves, and Maternity Policies

Child-rearing policies in the School of Medicine are described on its Office for Faculty Affairs
Web site. The policies below apply in the rest of the University’s Schools.

1.	Child-Rearing Leaves

A member of the faculty who bears or adopts a child or whose spouse or civil union partner
bears or adopts a child will be granted upon request an unpaid Child-Rearing Leave for up to one
semester occurring within the first year after the birth or adoption for the purpose of the child’s
care. General policies regarding the effect of unpaid leaves upon salary and benefits (see Section



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XVII.C.3) apply to these leaves, but policies regarding the effect of unpaid leaves upon eligibility
for other leaves do not apply. For example, a semester of Child-Rearing Leave does not count as
one of the terms of full-time teaching required between paid leaves. See Section XVII.D.7 for
policies regarding the effect of Child-Rearing Leaves on terms of appointment and time in rank.

2.	Caregivers Leaves

As delineated by federal and state laws concerning family and medical leaves, a member of the
faculty may take an unpaid leave of absence to care for a seriously ill spouse, parent (natural,
foster, adoptive, stepparent, or legal guardian), parent of the faculty member’s spouse, or child
(natural, adopted, foster, stepchild, or legal ward) who is under 18 years of age or, if older, is
unable to care for him or herself because of serious illness for up to sixteen weeks in year one
and twelve weeks in year two in any two-year period. Except in cases of emergency, two weeks’
notice is required, and all requests must be accompanied by written notice from a physician or
other licensed health care provider verifying the need for a leave and the probable duration. Serious
illness is considered to be a disabling physical or mental condition that requires in-patient care
in a hospital or licensed nursing facility or continuing outpatient care requiring treatment by a
licensed health care provider. During the period of this leave, the University will continue to pay
its share of health and any noncontributory insurance premiums for the caregiver on leave. An
employee who has authorized payroll deductions for benefits must make arrangements with the
Benefits Office to make those payments in order to continue coverage. The time available for a
Caregiver’s Leave is reduced by the amount of time during that same two-year period when the
faculty member has been on a Child-Rearing Leave or has been relieved from teaching under the
policies governing maternity and short-term medical disability.

3.	Teaching Relief for Child Rearing for Ladder Faculty

A full-time member of the ladder faculty who bears a child or adopts a child under the age of six
or whose spouse or civil union partner bears a child or adopts a child under the age of six will
be relieved of teaching duties, without loss of salary or benefits, for the whole of an academic
semester occurring within the first year after the birth or adoption, for the purpose of the child’s
care. Any other administrative and departmental responsibilities should be consistent with the
purpose of the teaching relief. To qualify for this relief the faculty member must be a primary
caregiver throughout the period of relief: caring for the child during normal working hours, while
the other parent, if any, is employed at least half time. Should both parents be full-time members
of the Yale ladder faculty they may choose to divide the relief, each being granted one semester
of relief from one half of the teaching responsibilities. Alternatively, one parent could elect relief




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from one half of the teaching responsibilities for two semesters. Should one parent be a full-time
member of the ladder faculty and the other a full-time member of the research or non-ladder
teaching faculty with a multi-year appointment, they may choose to divide the leave or relief from
teaching as applicable to their respective appointments. Fully-paid teaching relief is available
only once for each birth event or adoption. Teaching relief for child rearing is not considered a
leave of absence. See Section XVII.D.7 for policies regarding the effect of the teaching relief on
terms of appointment and time in rank, and see Section XXI.E for policies regarding short-term
medical disability.

4.	Teaching Relief for Child Rearing for Non-Ladder Teaching Faculty

A full-time member of the non-ladder teaching faculty who holds a multi-year appointment that
extends through the semester in question and who bears a child or adopts a child under the age
of six, or whose spouse or civil union partner bears a child or adopts a child under the age of six,
will be relieved of teaching duties, without loss of salary or benefits, for up to eight weeks that
include the birth or adoption, for the purpose of the child’s care. Eligibility for this relief ends
eight weeks after the birth or adoption. To qualify for this relief the faculty member must be a
primary caregiver throughout the period of relief: caring for the child during normal working
hours, while the other parent, if any, is employed at least half time. Should both parents be
full-time members of the Yale ladder or non-ladder teaching faculty they may choose to divide
the relief, each being granted one half of their respective teaching relief. Fully-paid teaching
relief is available only once for each birth event or adoption. Teaching relief for child rearing is
not considered a leave of absence.

5.   Parental Leave for Research Faculty

A benefits-eligible member of the FAS research faculty who holds a multi-year appointment or
who has held a continuous appointment at his or her rank for more than one year and who bears
a child or adopts a child under the age of six, or whose spouse or civil union partner bears or
adopts a child under the age of six will be granted, upon request, a Parental Leave for Research
Faculty of up to eight weeks. Compensation will reflect the effort percentage of the appointment
prior to beginning the leave. An option will also be available for an additional eight weeks of
part-time status with pay commensurate with the percentage of work effort. The research faculty
member’s current source of funding will be used to support this leave, if allowable under the
policies of the funding agency(s).

The Parental Leave for Research Faculty may commence at any time from two weeks before
the expected time of delivery or adoption until the end of the first year after birth or adoption. If



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both parents of a newborn or newly adopted child are full-time research faculty, these two faculty
members may choose to share the eight-week period of paid Parental Leave for Research Faculty
or the option of an additional eight weeks of paid part-time status with pay commensurate with
the percentage of effort.

During the Parental Leave for Research Faculty, the faculty member will continue to receive her
or his usual pay and fringe benefits. Upon return from leave, the faculty member is entitled to
reinstatement to the position held prior to going on leave, or to one substantially similar, with no
loss of seniority benefits or other privileges of employment.

6.	Timing and Arrangements

In the case of Child-Rearing Leaves, Caregivers Leaves, or teaching relief granted for child
rearing or for short-term medical disability, the faculty member is expected to discuss as early as
possible with the chair of the department or the Dean of the School his or her anticipated teaching
and administrative responsibilities before and after the leave of absence or relief from teaching.
The faculty member and the chair or Dean should agree upon a schedule for the year that will
facilitate the carrying out of as many non-teaching responsibilities as are practicable under the
circumstances, so as to minimize the impact of the faculty member’s absence on the curriculum
and administration of the department or school. In such cases, the chair of the department or
Dean of the school, in consultation with the Office of the Provost, will make such arrangements
as are necessary and appropriate with regard to covering the teaching and other responsibilities,
including canceling an affected course or drawing upon funds from the Dean of the school or
the Office of the Provost to employ a substitute instructor. See Section XVII.D.7 for policies
regarding extension of appointment.

7.	Extensions of Appointment

Throughout the University, any full-time, non-tenured member of the ladder faculty holding an
appointment of three years or more who is granted a Caregiver’s Leave of at least six weeks
will typically receive an extension of his or her current appointment and the maximum time in
that rank and in the combined non-tenure ranks. This extension is normally for six months. Any
full-time member of the ladder faculty who is granted a Child-Rearing Leave or who is granted
relief from teaching for child rearing, or who bears a child or experiences any short-term med-
ical disability as described in Section XXI.E of at least six weeks at any time of the year, will
typically receive an extension of his or her current appointment and the maximum time both in
that rank and in the combined non-tenure ranks. This extension is normally for two semesters.
If an extension granted for teaching relief for child rearing or for a Child-Rearing Leave has



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been divided between two members of the ladder faculty, each will be granted a one-semester
extension of appointment and time in the non-tenure ranks. A faculty member may be granted
up to two extensions for child rearing, thereby extending his or her appointment and time in the
non-tenure ladder ranks for a maximum of two years (see Section III.F). Faculty who are no
longer eligible for reappointment or promotion are not eligible for an extension due to any of the
leaves or teaching relief described above.




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XVIII.  Faculty Compensation, Benefits, and Services

Faculty members receive salaries as compensation for their contributions to the University in
the form of teaching, research, and University service. Salaries are set on an annual basis, but
increases are not automatic. The annual salaries of members of the faculty are normally adjusted
for the ensuing academic year each July 1. Salary adjustments reflect a variety of factors, including
consideration of the level of activity and quality of individual performance in teaching and
research; contributions to the University community; competitive salaries in particular fields;
budgetary constraints; and, depending upon the school or department, relevant artistic, clinical,
or other activities.

In certain professional schools compensation may be limited by the amount of external research
funding that directly supports a given faculty member’s salary. In the School of Medicine the
amount of salary that a clinical faculty member may earn above the established base may be
influenced by the clinical income generated by the individual or by the department.

A.	Salaries

1.    Payment

Teaching faculty appointments at Yale are normally for the nine-month academic year. An exception
to this is the School of Medicine, where appointments are generally for twelve months. Research
faculty appointments are normally made on a twelve-month basis. New appointments normally
take effect as of July 1 or January 1. In the Schools of Drama and Nursing initial appointments
may be made at any time during the calendar year. In addition to the academic year salary, faculty
members appointed on a nine-month basis may receive additional months of summer compensation
from Yale-administered sources (see Section XVIII.B).

In all schools except the School of Drama, when faculty members on nine-month appointments
resign or when their appointments terminate, the effective date of resignation or termination,
except as specially authorized by the Provost, must be either December 31 or June 30. Their
appointments may not be extended into the second semester or into July and August. Faculty
members whose appointments terminate June 30 may request their final paycheck in May. In the
Schools of Medicine and Nursing, resignations may be accepted at any time during the calendar
year.

Salaries in most faculty ranks are paid monthly over a twelve-month period. The first salary
payment is made at the end of the first month in which the appointment becomes effective. For




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faculty members and other persons on nine-month appointments, salary payments received during
July and August are considered advance payments for services rendered during the academic
year. Persons on nine-month appointments are therefore required to return any compensation
received for July and August should they not assume the responsibilities of their appointment at
the beginning of the academic year or fulfill their duties for the semester or term of appointment.
Persons who do not serve for the full nine months of their appointment are required to return a
prorated amount of their July and August compensation.

Faculty on nine-month appointments who conduct scholarly or research activities during the
academic year that are supported by external funding sources may elect to participate in an
alternative compensation schedule wherein academic year salaries will be paid over the nine
academic months. This program permits faculty who charge a portion of their academic year
salaries to sponsored projects to establish from those salary savings a special research account
which may be used (a) to provide for up to three months of summer salary, (b) as bridge funding,
(c) to support new initiatives, or (d) for research-related expenses not normally allowable as direct
costs on sponsored projects. This program is described in further detail on the Web site of the
Office of Research Administration.

Faculty members on multi-year appointments who teach only one semester receive six monthly
checks (July through December for the first semester; January through June for the second). These
practices and obligations apply as well to leaves with salary.

Visiting and other faculty members holding one-year appointments are normally appointed from
September through May and paid monthly on a nine-month basis. The first salary payment is
made at the end of September. One-semester appointees are paid in four installments (September
through December) for the fall semester or in five installments (January through May) for the
spring semester. When circumstances warrant, and with permission of the Provost or the Dean
in a professional school, faculty holding one-year appointments may be appointed and paid from
July through June, and those holding one-term appointments may be appointed and paid from
July through December or from January through June.

2.	Salary Advances

Salary advances may be requested to meet unusual short-term financial needs, for example when
the extraordinary expenses of a research trip out of the country justify a departure from the normal
schedule of salary payments. Salary advances may be approved for new foreign employees who are
not allowed to take more than a minimum amount of currency out of their home countries. Salary
advances may not exceed one month’s net pay and must be repaid within two months. Advances



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may also be approved for faculty members who have completed their term of employment at
Yale and who would normally be paid at the end of the month.

Advances will not be approved to cover routine expenditures for which the individual should
plan or find other ways to finance, such as tax payments, vacations, or the purchase of goods or
services.

3.    Federal and State Income Withholding Tax

The University withholds from monthly salary checks an amount in accordance with current federal
and state income tax withholding procedures. Withholding allowance forms may be obtained from
the department or school administrative office, the Payroll Office, or the Department of Human
Resources and returned to the department or school dean’s office or directly to the Payroll Office.

4.	Social Security

The required social security tax is deducted from monthly salary checks. A new member of the
faculty may already have paid, in part or in full, the tax for the current year before coming to
Yale. Government regulations require, however, that the University withhold the tax as though
there had been no previous employment. Amounts in excess of the individual’s required tax may
be claimed on the income tax return.

B.	Summer Compensation from University-administered Funds

Faculty on nine-month academic year appointments may be employed during any of the three
summer months, either at Yale, at another academic institution, or by any other employer. There
are no restrictions on the amount of compensation earned from any non-Yale employer.

Faculty members who hold academic-year (nine-month) appointments may, under the conditions
listed below, receive additional salary from University-administered funds for work on projects
during the summer; that is, between Commencement and registration for classes in the fall
semester. Faculty on nine-month appointments may receive such additional salary whether they
are compensated over nine or twelve months. The program permitting compensation over nine
rather than twelve months is described in further detail on the Web site of the Office of Research
Administration. Most such projects are sponsored by, and funded from, sources external to the
University, often agencies of the federal government. Salary paid for work conducted during the
summer months is subject to the normal withholding taxes and retirement contributions, subject
to federal and state maximums. University policy imposes certain conditions on the receipt of
summer compensation from Yale-administered funds.



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1. The maximum monthly salary is one-ninth of the academic year salary, and the maximum
amount of time for which full-time salary may normally be earned for work performed in the
summer is two and a half months.

2. As is the case during the academic year, faculty members may not accept other employment
during any month in the summer in which they receive full-time salary from Yale-administered
funds.

3. The appropriate form showing the source and amount of funds and the period of work must
be submitted as for any other appointment.

4. Faculty may receive honoraria, rather than salary, during the summer for programs administered
by Yale only if all of the following conditions are met:

    a.   For the month in which it is earned, this is the only payment to be received by the
         faculty member from Yale-administered funds and the payment is minimal, i.e.,
         under $1,000.

    b. Such payments are made as supplementary payments through the Yale payroll system.

Under all other circumstances compensation for participation in a summer program (including
grants or contracts) administered by Yale may not be paid as an honorarium, but must be shown
on budgets as a percent of effort (or person-months, depending on sponsor) and paid through
the payroll system as summer compensation. In such cases, the compensation received during a
summer month cannot exceed the academic year monthly rate.

C.	Other Compensation from University-administered Funds

Faculty employed full-time by the University normally may not receive additional income from
the University for work performed during a period of full-time employment, typically the nine-
month academic year. This includes income from salary, honoraria, or other kinds of compensation.
Requests for exceptions to this policy are rarely given and must be made in advance and in writing
to the Provost, or Provost’s designee, with a full statement of the reasons why the University’s
interests would justify an exception. This policy derives from the assumption that the salary
paid to an individual represents full compensation for the individual’s total obligation to the
University, including formal and scheduled commitments such as classes, formal but unscheduled
commitments such as pursuit of personal research and supervision of thesis research, and informal
participation in other University activities. The total compensation that can be expected by a
faculty member for performance of all obligations during the academic year is therefore the



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annual salary and benefits. Faculty members appointed on nine-month terms may earn additional
summer compensation as described above provided that the work is actually performed during the
summer. Faculty may not receive additional compensation during the summer for work performed
during the academic year.

There are certain activities that, with prior approval from the Provost, or Provost’s designee,
will normally qualify for an exception to the policy prohibiting extra compensation during the
academic year.

1. Teaching in specified and approved non-degree educational programs at Yale that meet a high
threshold of institutional importance, including school-specific executive education programs,
national or international leadership training programs, and distance educational programs, whether
sponsored by the University or by a specific school.

2. Delivering papers at conferences and symposia that take place at Yale, whether funded by Yale
or outside sources, when the symposium features predominately outside speakers. The proposed
remuneration must be commensurate with that offered to participants from outside Yale.

3. Certain recurring and well-defined categories of additional compensation that have been
established by the Office of the Provost (e.g., interim assignments, on-call pay).

Payments for any of these activities require prior approval from the Provost, or Provost’s designee,
and would take place through the regular payroll system, where they would be subject to normal
rules of withholding and reporting.

Participation in these activities must not conflict with normal teaching responsibilities. They are
subject to Yale’s policies of effort reporting and conflict of interest and commitment, which limit
the total of such effort, including both outside consulting and any supplemental compensated effort
inside of Yale, to the permitted amount (currently one day per week) during the academic year.

D. Fringe Benefits

The benefits described in this section are those currently offered and may be changed from time to
time by the University. The terms of each benefit are governed by its respective plan documents.
This Handbook provides only a general description of the benefits. Detailed information may be
obtained from the Benefits Office either in person or on the Web.

Members of the faculty who are eligible for benefits are urged to participate in them. Members of
the faculty are automatically enrolled in the Yale University Retirement Account Plan (YURAP).



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Application should be made at the time of appointment. Any required premium payment is made
through the payroll system.

It is the responsibility of the individual to initiate application for most of these benefits, even when
participation is automatic. Many require choices among alternatives or levels of participation.
Yale has no obligation to assume responsibility for benefits lost through failure to apply for
participation or to make a retroactive contribution to a benefit for a period prior to the time of
application by an eligible faculty member.

1.   Benefits Available to Most Members of the Faculty

The following benefits are available to all faculty employees appointed for two or more consecutive
semesters (except those on visiting appointments) who are working at least half-time or who are
on phased retirement.

a. Medical Plans. Faculty employed at least half-time for one semester or longer may enroll
in one of the University’s health insurance programs during the first 30 days of employment.
Faculty may also enroll, add or delete dependents or civil union partners, or cancel coverage
during the annual open enrollment period each fall, with coverage changes effective January 1
of the following year. Enrollment changes are also permitted because of a qualifying life event
status change. For detailed information on these plans, including monthly premiums, consult the
Benefits Office.

The Yale Health Plan (YHP) is a comprehensive, physician-led HMO health plan that operates a
medical center on the Yale campus. YHP provides coverage for primary, specialty, and emergency
care, as well as for a range of ancillary services. Upon referral, members have access to an
extensive network of clinicians and services at other area facilities. Coverage is free for eligible
faculty. Faculty members whose appointments are for less than one semester may use the Yale
Health Plan on a fee-for-service basis.

Other health benefit choices are also available on a subsidized basis. Enrollment is required for
participation in one of these plans. Information about health insurance coverage and costs and
detailed descriptions of these plans are available at the Benefits Office.

b. Dental Plan. Faculty employed half-time or more and their spouses or civil union partners
are eligible to purchase dental insurance from the University. Consult the Benefits Office for
information.

c.	Contributory Group Life Insurance. The University currently offers group term life



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insurance in multiples of up to five times base salary, not to exceed $1,500,000. Members of the
faculty must apply for coverage within sixty days after the beginning of their appointment, or
within sixty days after taking up duties and responsibilities, whichever is later; otherwise a health
statement and, in most cases, a physical examination will be required.

Faculty who terminate or retire may continue their coverage by purchasing a policy directly from
the carrier with proof of insurability within 31 days. The insurance also provides for additional
payments (“double indemnity”) in the event of accidental death.

d. Disability Insurance. The University provides insurance as partial protection against loss of
income and retirement benefits resulting from long-term disability. Faculty employed half-time
or more are automatically enrolled in the Basic Plan at no cost to the employee. Above specified
salary levels, faculty may purchase Supplemental Disability Coverage for added protection against
income loss.

Under the Basic Plan benefits begin on the first of the month following 180 days of at least partial
disability resulting in lost earned income of 20% or more. Benefits normally continue during
the participant’s lifetime to age 65. Employees are entitled to receive 60% of their base monthly
salary to a maximum of $7,500 per month minus any other University-sponsored payments
received, such as worker’s compensation or social security. For those faculty who participate in
Supplemental Disability Coverage, that maximum is increased to $20,000 per month minus other
University-sponsored payments received.

For participants in the Yale University Retirement Account Plan, employee and employer contributions
to the Account Plan will be continued during a period of disability coverage at standard participation
levels, as they may be adjusted from time to time.

e. Long-Term Care Plan. A long-term care plan is currently offered to faculty and their
immediate family members. Details are available from the Benefits Office.

f. Death Benefit. If a faculty member who holds an appointment of half-time or more dies while
an active employee, his or her salary is paid up to and including the date of death. In addition,
the employee’s named beneficiary is paid an amount equivalent to one month’s salary.

g. Yale University Retirement Account Plan (YURAP). Retirement benefits for faculty are
provided through a 403(b) Defined Contribution Plan. In a 403(b) Defined Contribution Plan
both employer and participant know how much will be contributed to the Plan, but cannot know
precisely the retirement benefit. Such benefit will be affected by the amount of accumulation




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at the point of retirement, the age of the participant at that time, and the payout option elected,
among other factors. The most important basis for the payout will be the accumulation, and
the most important factor in the accumulation will be the investment return on assets over the
accumulation period.

Eligibility to participate in the plan. An eligible employee is an individual who has a faculty
or senior research appointment of at least half-time or greater. Upon hire, all faculty as defined
by the Plan will be automatically enrolled in YURAP. Under YURAP’s automatic enrollment
feature, Yale will automatically reduce monthly salary by 5% and deposit that amount as a pre-tax
employee contribution to YURAP. Yale will make a core contribution equal to 5% of salary and
a University match equal to 5% of salary to the individual’s YURAP account. Contributions
and Yale’s match will be invested with TIAA-CREF and/or Vanguard, and for each investment
company selected the individual may specify the investment funds into which he or she wants
contributions and Yale’s match invested.

Unless directed otherwise, the individual’s contributions and Yale’s match will default to TIAA-
CREF and will be invested in the age-based TIAA-CREF Lifecycle Fund that corresponds to
the individual’s estimated date of retirement. While enrollment in YURAP will be automatic,
individuals may opt out of the University match component of the Plan at any time. Both the
faculty member and employer contributions to the plan are immediately vested, meaning that
the total accumulation belongs to the participant even if the employee terminates employment.
The 403(b) plan consists of the University core, employee contributions, and University match.

Yale Contributions to YURAP. The University provides a University core contribution in
addition to a University match.

i. For the first amount of base salary corresponding to the Social Security Wage Base that a
faculty member earns in a fiscal year (from July 1 through June 30), the University core will
consist of a plan contribution equal to 5% of earnings plus a dollar-for-dollar match for up to the
first 5% that the individual contributes to the Plan.

ii. Once the faculty member earns over the Social Security Wage Base amount in a fiscal year,
the University core contribution will increase to 7.5% of earnings, while the participant continues
to receive a dollar-for-dollar match on contributions up to 5%.

h. Yale University Tax-deferred 403(b) Savings Plan

Faculty who are below the benefit level and postdoctoral associates may choose to save for




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retirement by contributing a portion of their pay on a pre-tax basis. There is not a University match.

The University offers the option to invest pre-tax contributions through two different companies,
TIAA-CREF and Vanguard.

There are several options available when deciding on the amount to contribute, including:

1.    Electing a specific percentage.

2. Checking off the maximum box, which will allow the IRS maximum contribution. Consult
the Benefits Office for additional details.

i.	Completing University Retirement Plan Contributions. Because the purpose of contributions
to an individual’s retirement plan is to provide for a comfortable retirement, continuation after
that objective is achieved is not part of the retirement plan.

University contributions therefore cease after an individual can be expected to achieve a certain
level of retirement income. This expected level is fixed as the time when the annuity that can be
purchased with a participant’s retirement account plus social security benefits, using a monitoring
model described below, exceeds a targeted income replacement ratio that rises with service to a
maximum of 70%.

The retirement plan bases the cessation of contributions on typical investment assumptions rather
than on the success of an individual’s particular investment strategy. Based on this investment
experience, a calculation is made of the income replacement ratio that the “hypothetical individual”
would achieve at Normal Retirement Age. The University ceases contributions when the participant’s
assumed account, plus social security benefits for those 65 or older, exceed the targeted income
replacement ratio. In order to provide heightened assurance that the retirement objective has
actually been met when University contributions end, they stop only after the formula has called
for ending contributions in two successive years.

As an additional protective feature, if market conditions worsen so that, after contributions have
been stopped, the participant’s assumed account value plus any social security benefits is expected
to be less than the targeted replacement ratio, then contributions will be restarted on the following
July 1, assuming continued employment. For purposes of this calculation, the individual’s account
value will be adjusted for each year after the end of University contributions to reflect the receipt
of retirement account yield.

j.    Flexible Benefits Plan. This program permits individuals to save money by reducing taxable



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compensation and receiving instead certain non-taxable benefits offered by the University. A
University-paid $25,000 basic life insurance benefit is available and automatic for eligible faculty
members. In addition, faculty members pay the premium for Yale’s health and dental insurance
by a salary “reduction.” These arrangements are irrevocable during the year elected, unless the
employee experiences a change in family status. An annual election, similarly irrevocable during
each calendar year, provides the opportunity to pay for unreimbursed (“out-of-pocket”) costs
of medical, dental, or dependent care with pre-tax dollars in accordance with current IRS rules.
Consult the Benefits Office for further information.

k. Yale Mortgage Program. A mortgage program is made available to Yale employees by
several local banks. In some cases, interest rates on first-mortgage loans for the purchaser of a
permanent residence are slightly below the prevailing market. To be eligible, faculty members
must meet the credit requirements of the bank.

Information concerning terms and conditions of the Mortgage Program may be obtained from
the Benefits Office.

l.	The Yale Homebuyer Program. The Yale Homebuyer Program offers a significant financial
subsidy to any Yale employee working half-time or more who buys a home in designated New
Haven neighborhoods.

m.	Scholarship Plan for Sons and Daughters of the Faculty and Staff. Partial scholarship
grants for sons and daughters of eligible faculty and staff members may be awarded under the
following conditions:

    i.     The student must be enrolled on a full-time basis in an accredited community
           college, four-year college, or university and must be a candidate for a bachelor’s or
           an associate’s degree.

    ii. At the time of matriculation for the covered term, a parent of the scholarship applicant
        must have been a full-time employee during the entire six years preceding the date
        of application; or the four years preceding the date of application and a total of
        forty-eight months, whether or not continuous, prior to the preceding four years for
        a total of eight years; or the parent must have been a retired, deceased, or totally
        disabled employee who, at the time of retirement, death, or disability, had been
        continuously employed full-time for the preceding six years.

    iii. The amount of the scholarship is equal to one-half of the school’s tuition and general




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	fees (except fees for room and board), up to a maximum amount that is determined		
  annually by the Corporation.

      iv. The student will not be eligible for a scholarship grant for any semester that begins
      after the student’s twenty-fifth birthday.

For a full statement of the plan, consult the Benefits Office.

n. Auditing University Courses. Full-time or emeritus faculty members and their spouses or
civil union partners are eligible to audit courses in the Graduate School and Yale College during
the academic year. Faculty members require only the instructor’s permission to audit a course.
Spouses and civil union partners must have the permission of both the instructor and a designated
member of the Yale College Dean’s Office for undergraduate courses or the appropriate associate
dean of the Graduate School for graduate courses. For regulations governing the auditing of
courses in the professional schools, consult the registrars of those schools directly.

o. Tuition Benefits. Faculty members whose appointments are at least half-time and their spouses
or civil union partners may receive a tuition reduction when they enroll, through the regular
admissions procedures, in courses offered through the Yale College non-degree Special Students
Program, the Yale Summer Session, or the Graduate School’s Division of Special Registration.

2.    Benefits Available to Faculty on Salaried Visiting Appointments

Persons holding salaried visiting appointments for one semester or longer are automatically
enrolled in the Yale University Retirement Account Plan and are eligible to participate in any of
the health insurance programs (see Section XVIII.D.1).

3.    Benefits for Postdoctoral Appointees

As employees of the University, postdoctoral associates are entitled to fully or partially subsidized
membership in one of the available health plans offered by Yale, Long-term Disability and Group
Life Insurance, retirement programs, and dental coverage for themselves, their families, and civil
union partners, subject to specific plan provisions. For a full statement of applicable benefits,
consult the Benefits Office.

Postdoctoral fellows are eligible to enroll in health and dental plans, and this membership may
be subsidized in whole or in part, to the extent that funds for this purpose are included in the
fellowship or are supplemented by the mentor or the department.




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Postdoctoral appointees are entitled to stated University holidays. In the event that an appointee’s
funding source specifies vacation or holiday provisions, the terms of the funding source shall apply.

Postdoctoral appointees may be granted up to eight weeks of paid Parental Leave. In addition,
unpaid leave may be granted for up to sixteen calendar weeks in year one and up to twelve weeks
in year two of any two-year period under the following circumstances: serious illness of the
appointee; birth or adoption of a child; care of a seriously ill child, spouse, or parent. Requests for
these and other exceptional leave arrangements should be forwarded by the appointee’s advisor
to the appropriate Dean in the case of the professional schools or to the Provost in the case of
departments in the Faculty of Arts and Sciences. In the event that an appointee’s funding source
specifies leave provisions that differ from those stated above, the terms of the funding source
shall govern, and where necessary the leave proposal shall also be sent to the funding agency.

Postdoctoral appointees and their spouses or civil union partners are eligible to audit courses and
to receive tuition reductions when enrolling in a number of specific Yale programs. These benefits
are outlined in detail in the University’s Policies for Postdoctoral Appointments.

E.	Services for International Faculty and Research Staff

The University provides assistance to departments that wish to hire or host scholars from abroad.
The Office of International Students and Scholars (OISS) is the University’s representative and
primary contact for all immigration matters to the Department of Homeland Security’s U.S.
Citizenship and Immigration Services (DHS/USCIS), as well as to any other government agencies
involved in bringing foreign nationals to Yale University (e.g., Departments of State and Labor).
The OISS Director or Associate Director or his or her designee must sign any immigration
document issued by, or on behalf of, the University. Any application that is submitted to one of
these agencies and that bears an unauthorized signature will be returned.

Use of Outside Counsel. Unless previously authorized by OISS and the Office of the Vice President
and General Counsel, outside counsel may not represent the University, or sign any documents on
behalf of the University, in any application that pertains to an immigration benefit for a University
employee. Applications submitted to the United States Citizenship and Immigration Services or
the Department of Labor that do not bear an authorized OISS signature will not be processed.

The Office of International Students and Scholars must be consulted before making a commitment
to hire an individual who is neither a U.S. citizen nor a U.S. permanent resident. The Office will
work with the hiring department and the individual to make certain that Yale’s employment of the
individual is compliant with both institutional policies and the relevant federal laws and regulations



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prior to the individual commencing employment. OISS staff members are available to discuss
the details of a particular case, to make recommendations, and then to follow through with the
preparation and submission of the immigration application. In most instances, particularly where
the individual’s situation is fairly straightforward, OISS can handle the application expeditiously
and without charge to the individual except for government filing fees.

A person accepting an offer of employment with the University must have an approved appointment
before the process can begin as well as valid immigration status prior to beginning employment.
The scholar must maintain valid immigration status with continual authorization for employment
throughout the duration of the appointment at the University. Appointing departments are responsible
for informing the foreign national of this requirement, and all offer letters to foreign nationals
should include a phrase such as “offer is contingent upon obtaining and retaining valid immigration
status.” Appointing departments are also responsible for making sure they are in compliance with
all I-9 requirements.

If a hiring unit brings a candidate to campus for an interview, that candidate may wish to meet with
a member of the Office of International Students and Scholars to explore whether the candidate’s
present status is satisfactory for employment at Yale and, if not, what options exist to cover the
proposed period of employment. The following considerations help determine the non- immigrant
status for which the individual should apply:

       1. Nature and duration of the initial appointment.

       2.	Amount of time available before the candidate is to take up the position and
           the time needed to process the applications.

       3. Candidate’s immigration history.

       4.	Long-terms plans of the University and the candidate. Is the nature of the
           employment likely to change? Does the candidate wish to remain in the United
           States indefinitely?

       5. Possibilities of employment for the candidate’s spouse.

       6. Compensation and tax implications.

       7. International travel plans.

The following visa classifications are typically used for faculty and staff:




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J-1 Exchange Visitor Professor or Researcher. Available to visiting scholars, postdoctoral
appointees, visiting and temporary faculty and research staff. The J-1 status cannot be used for
a ladder faculty position. The source of salary support can be from sources external to Yale. The
J-1 is limited to five years.

H-1B Temporary Worker. The individual must be a Yale employee holding an academic appointment
in teaching or research. The H-1B is limited to six years.

O-1 Person of Exceptional Ability. The individual must be a Yale employee and a person of
demonstrated national and international prominence. The initial period of stay is up to three years
with one-year extensions thereafter. There is no maximum cumulative duration.

U.S. Permanent Resident (immigrant status, i.e. “green card”). Positions eligible for Yale’s
sponsorship for U.S. permanent resident status include teaching and research faculty appointments,
including lecturers and lectors with multiple-year appointments. Yale does not sponsor postdoctoral
fellows or associates for U.S. permanent resident status.

Special Procedures for Faculty Positions. To assure consideration for United States permanent
resident status, a new faculty member must contact the Office of International Students and
Scholars during the first six months of his or her first appointment. It is possible to use the original
faculty search as the basis of an application for United States permanent resident status, but only
if the search included a print advertisement and the application is filed within 18 months of the
position being offered.

Short-Term Visitors. There are restrictions concerning payment of persons in other non-immigrant
statuses of which a department must be aware before extending an invitation to give a lecture
or participate in a conference. An international visitor in a “tourist” classification, i.e. B-1, B-2,
WB, or WT, may be reimbursed and paid an honorarium if the academic activity lasted no longer
than nine days and if the visitor has not accepted payment of expenses or honorarium from
more than five U.S. institutions or organizations in the previous six months. If either of these
conditions is not met, the individual in tourist for pleasure status (B-2 or WT) may not receive
either honorarium or reimbursement. However, if the individual holds tourist for business status
(B-1 and WB), the visitor may be reimbursed for expenses, but may not be paid an honorarium.
For visitors holding non-immigrant visa statuses other than tourist, reimbursement may usually
be paid, but in most instances an honorarium cannot be provided. Please refer to Yale Policy 3415
for information about persons in other non-immigrant visa categories. Refer to the Yale Tax Office
for a comprehensive guide and planning tool with respect to payments to international visitors.




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General Procedures and Information. The Office of International Students and Scholars seeks
to protect the privacy of foreign nationals in accordance with general University guidelines on
the disclosure of information. Data on immigration status will be provided only as required by
federal regulation.

OISS maintains up-to-date information about the regulations and procedures involved in hiring and
hosting international scholars. Upon arrival at Yale, international scholars must visit OISS where
they will receive a packet of important information about their immigration status responsibilities,
as well as information about Yale and New Haven and the programs and resources offered by OISS.

International Tax Offzice. The Internal Revenue Service (IRS) requires that the University apply
specific federal tax withholding and reporting rules to payments made to international students and
scholars. For U.S. tax purposes, individuals are classified in one of the following categories: U.S.
citizens, permanent resident aliens (i.e. green card holders), resident aliens, or nonresident aliens.

The International Tax Office provides guidance concerning federal tax withholding and reporting
of payments made to individuals who are neither U.S. citizens nor U.S. permanent residents. This
service is offered by the Yale Tax Department for the benefit of international students, scholars
and visitors of Yale University.

The International Tax Office meets with the international student, scholar or visitor on a one-on-one
basis to determine the individual’s residency status for tax purposes and to determine the proper
federal income tax and FICA withholding. The International Tax Office reviews and processes
applicable tax treaty exemption forms.

International students and scholars receiving any type of payment from the University are advised
to schedule an appointment with the Tax Office.

F.    The Office of International Affairs

The Office of International Affairs supports the international activities of the schools, departments,
offices, centers, and organizations at Yale; promotes Yale and its faculty to international audiences;
and works to increase the visibility of Yale’s international activities around the globe. The Office
staff can provide country-specific contacts and information, materials about the University in
many languages, and logistical assistance in developing new projects and resolving problems.

The University supports international collaborations and recognizes that they sometimes involve
formal agreements that have legal standing or obligate the University in other ways. In order
to assist in creating such relationships, the Office of International Affairs provides advice and



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guidelines for this process. Faculty who wish to explore having a formal relationship with a
non- U.S. university, research institution, or other entity, are therefore asked to consult with the
Office of International Affairs.

The University strongly encourages all members of the University community who are contemplating
travel abroad for educational or other purposes to plan well in advance and to take precautions to
ensure a safe trip. A range of resources for international trips are available at the Yale webpage for
international travel. In addition to Web-based information that is provided by the United States
State Department and various other governments, the University encourages members of the Yale
community to consult FrontierMEDEX, a private travel emergency assistance provider engaged
by Yale to support students, faculty, and staff who are traveling internationally.

G. Resources and Accommodations for Faculty Who Have Disabilities

The Accommodation Program is designed to facilitate individual accommodations for current
and prospective Yale faculty and staff who have disabilities. A faculty member in need of such
an accommodation should contact the Director of the Office for Equal Opportunity Programs as
early as possible. Accommodations may include, for example, authorization to use the special
services van, preferential parking locations, adaptive computer hardware and software, and
physical modifications in buildings.

H. Business and Administrative Support

Each school and department at Yale is supported by a business manager or other lead department
administrator who is responsible for ensuring that faculty, students, and staff receive high quality
financial, administrative, and related support. In providing this support the school or department
business office staff assists faculty with understanding University policies and procedures, so
faculty members can maximize the time and attention they spend on teaching and research, while
also fulfilling their administrative responsibilities.

Faculty are encouraged to engage the school or department business office staff for assistance
with the wide range of administrative matters that can arise during the conduct of teaching and
research. The staff may be able to provide such assistance directly or by referring the faculty
member to the appropriate University office.

I.   Yale Travel Services

Yale Travel Services has selected Orbitz for Business as the preferred travel agency of Yale
University, available to all faculty and staff for both domestic and international business travel.



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A professional staff of travel agents is available for complex itineraries at Orbitz for Business.
All faculty and staff are automatically registered on the Orbitz for Business Web site upon
employment and may access their respective profiles using their yale.edu e-mail address along
with the first-time password “travel”. A list of preferred vendors, discounts available, and the Yale
policy and procedures for travel can be found on the Yale Travel Services Web site. Yale travelers
are encouraged to use a Yale University purchasing card (P-card) to pay for travel expenses.
Information on how to obtain a P-card is available through the department’s business manager.

J.    Parking

The University Parking and Transit Service administers parking for faculty and staff and allocates
parking permits for which monthly fees are charged. Copies of the regulations and applications
for parking-lot permits may be obtained from the Parking Service.

Members of the faculty who park in Yale-owned lots automatically pay for parking with pre-tax
dollars through regular payroll deductions. Those who commute to work by mass transit or park
in non-Yale lots may participate in the Yale pre-tax mass transit or parking benefit.

K. Identification Cards

Identification cards are required for all employees. Members of the faculty must visit in person
one of the University’s I.D. centers. These centers are located at 246 Church Street for the central
and science campus and at 333 Cedar Street, IE-41, Sterling Hall of Medicine, for the medical
campus.

L. Identification Cards for Spouses and Partners

Yale identification cards are available to spouses and civil union partners of faculty appointed for
one semester or more and who are employed at least half-time. The spouse or partner must visit in
person the central or medical I.D. center and must provide proof of marriage or civil union. The
privileges the Yale I.D. card permits include the borrowing of books from the University libraries,
access to the Yale Shuttle bus and employee membership rates at the Payne Whitney Gymnasium
and the Yale Golf Course. For additional information, contact the appropriate I.D. center.

M. Letters of Introduction

Letters of introduction for faculty members who plan to travel abroad are provided by the Office
of the Secretary.




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N. Yale NetIDs

A Yale NetID and password are required to gain access to the campus network and most University
information technology services and online resources. The lead administrator in the applicable
department or program is responsible for coordinating the assignment of NetIDs to new faculty
and staff. The most important NetID maintenance task is choosing and maintaining a strong
password that must be changed once per year. For more information, see Guide 1610 GD.01,
Selecting Good Passwords.

O.	Technology and Computing Support for Faculty

Information Technology Services (ITS) promotes and develops the use of technology to support
teaching, learning, and research throughout the University. A summary of ITS services for faculty
can be found at the ITS webpage on teaching.




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XIX. Retirement

On July 1, 1993, compulsory retirement of tenured faculty was eliminated. Because department
and school planning is enhanced by knowing the approximate retirement dates of tenured faculty,
the University has created several programs to encourage members of the faculty to plan for
retirement and to inform chairs of their plans.

A. Full Retirement and Emeritus Rank

Retired members of the faculty who continue to be professionally active contribute a great deal
to the University community. The title of Emeritus is granted by vote of the Corporation to
members of the teaching faculty in certain ranks when they retire or resign from Yale, provided
that they meet specified criteria for age and length of service. The ranks automatically eligible for
Emeritus status are tenured faculty in all schools; professors in the investigator, clinical-scholar,
and clinical-educator ranks in the School of Medicine; clinical professors in the Schools of Law
and Nursing; full-time adjunct professors in the Schools of Art and Drama; and full-time adjunct
professors and professors in the practice in the School of Music. To be eligible, a faculty member
must have reached age 55 with a number of years of service at Yale in one of these ranks that
added to his or her age equals at least 75. The Dean or chair of the member’s school or department
must submit a Faculty Appointment Form for the Emeritus appointment during the final semester
of the individual’s non-retired status. The Emeritus title is not a rank, but rather an honorific
title to which Yale attaches certain non-monetary administrative privileges, and the title may be
withdrawn by the Corporation upon recommendation of the President or Provost.

In order to support the continued professional activity of retired faculty and to accommodate this
activity to the primary requirements of students and non-retired faculty, the following policies
and procedures have been developed.

1.    Office and Research Space

While available office space must first accommodate those who have not retired, every attempt
will be made to provide office space to retired members of the faculty. Although research space
is even more limited, it can also be assigned to retired ladder faculty if circumstances permit and
need is demonstrated, for example by an active and well-funded research program. Assignment
will be made by the Provost or appropriate professional school Dean on the recommendation of the
department chair. The amount of research space provided will, in most instances, be substantially
less than the amount occupied before retirement. Assignments of office and laboratory space to




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retired faculty will be reviewed annually to determine whether renewal is possible in the context
of competing needs.

2.   Privileges

Retired faculty will retain a number of faculty privileges. They include the following:

     Library. Stack and borrowing privileges are the same as for non-retired faculty. For
     further information, contact the Privileges Office at Sterling Memorial Library.

     Parking. In general, parking spaces will be assigned to retired faculty with the same
     priority as those faculty held before retirement but at the lowest rate category. For
     further information, contact the Parking Office.

     Computers. Retired faculty are entitled to keep for their own use computers provided
     for them by the University.

     Fellowships in the Residential Colleges. “Emeritus Fellow” status is determined
     by the masters and fellowships of the colleges. For further information, contact the
     Council of Masters Office.

     Dining Halls. All Emeritus Fellows are provided free lunches Monday through
     Friday in any Residential College dining hall or the Hall of Graduate Studies. Anyone
     connected with the University, including all retired faculty and their guests, may eat
     in any University dining hall and pay cash.

     Payne Whitney Gymnasium. Rates and privileges are the same for retired faculty as
     for non-retired faculty. For further information, contact the Payne Whitney Gymnasium.

     Yale Charge Accounts. Emeritus Fellows of Residential Colleges may have the same
     charging privileges as non-retired faculty.

3.   Health Insurance

Retired members of the faculty are eligible for University-sponsored and subsidized health insurance.
The University’s contribution to the cost of retiree health insurance premiums is based upon length
of service at Yale and reaches its maximum at thirty years of service. To obtain information on
cost and coverage, prospective retirees are encouraged to consult the Benefits Office.




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4.	Teaching

Retired faculty members may teach on a year-to-year basis under certain conditions. For the
professional schools, consult the appropriate Dean. For Emeritus faculty in the Faculty of Arts
and Sciences, the following conditions prevail:

a. Like one-year replacement faculty, Emeritus faculty are hired when a department or school
has demonstrated that the teaching is necessary due to leaves or vacancies that cannot be covered
by non-retired faculty.

b. A Dean’s or the Provost’s capacity to make the appointments will depend upon the availability
of funds to meet one-year teaching needs.

5.	Supervision of Dissertations

Faculty members are expected to anticipate their retirement by arranging their supervision of
graduate dissertations so that all dissertations will be completed by the time of retirement or
shortly thereafter. Emeritus faculty may, without being appointed as lecturers, serve as readers
of dissertations, but they may not serve as directors of dissertations.

‘6. Research Sponsorship and Appointments

Several important considerations determine whether the University will sponsor, totally or in
part, retired faculty members’ applications for grants or contracts, and whether it will authorize
research appointments for retired faculty members on the grants or contracts of non-retired
faculty members. In making its decision the University must take into account the contribution
of the proposed research to the University community, its demand upon physical facilities, and
its direct and indirect effects upon other research and training programs of the department and
the University. The same considerations govern decisions to authorize retired members of the
faculty to work with postdoctoral appointees and, if so, in what numbers. Non-retired faculty
members may apply for research support that extends beyond retirement, and Emeritus faculty
may apply for research support, provided that the Provost or the appropriate professional school
Dean is willing to commit the necessary space and facilities for the period of the grant. In the
case of faculty in the Faculty of Arts and Sciences and in the School of Medicine, this will be
done only on the recommendation of the department chair.

If the department or school faculty so votes, and if the appointment is approved by the Corporation,
the Emeritus faculty member may be given the additional title of senior research scientist/scholar,
to be held during the period of grant or contract support. In the case of Emeritus faculty in the



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Schools of Medicine and Nursing, the department’s recommendation should be forwarded to
the Dean for approval. The same procedures will apply in the case of Emeritus faculty who
seek appointment as senior research scientists/scholars on the grants or contracts of non-retired
members of the faculty.

An Emeritus faculty member who is appointed as senior research scientist/scholar under the above
conditions may be paid salary from the grant or contract for any fraction of his or her time, up
to 100%. The salary will be set by the Provost or Dean, except that in no case may it exceed any
cap imposed by the granting or contracting agency.

During the period that an Emeritus faculty member is being paid from a grant, he or she will be
entitled to all fringe benefits normally accorded to senior research scientists/scholars, as long as
these benefits are entirely chargeable to the grant. Fringe benefits are accorded only to employees
who are paid for half time or more.

B. Phased Retirement Plan

With the exception of faculty at the School of Medicine and the School of Public Health who may
participate in retirement programs specific to those schools, all tenured faculty members with at
least ten years of tenured service at Yale may enter the Phased Retirement Plan as early as the next
January 1 or July 1 following their 65th birthday, but no later than the next July 1 following their
70th birthday. A faculty member may elect Phased Retirement for a fixed period of one, two, or
three years preceding full retirement. He or she works half-time through the entire such period,
and is compensated at 100% salary during the first year, 75% salary during the second year (if
any), and 50% salary during the third year (if any) in the Plan. An eligible faculty member may
take a one-semester Triennial Leave of Absence while in the Phased Retirement Plan. While on
such a leave, the faculty member will receive the percentage of salary designated to that specific
year of the Plan.

For additional details about the Phased Retirement Plan, please consult the Benefits Office.




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XX. University Policies Concerning Teaching and Research

A. Instructional and Institutional Responsibilities

Members of the teaching or research faculty are expected to meet their professional and institutional
commitments at Yale on a regular basis throughout the academic year. For full-time teaching
faculty this includes being on campus most days of the work week, except for holidays and recess
time, in order to be available to advise students, serve on departmental and University committees,
attend regular and special departmental meetings and seminars, interview prospective candidates
for positions, and meet other normal obligations of a member of the faculty. All teaching faculty
must remain on campus during reading and examination periods. If unable to meet a class
because of illness or other emergency, faculty members should promptly notify their department
or school officials. For faculty in professional schools whose responsibilities include off-campus
professional activities or require different schedules, different expectations apply. For further
detail, consult the Dean.

A primary mission of the University is to disseminate knowledge. As underscored by the Report
on the Committee on Freedom of Expression, “to fulfill this function a free interchange of ideas
is necessary not only within [the University’s] walls but with the world as well.”8 Accordingly, all
classes at Yale University are to be on-the-record, and all materials presented in these classes may
be shared with the larger University community and the public (subject to applicable copyright
laws). No class in the University may be considered confidential or off-the-record. Exceptions to
this rule may be made for protected health or attorney-client information that is used in clinical
educational settings. Exceptions may also be made for occasional presentations by visiting
lecturers who are willing to present educationally valuable information to students, but only
on condition that the information provided not be circulated beyond the classroom; under such
circumstances, any other information that may be presented in class, including any information
that is presented by the instructor of record and/or that may provide the basis for the evaluation of
student performance, must be considered non-confidential and must be available for dissemination
and open discussion. Any other request for an exception regarding the use of confidential content
or materials in the instructional setting must be presented to the Provost or Provost’s designee
(normally a Dean) for review and must be approved by the Provost/designee before such content
or materials are presented to or used by students. Nothing in this paragraph should be construed



8 “Report on the Committee on Freedom of Expression” (Yale University, January 1975), available at http://www.
yale.edu/yale300/collectiblesandpublications/specialdocuments/Freedom_Expression/freedom1975.pdf.




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so as to undermine or erode Yale’s policy prohibiting the conduct of classified research. Further,
nothing in this paragraph implies that students or others are permitted to record and distribute
material from a class to the Internet or other media without the explicit prior permission of the
instructor.

The department chair or, in a professional school, the Dean, is charged with assigning faculty
members’ classroom responsibilities that will provide students comprehensive and effective
formal instruction. Varying instructional techniques and classroom demands mean that such
assignments may differ among departments and schools. The obligations of a member of the
teaching faculty go well beyond classroom and other teaching duties. They include time spent on
research, student advising, and various kinds of department and University service on committees
and in administrative roles. While the proportion of these components varies from individual to
individual and from time to time, faculty may not substitute time spent on sponsored research
for their regular teaching duties without special permission from the Provost.

Members of the faculty are often called upon to write letters of recommendation for students or
to offer their professional judgments on the qualifications of candidates for positions at Yale or
elsewhere. It is understood that such judgments, expressed orally or in writing, will be consistent
with the nondiscrimination policy of the University (see Section III.A).

B.	Safety Issues

Members of the faculty share responsibility for maintaining the safety of the community and its
individual members. Yale has its own police force, fire safety officials, and health and counseling
services, as well as specialists in environmental safety and emergency preparedness. Further
information and contact details can be found on the Yale Public Safety Web site.

These safety professionals rely on members of the Yale community to help identify potential
threats of harm or violence and to allow support services to connect with people who may be at
risk or who may be putting others at risk. Instructors are often the first to notice a student who
is troubled. On occasion, the behavior of a student might appear to pose a risk of harm either to
the student himself or herself or to others. It is important to communicate such observations and
concerns to those who can best assess the information and manage the situation.

Any disturbing behaviors should be reported to the student’s Dean and, in the case of Yale College
students, to the appropriate residential college Dean or to the Dean of Student Affairs. If a threat
of violence seems imminent, contact the Yale Police directly at 911 or 203-432-4400. A report




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of concern will not necessarily lead to disciplinary action. Indeed, in most cases, counseling or
some other risk reduction strategy is the most likely next step.

C. Research and Scholarship

Excellence in research and scholarship is expected of persons holding faculty appointments. It is
University policy to encourage and assist research and scholarship that are essential to the training
of students, to the advancement of knowledge, and to the intellectual growth of the faculty. To
this end, the University will help faculty to secure appropriate research support from outside
sources. Applications for external funding for research, teaching, or other activities (including
subaward applications to other entities) must be submitted through Yale. Exceptions allowing
submission of applications through another institution or organization require prior written
approval of the Provost or, for faculty in the School of Medicine, the Dean. Clinical activities,
which occur primarily in the Schools of Medicine and Nursing, are also covered by the policies
and procedures below.

1.    Policies and Guidelines

a. All members of the faculty are expected to conduct their scholarly research and publish the
results of that research consistent with the highest standards of ethical conduct, truth, and accuracy.
Any instance of suspected academic fraud or misconduct should be reported to the Dean of the
relevant school. In accordance with federal regulations, the University has established policies
and procedures for responding to allegations of research misconduct or academic fraud. The
policies and procedures describe the University process for conducting resulting inquiries and
investigations. Faculty and students are required to cooperate fully in any inquiry or investigation
of such allegations, e.g., by providing requested documents and information.

b. The University does not conduct or permit its faculty to conduct secret or classified research.
This policy arises from concern about the impact of such restrictions on two of the University’s
essential purposes: to impart knowledge and to enlarge humanity’s store of knowledge. Both are
clearly inhibited when open publication, free discussion, or access to research are limited.

c. For the same reasons, the University requires that investigators be able to publish the results
of their research without prior approval of a sponsor. Agreements may, however, permit sponsors a
brief period to review proposed publications and presentations to identify 1) proprietary information
that may require patent or copyright protection, or 2) information confidential to the sponsor
that must be removed. In general, sponsors are granted review periods of 30 to 45 days prior to
submission for publication, but review and delay periods should total no more than 90 days.



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d. The University requires that all documents related to federally sponsored projects, including
primary research data, be available to federal auditors for the period specified by federal regulation
– in most cases, a period of three years from the filing of the final required technical or financial
report. Yale expects faculty members to retain all research data, whether resulting from federal
sponsorship or not, in their laboratories or other bona fide research locations, and to provide access
to the data when requested to do so by authorized institutional officials. Requests from sponsors
or others for access to research data should be forwarded to the Office of Grant and Contract
Administration. Subpoenas, summonses, or similar legal documents pertaining to research should
be brought to the attention of the Office of the Vice President and General Counsel as soon as
possible, and in any event, before a response is made.

e.   Yale believes that federal support of research should be allocated on the basis of excellence as
determined by merit review. Consequently, the University does not seek funds through earmarking,
nor does it permit its faculty to do so. If faculty have identified promising areas of research that
are not adequately supported by federal funding agencies, the University is prepared to work
with faculty to develop competitive, merit-based programs in such fields of research.

f. In order to ensure that research is conducted by those who have the requisite training and skill,
as well as the appropriate relationship to Yale, the University will normally sponsor proposals
only when the principal investigator or project director is employed full-time by the University
and holds an appointment as assistant professor, associate professor, professor, research scientist/
scholar, or senior research scientist/scholar. Exceptions require the approval of the Provost or,
where appropriate, the Dean of the relevant professional school. In some cases, the Provost or
Dean may delegate approval to the department chair.

g. It is University policy to take title to all patents and certain copyrighted materials that result
from the research activities of faculty, staff and students at Yale. See Section XX.D for University
policies on patents, copyrights, and licensing.

h. In accordance with federal law, University policy, and the University’s federalwide assurance of
compliance, filed with the U.S. Department of Health and Human Services, every Yale investigator
conducting research involving human participants, whether or not funded by a federal sponsor,
must submit a proposed research plan to the appropriate Yale institutional review board (IRB) for
review. In addition, investigators who participate in research involving human participants must
complete training in human subjects research and must comply with IRB policies and procedures.
Research may not begin until the IRB has fully approved the research plan and all related consent
documents, and until the required training has been completed. Further information and a full




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statement of applicable University policies and procedures are available on the Human Research
Protection Program Web site.

i. The study of live vertebrate animals is an integral part of Yale University’s research and
teaching missions and is a privilege regulated by legal, state, and federal agencies. Faculty members
contemplating using live vertebrate animals in research, teaching, or testing should refer to the
Yale University Institutional Animal Care and Use Committee (IACUC) Web site and contact
the IACUC office. Work with live vertebrate animals may not begin until all required training
and approvals are obtained.

j. The University has developed guidelines and procedures for handling radioactive materials,
hazardous chemicals, potentially hazardous biological materials, and controlled substances, as
well as for other aspects of research relating to occupational and environmental safety. These
policies are generally administered by Environmental Health and Safety (EHS). Any investigator
planning to use such materials must consult with EHS for guidance on required training, required
protocol review, proper handling, state and federal safety regulations, proper procedures in the
event of spillage, etc., prior to initiating a study or bringing such materials into a laboratory. In
most instances, a laboratory must be inspected and approved by EHS before hazardous substances
are brought to that location at the University. Protocols calling for the use of certain substances
must receive prior review by the cognizant Safety Committee.

2.    University Offices Supporting Research and Scholarly Activity

The process of obtaining and managing external support for research and scholarly activity is
multifaceted. The University has many offices that support faculty in this endeavor. It is necessary
for faculty to involve the appropriate offices when conversations with potential and actual sponsors
take place and to continue discussions with the relevant University offices in planning proposals,
preparing research agreements, and developing corporate and foundation relationships.

The Office of Research Administration assesses research compliance and integrates and effectively
operates a number of offices related to the research enterprise.

The Office of Grant and Contract Administration provides a diverse array of knowledge and
services and should be consulted early in the planning stage of any proposal. This office assists
faculty in locating funding sources, interpreting agency guidelines, and developing proposals for
research, education, and training programs. It is responsible for reviewing all proposals to ensure
conformance with federal, state, and local laws, as well as with Yale policy. Further, this office
is charged with officially accepting awards on behalf of the University. In this role it negotiates



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award terms and conditions and authorizes establishment of University financial accounts to
manage receipt and disbursement of funds supporting research.

The Office of Grant and Contract Financial Administration is responsible for the institutional
aspects of externally provided funding. This office manages billing and drawdown of research
funds, prepares financial reports, and monitors expenditures to assure compliance with sponsor
terms and conditions. The Office of Grant and Contract Financial Administration also develops
and negotiates Yale’s Facilities and Administrative indirect cost rates and its fringe benefit rates.
Its financial stewardship of sponsor funds includes overseeing equipment inventory and ensuring
compliance with cost accounting standards.

A full description of these offices and the details of the University’s research policies can be
found in the Principal Investigator’s Handbook.

Corporate and Foundation Relations within the Office of Development builds and optimizes
institutional relationships between the private sector and the University. It represents Yale to
corporations and foundations when seeking support for faculty and institutional needs. Working
closely with faculty and administrators, Corporate and Foundation Relations maintains relationships
with a broad range of corporation and foundation donors and advises faculty on donor interests,
proposal development, submission strategies, and stewardship. These relationships are realized
in the form of gifts, grants, and other arrangements, which may be directed to research, student
support, capital needs, and programmatic funding. In order to ensure that faculty are well served
and that institutional policies and procedures are met, Corporate and Foundation Relations works
closely with the Office of the Provost, the Office of Grant and Contract Administration and the
Office of Cooperative Research. Faculty seeking support from corporations and foundations
should inform Corporate and Foundation Relations of their activities in order to obtain advice
and help and, as appropriate, authorization to proceed.

The Office of Cooperative Research (OCR) is charged with commercializing technology resulting
from Yale research so that it may benefit the public. OCR will evaluate the commercial potential of
inventions, biological materials, and Yale-owned copyrightable materials. If the potential market
is deemed sufficient, OCR will arrange for the preparation of appropriate patent applications or
other legal protection. Further, OCR will seek commercial partners and negotiate appropriate
agreements to develop and commercialize marketable inventions and biological or copyrightable
materials. Faculty inventors and creators are expected to assist the OCR as necessary in preparing
patent applications and identifying and working with potential licensees. See Section XX.D for
University policies on patents, copyrights, and licensing.




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3.	Seeking and Maintaining External Research Support

a. All faculty who expect to be engaged in sponsored research must complete certain online
training modules in order to comply with federal and other regulations and University policy.
A key module is called Sponsored Research Administration for Yale Faculty, which can be
accessed through the Office of Research Administration. Other training modules and forms (e.g.
Animal Care and Use, Laboratory Safety, Human Subjects Protections, and Conflict of Interest/
Commitment) can be accessed through the Training and Certification Web site. This Web site
offers an assessment tool that allows individual faculty to learn what training they are required
to take and provides the courses and forms that accompany these requirements.

b. All applications and proposals seeking public or private support for research, teaching, or other
programmatic activities must be reviewed and approved by the University before submission in the
University’s name to a potential sponsor through the Office of Grant and Contract Administration.
That office will consult with the appropriate development office when the sponsor is a corporation
or foundation and with the Office of Cooperative Research when a patent or license is involved. In
particular, proposal budgets must be reviewed before submission to or negotiation with a sponsor.
Corporate and foundation proposals other than those associated with established programs funded
year-to-year should be discussed in advance with Corporate and Foundation Relations.

c. Early contact with the cognizant offices is strongly encouraged in connection with all applications
for support, and adequate time should be allowed for administrative review and negotiation
with the sponsor, particularly when a sponsor proposes terms that contravene University policy.
Faculty members should be aware that proposals may have to be withdrawn if adequate time is
not allowed for administrative review, or if the sponsor is unwilling to agree on terms consistent
with the University requirements.

d. All applications and proposals must state the full cost of the project and proposed sources
of support. Any agreement requiring University cost-sharing must be approved by the Provost
or by the Dean in a professional school in advance of submission.

e. All proposal budgets, including those submitted to corporate and foundation sponsors,
must include the appropriate Facilities and Administrative costs (also known as indirect costs).
Requests for adjustments in those costs should be addressed to the Office of Grant and Contract
Administration, which in some cases may approve the request, or in others may forward it for
consideration to the Dean of a professional school or to the Provost.

f.    Proposals will be approved for submission to sponsors only if it is clear that appropriate



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space, equipment, and personnel will be available to carry out the proposed activity and if the
proposed activity complies with all applicable regulations and policies regarding the conduct of
research.

g. Proposals that may involve the relationship between Yale and New Haven or other surrounding
communities present special issues. Any grant proposal with significant impact on local institutions,
firms, or individuals (as participants or as collaborators) should be brought to the attention of the
Vice President and Director of New Haven and State Affairs and Campus Development, who has
overall responsibility for relations between Yale and the surrounding community.

h. Post-award proposals to change the duration, award amount, or conditions of support require
the same approvals within the University as an original proposal or award.

D. Patents, Copyrights, and Licenses

The University encourages faculty members to consider ways in which the results of their research
may best be disseminated and made available for the public good. To facilitate the patenting
and licensing of inventions developed under University auspices, Yale established the Office of
Cooperative Research (OCR). The primary goals of this office are to facilitate the dissemination
of research results through commercial development and to generate revenue that will both reward
inventors for their creativity and support research and other educational programs at the University.

Under the Yale University Patent Policy the University owns any patentable invention made by a
faculty member using Yale facilities or otherwise under the auspices of the University. Biological
materials created by faculty, like other forms of property at Yale, are generally owned by the
University. Under the Yale University Copyright Policy, the University generally will not assert
ownership of traditional copyrightable materials created by a faculty member unless the works
are created: (1) pursuant to certain assigned tasks, (2) under funding agreements that provide for
Yale ownership, or (3) under circumstances involving significant commitments of Yale resources,
as determined by the Provost. The University shares any net royalties received through licensing
of faculty inventions and Yale-owned copyrights in accordance with the plan set forth in the
Patent Policy, and generally follows the same formula for Yale-owned copyrighted materials. The
University’s share of net royalty income is used primarily in support of research and education.

In conjunction with any application for external funding support, a faculty member must have
completed the Training and Certification module confirming his or her acceptance of the University
Patent and Copyright Policies, and committing to execute all appropriate forms required to
document ownership by the University (through OCR) of any inventions conceived by him or



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her at the University and any copyrightable material to which the University takes title under
the Copyright Policy. When disclosing a particular invention or certain copyrighted materials, a
faculty member also must execute an assignment to the University of his or her interest in such
inventions and in those certain copyrights. Such assignments are necessary to document, report,
or commercialize those inventions and copyrights and in order to share with faculty royalty
revenues received by the University from commercial licensees.

For further information on the Office of Cooperative Research, see Section XX.C. For definitive
statements of the Yale Patent and Copyright Policies, please refer to their complete texts, available
at the Office of Cooperative Research.

E.	Outside Interests and Employment

The University encourages its faculty to participate in sponsored research, consulting, and other
activities that may benefit not only the individual faculty member, but also the University and
society. Although activities directed outside the University are often compatible with teaching,
scholarship, and research at Yale, they may in some cases conflict with these on-campus responsi-
bilities or with the University’s institutional goals. Outside interests and commitments may divert
essential faculty creativity and energy away from Yale and may appear to compromise the integrity
of Yale teaching, research, clinical care, or scholarship. Therefore, Yale reaffirms its unqualified
commitment to the following key principles:

a. The overriding professional obligation of all full-time members of the University community
is to Yale and to its mission of creating, disseminating, and preserving knowledge.

b. No outside activity or financial interest of any member of the University community will
be permitted to compromise the integrity of teaching, research, clinical care, and scholarship
at Yale, to detract from the fulfillment of that member’s fundamental obligations to Yale, or to
compromise the welfare of Yale students.

Note also that faculty members should refrain from using University facilities more than occasionally
and incidentally in performing any of the outside activities described in this subsection.

1.    Conflict of Interest and Conflict of Commitment

Yale is committed to ensuring that the research, consultation, and other activities of faculty and
non-faculty employees are conducted properly and consistently with the principles of openness,
trust, and free inquiry that are fundamental to the autonomy and well-being of a university and
with the responsible management of the University’s business. Toward that end and consistent



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with federal regulations, Yale has formulated a policy and procedures to identify and address
potential, actual, and apparent conflicts of commitment and conflicts of interest. The text of the
policy and procedures can be viewed on the Office of the Provost Web site. The fundamental
premise of this policy is that each member of the Yale community has an obligation to act in the
best interests of the University, and must not allow outside activities or outside financial interests
to interfere with that obligation.

A conflict of commitment occurs when the commitment to external activities of a faculty or staff
member adversely affects his or her capacity to meet University responsibilities. This form of
conflict is easily defined and recognized since it involves a perceptible reduction of the individual’s
time and energy devoted to University activities. Obligations to the University are not discharged
solely by teaching classes; individuals must be available to their students outside the classroom,
participate on committees and in other University activities, supervise graduate students and
postdoctoral trainees, and make constant progress in research programs. Any relationship with an
outside organization that requires frequent or prolonged absence from Yale represents a conflict
of commitment that must be avoided.

A conflict of interest exists when an individual has an external economic or other personal interest
that affects or provides an incentive to affect the individual’s conduct of his or her University
activities. Conflicts of interest can arise naturally from an individual’s engagement with the
world outside the University, and the mere existence of a conflict of interest does not necessarily
imply wrongdoing on anyone’s part. When conflicts of interest do arise, however, they must be
recognized, disclosed, and either managed, reduced, or eliminated. Even when no conflict actually
exists, the appearance of conflict of interest may be present. Such apparent conflicts can do as
much damage as actual ones by undermining the credibility of research, clinical care, scholarship,
or University financial decisions, and they also must be avoided.

The University Policy on Conflict of Interest requires that all faculty members employed more
than half-time at the University, all faculty members who hold administrative positions, and all
faculty members responsible for the design, conduct, or reporting of research at the University,
even if employed half-time or less, submit an annual External Interest Disclosure Form. All such
faculty must update the form whenever a material change has occurred and, whenever possible,
disclose expected changes or newly anticipated financial or outside interests before they occur.
Faculty new to Yale should complete the form as soon as possible after their arrival. The Provost’s
Conflict of Interest Committee (the Committee) is charged with reviewing disclosure forms and
making recommendations to the Provost with respect to any actions required to manage, reduce,
or eliminate conflicts.



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An investigator may not apply for a grant or contract until he or she has completed and submitted
an up-to-date disclosure form. Likewise, a grant or contract award cannot be established until the
required disclosures have been made and reviewed, and a determination reached either that no
conflict of interest exists or that an identified conflict has been appropriately managed, reduced,
or eliminated. In addition to the annual disclosure form that is submitted to the Committee,
investigators conducting research involving human participants may be subject to supplemental
disclosure requirements as outlined in the policies of the cognizant Institutional Review Board.
For further information, contact the Conflict of Interest Office.

2.	Outside Academic Employment

Of all the activities in which faculty might engage outside the University, teaching presents
issues that require special attention because it competes most directly with the core educational
mission of the University. In judging the appropriateness of such activities outside of Yale, faculty
members should consider the time commitment involved, as well as the potential impact of these
activities on the fulfillment of Yale’s institutional goals. In addition to those instances of outside
teaching that are discussed below, ladder faculty may not accept a concurrent ladder faculty
appointment at another academic institution, even while on unpaid leave from Yale or the other
institution (see Section III.E).

a. Outside teaching activities that relate closely to the University’s educational mission require
both prior approval by the cognizant Provost (or the Provost’s designee) and disclosure to the
Committee. These include:

i. Participation in distance learning ventures with other institutions or with commercial firms,
whether or not for compensation, throughout the calendar year; or

ii. Teaching or co-teaching courses during the academic year at another academic institution.
(Note that it is unusual for the Provost to approve such activities. If permission is granted, a faculty
member might receive a reduced schedule at Yale for such teaching by arrangement with the other
institution, but he or she typically would not be permitted to receive extra compensation.)

b. Outside teaching activities that do not require disclosure or prior approval by the cognizant
provost include:

i. Delivering individual lectures at other academic institutions, at conferences, or at public
gatherings (with or without remuneration);




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ii. Teaching summer courses at Yale or elsewhere by faculty not receiving other summer
compensation for the period in question; and

iii. Posting non-interactive educational materials on a Web site.

The above rules apply to faculty who hold more than half-time appointments at the University,
all faculty members who hold administrative positions, and all faculty members responsible
for the design, conduct, or reporting of research at the University. Faculty who are half-time or
less are expected to discuss with the chair, cognizant dean, or provost their teaching activities
outside of Yale when they are appointed and whenever a material change has occurred. Note that
the ownership of teaching materials, whether used on or off-campus, is governed by the Yale
University Copyright Policy.

3.	Non-academic Employment

When considering an offer of ancillary non-academic employment, such as consulting to a business
concern or to a government agency, all faculty members should be guided and governed by the
primary obligation of furthering the University’s essential purposes.

Activities clearly of institutional benefit (e.g., occasional site visits or evaluations at the request of a
government or special accrediting agency, advice to foundations, work for professional associations,
academic lectures at other institutions, or certain community services) are an important component
of faculty responsibility. Other extramural activities that are consistent with the individual’s
overriding obligation to the University, including consulting and other gainful employment, are
acceptable and encouraged. Such activity must be consistent with the principles outlined above
and may not require on the average more than one day per seven-day week in any academic
semester or in any summer month during which faculty members are receiving compensation
for full-time employment at the University. These activities must be disclosed annually to the
Committee. However, it is the responsibility of the chair, cognizant dean, or Provost to take
appropriate action to identify and address conflicts of commitment.

Persons on phased retirement may accept any outside employment that does not create a conflict
of interest or interfere with their obligations to the University.

4.   Faculty Management of an Outside Entity

Because of the potential for conflict of interest or commitment, in many circumstances it would
not be appropriate for a faculty member to participate in the day-to-day management of an outside
entity, whether for-profit or non-profit. However, in certain circumstances, the University may



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allow faculty management of outside entities under conditions that are intended to minimize
the likelihood of a conflict of interest or commitment. The following process must therefore be
observed:

a. If a faculty member has, or plans to assume, managerial responsibilities of an outside entity,
that individual is required to disclose the proposed involvement to the Provost and, for faculty
in professional schools, to the cognizant dean, who will review the proposal to ensure that such
activities do not interfere with the faculty member’s obligations to the University. See Section
XX.E.5 for policies regarding faculty service on boards of directors.

If the Provost or Dean determines that a faculty member’s involvement with an entity entails,
or is likely to entail, a conflict of commitment, then the Provost or Dean will consult with the
faculty member in order to seek ways to eliminate or manage the conflict.

A faculty member may request a reduced appointment or a leave without pay for up to one year,
consistent with the policies in this Handbook, to devote the time to the non-academic commitment.
Such requests will be acted on by the Provost after an assessment of institutional needs.

At the end of any approved leave or period of reduced responsibility, the faculty member may
request a return to full-time status. If the faculty member wishes to continue to devote substantial
time to the outside entity, the individual will normally be expected to resign from the University.
Subsequent reappointment to full-time status requires application and approval through the
University’s ordinary faculty appointment procedures. The faculty member may also request
conversion to part-time adjunct status, but subsequent reappointment would similarly involve
the usual University appointment procedures.

b. After the Provost or cognizant dean has reviewed the proposed involvement and resolved any
conflict of commitment, the faculty member discloses the proposed activity to the COI Committee
for review.

If the COI Committee determines that a faculty member’s disclosed involvement with an outside
entity entails, or is likely to entail, a conflict of interest, the Committee will consult with the
faculty member and if necessary, the Provost or Dean, in order to seek ways to eliminate or
manage the conflict.

c. When an outside entity has been established to commercialize the results of a faculty member’s
professional endeavors, the proposal must also be reviewed and approved by the Office of
Cooperative Research. Additional conflict management techniques may be implemented as




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described in the Conflict of Interest Principles Applicable to Faculty Relationships with Startup
Companies codified in Appendix C of the University Policy on Conflict of Interest.

5.   Faculty Service on Boards of Directors

Faculty service on the board of directors (BOD) of a for-profit or non-profit entity creates fiduciary
responsibilities to the outside entity that may conflict with the individual’s obligations to the
University. When considering service on the BOD of an outside entity, faculty members should
be guided and governed by the principles outlined in this Handbook. Board activities, when
aggregated with all other non-academic employment, may not require on the average more than
one day per seven-day week in any academic semester or in any summer month in which the
individual is receiving compensation for full-time employment at the University. Board activities
must be disclosed to the COI Committee in accordance with the University Policy on Conflict
of Interest.

Faculty members who serve on the board of any outside entity should recuse themselves from all
University decisions that involve the entity. Further, faculty members should recuse themselves
from all decisions on behalf of the entity that involve the University. Faculty members must
comply with all requirements of the COI Committee for managing or eliminating any conflict or
potential conflict involving the board service. In certain circumstances where the COI Committee
or the Provost determines that a conflict cannot be managed effectively, the faculty member may
be required to discontinue the board relationship with the outside entity.

Faculty holding administrative positions at the University (e.g., Dean, Department Chair, Center
Director), are expected to consult with the cognizant Provost (or the Provost’s designee) prior to
accepting a position on the BOD of any outside entity.

F.   University Equipment

Equipment purchased with internal Yale funds or Yale-administered outside grant funds is owned
by Yale, except when a sponsor has expressly retained title.

1. Off-campus Use. Faculty members planning to use University-owned equipment off campus
or to take equipment with them on leaves of absence should complete a request for off-campus use
of Yale University equipment. Consult Yale University Policy 1110, Personal and Off-Campus Use
of University Property, for more detailed information. This policy applies to all types of equipment,
including laboratory equipment, office equipment, and computing equipment. Note also that the
faculty member is responsible for compliance with all regulations of Environmental Health and




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Safety (EHS) governing hazardous materials, insofar as they affect University equipment.

2. When Departing from Yale. When a faculty member moves to another academic or nonprofit
institution, transfer of equipment is treated as follows:

a. Equipment purchased with University funds (provostial, school, or department) or purchased
with outside grant funds may only be transferred in accordance with Yale University Policy 4209,
Equipment, and if the sponsor’s policy permits the transfer.

b. The University is prohibited from transferring equipment purchased with federal funds to
for- profit institutions. Any transfer of equipment purchased with internal Yale funds to a for-profit
institution would require special permission from the Provost.

3. Decommissioning Equipment. Environmental Health and Safety (EHS) maintains policies
and procedures for decommissioning equipment, and should be consulted when equipment is no
longer needed.




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XXI. Other University Policies Affecting Faculty

A.	Sexual Harassment

Sexual harassment is antithetical to academic values and to a work environment free from the
fact or appearance of coercion. It is a violation of University policy and may result in serious
disciplinary action. Sexual harassment consists of nonconsensual sexual advances, requests for
sexual favors, or other verbal or physical conduct of a sexual nature on or off campus, when: (1)
submission to such conduct is made either explicitly or implicitly a condition of an individual’s
employment or academic standing; or (2) submission to or rejection of such conduct is used as
the basis for employment decisions or for academic evaluation, grades, or advancement; or (3)
such conduct has the purpose or effect of unreasonably interfering with an individual’s work or
academic performance or creating an intimidating or hostile academic or work environment.
Sexual harassment may be found in a single episode, as well as in persistent behavior. Conduct
that occurs in the process of application for admission to a program or selection for employment
is covered by this policy, as well as conduct directed toward University students, postdoctoral
appointees, faculty, or staff members. In addition, conduct initiated by or directed toward third
parties (i.e., individuals who are neither students nor employees, including but not limited to
guests and consultants) is covered by this policy. Both men and women are protected from sexual
harassment, and sexual harassment is prohibited regardless of the sex of the harasser. Sexual
harassment is a matter of particular concern to an academic community in which students, faculty,
and staff are related by strong bonds of intellectual dependence and trust. If members of the faculty,
whether professors or teaching fellows, or other Yale employees, introduce sex into a professional
relationship with a student, they abuse their position of authority. See the University’s Policy on
Teacher-Student Consensual Relations.

State law requires that all members of the faculty who supervise one or more employees must
complete an approved training course on preventing sexual harassment.

A student or staff member’s complaint of sexual harassment by a faculty member may be reviewed
by the University-Wide Committee on Sexual Misconduct (UWC). Faculty members who believe
they have been sexually harassed by faculty members or students may also use the UWC. The
UWC’s procedures are available on its website. Any faculty member concerned about an issue of
sexual harassment may and is encouraged to discuss it with the University’s Title IX Coordinator,
the Deputy Title IX Coordinator for his or her school or any other school, the Chair of the UWC,
or the Office of the Provost.




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B.	Teacher-Student Consensual Relations

The integrity of the teacher-student relationship is the foundation of the University’s educational
mission. This relationship vests considerable trust in the teacher, who, in turn, bears authority
and accountability as a mentor, educator, and evaluator. The unequal institutional power inherent
in this relationship heightens the vulnerability of the student and the potential for coercion.
The pedagogical relationship between teacher and student must be protected from influences or
activities that can interfere with learning and personal development.

Whenever a teacher is or in the future might reasonably become responsible for teaching, advising,
or directly supervising a student, a sexual relationship between them is inappropriate and must be
avoided. In addition to creating the potential for coercion, any such relationship jeopardizes the
integrity of the educational process by creating a conflict of interest and may impair the learning
environment for other students. Finally, such situations may expose the University and the teacher
to liability for violation of laws against sexual harassment and sex discrimination.

Therefore, teachers (see below) must avoid sexual relationships with students over whom they have
or might reasonably expect to have direct pedagogical or supervisory responsibilities, regardless
of whether the relationship is consensual. Conversely, a teacher must not directly supervise any
student with whom he or she has a sexual relationship.

Undergraduate students are particularly vulnerable to the unequal institutional power inherent in
the teacher-student relationship and the potential for coercion, because of their age and relative
lack of maturity. Therefore, no teacher shall have a sexual or amorous relationship with any
undergraduate student, regardless of whether the teacher currently exercises or expects to have
any pedagogical or supervisory responsibilities over that student.

Teachers or students with questions about this policy are encouraged to consult with the University’s
Title IX Coordinator, the Deputy Title IX Coordinator for his or her school or any other school,
the Provost, or one of his or her designees.

A student or other member of the community may lodge a formal or informal complaint regarding an
alleged violation of this policy with the University’s Title IX Coordinator or with the University-Wide
Committee on Sexual Misconduct.

Violations of the above policies by a teacher will normally lead to disciplinary action.

For purposes of this policy, “direct supervision” includes the following activities (on or off
campus): course teaching, examining, grading, advising for a formal project such as a thesis or



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research, supervising required research or other academic activities, serving in such a capacity
as Director of Undergraduate or Graduate Studies, and recommending in an institutional capacity
for admissions, employment, fellowships, or awards. “Teachers” includes, but is not limited to,
all ladder and non-ladder faculty of the University. It also includes graduate and professional
students and postdoctoral fellows and associates only when they are serving as part-time acting
instructors, teaching fellows, or acting in a supervisory capacity or in similar institutional roles,
with respect to the students they are currently teaching or supervising. “Students” refers to those
enrolled in any and all educational and training programs of the University.

Additionally, this policy applies to members of the Yale community who are not teachers as defined
above, but have authority over or mentoring relationships with students, including athletic coaches,
supervisors of student employees, advisors and directors of student organizations, Residential
College Fellows, as well as others who advise, mentor, or evaluate students.

C. Accommodations for Students with Disabilities

The Resource Office on Disabilities facilitates individual accommodations for Yale undergraduate,
graduate, and professional school students who have disabilities and who register with and have
appropriate documentation on file in the Resource Office. Faculty members are notified in writing
when students in their classes have disabilities and need accommodations for class work and
exams. Examples of accommodations include extension of time on tests, a distraction-free testing
location, use of a laptop computer to take an exam, and materials in alternate formats such as
large print, Braille, or taped texts. The Resource Office staff welcome conversations with faculty
members to ensure proper coordination of special arrangements for the student while maintaining
the integrity of course requirements.

D.	Employment of Members of the Same Family and Related Matters

Since appointments are based on individual merit, there is no presumption against employing
two members of the same family in one academic department or school. It is expected, however,
that one member of a family will not be present during discussion of, nor participate in decisions
affecting, the appointment, promotion, salary, or other terms of employment of another member
of that family. For the same reason, persons sharing an intimate relationship similarly must avoid
being present during, or participating in, such decisions affecting the terms of employment of each
other. In cases of doubt or conflict of interest, employment judgments should be determined by
other qualified professional persons. In the case of academic appointments, these persons would
act under the supervision of the Provost and the appropriate Dean. In the case of non-academic
appointments, they would act with the aid of the Human Resources Department.



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    .          hort-term Medical Disability
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A full-time member of the teaching faculty who is unable to meet his or her teaching responsi-
bilities or to perform other duties as a result of a planned or emergency short-term medical
disability – including a period of incapacity related to the bearing of a child – will be relieved of
those duties, without loss of salary or benefits, during the period of incapacity. Documentation
of the nature and duration of the disability is required in order to determine the appropriate
accommodation and arrangements. If the incapacity would interrupt the teaching of courses by
three or more weeks of the semester in which the interruption occurs, the relief may be granted
for up to the entire semester. In such cases, the chair of the department or the Dean of the school,
in consultation with the Office of the Provost, will make such arrangements as are necessary and
appropriate with regard to covering the teaching and other responsibilities, including canceling
an affected course or drawing upon funds from the Dean of the school or the Office of the
Provost to employ a substitute instructor. Outside the period of incapacity, the faculty member
will be expected to meet as many department and University responsibilities other than teaching,
including research, committee membership, and student advising, as are compatible with the
medical situation. Should the medical incapacity prevent the faculty member from meeting his
or her full teaching and other responsibilities for a period that extends into a second semester,
the Office of the Provost should be consulted and the University’s long-term disability policy
may be applied. Alternatively, a leave of absence without salary might be approved. Relief from
teaching responsibilities as the result of short-term medical disability is not considered a leave of
absence. For information regarding extensions of appointments related to a short-term medical
disability, see Section XVII.D.7.

F.             tandards of Business         onduct
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The Standards of Business Conduct, which have been endorsed by the Yale Corporation, articulate
the ethical and legal principles that have long governed business dealings by Yale faculty and
staff, both among themselves and with the outside world. The Standards reflect values to which
the University subscribes, and they inform the University policies that address related issues.
The specific matters discussed in the Standards are the following:

                         • Ethical conduct

                         • Respect for others

                         • Conflicts of interest




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                  • Compliance with applicable laws and regulations

                  • Compliance with applicable University policies and procedures

                  • Compliance with contractual, grant, and other private obligations

                  • Individual responsibility and accountability

                  • Stewardship of property and funds

                  • Appropriate treatment of confidential information

                  • Recording, allocating, and charging costs and effort

                  • Internal controls

                  • Gifts, gratuities, and “kickbacks”

                  • Antitrust

                  • Obligation to report suspected material violations

                  • Consequences of violation

G. Appropriate Use of echnology Resources
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The use of Yale’s information technology resources is subject to Yale’s Information Technology
Appropriate Use Policy.

H. Military ervice
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The following policies apply to faculty with tenure, faculty on term appointments, research faculty,
and postdoctoral appointees who are drafted, enlist in the armed forces of the United States for five
years or less, or are members of a reserve unit and are called to active duty for five years or less.

1.   Faculty with enure
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Tenured faculty members may rejoin the faculty after military service, upon application to do so
within ninety days after release, honorable discharge, or retirement from such service, as though
they had been on leave of absence without salary for the period of military service.




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2.    Faculty on erm Appointments




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Faculty members on term appointments may, under federal law, return to their former position, or
to a position of like seniority, status and pay, upon application to do so within ninety days after
release, honorable discharge, or retirement from military service, for the number of semesters
remaining in their original term of appointment at the time they entered military service. Any
academic semester during which the faculty member is required to miss at least six weeks of that
semester due to military service is not counted in the term of appointment or in determining the
maximum time in a particular rank or in the combined non-tenure ranks.

3.    Research Faculty and Postdoctoral Appointees

Research faculty and postdoctoral appointees may, under federal law, return to their former
position, or to a position of like seniority, status and pay, upon application to do so within ninety
days after release, honorable discharge, or retirement from military service, for the number of
months of active employment remaining in their term of appointment at the time they entered
military service. For postdoctoral fellows supported from non-Yale funds, concurrence of the
supporting organization is necessary.

4.    Benefits

Fringe benefits available to tenured and non-tenured faculty members, research faculty, and
postdoctoral associates who enter military service are the same as those available to persons in
these categories who are on leave of absence without salary. See Section XVIII.C for a description
of these benefits. Since the maximum length of an unpaid leave is limited to one year for faculty
members whose terms of appointment are for three years or longer, and to three months for all
other faculty members and postdoctoral associates, the University’s contribution to the cost of
health, dental, disability, and group life insurance has similar limits. Furthermore, eligibility
for partial tuition grants under the University’s Scholarship Plan for Sons and Daughters of the
Faculty and Staff is limited to one year while the faculty or staff member is in military service.

I.    Jury Duty

Faculty members occasionally may be called to report for jury duty in the Connecticut Superior
Court, which selects jurors from the voter registration and Motor Vehicle Department lists. The
court summons jurors to report on a given date. A faculty member who receives a summons for
jury duty may postpone service to a more convenient date within one year from the date of the
summons by completing the Juror Confirmation Form in accordance with the instructions on the




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summons. It is ordinarily not possible to postpone service indefinitely, nor may a juror decline
to serve.

Most jurors who are summoned are not chosen to hear a case. In the Judicial District of New
Haven, a juror who is not chosen serves for only one day. A juror who is chosen serves for the
duration of the trial, regardless of its length. Faculty members scheduled for jury duty should
notify their department chair in advance of the court appearance date. Faculty members on jury
duty will be paid their regular salaries. Questions about jury duty may be directed to the Office
of the Vice President and General Counsel.

J.   Use of University Facilities

University organizations that schedule events in University facilities should be certain that
such events are consistent with the purposes of the University. Non-Yale groups wishing to use
University facilities must receive written authorization from the Office of the Secretary or other
appropriate University official. Generally, only nonprofit, tax-exempt organizations are eligible,
and proof of liability insurance coverage will be required. Use of University facilities for research
purposes by non-Yale organizations requires a special agreement negotiated by the Office of
Grant and Contract Administration.

K. Use of University -mail Addresses, Web sites, and tationery
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Yale e-mail addresses and Web sites, and all stationery printed with Yale identification, should be
used only for Yale-related correspondence. They may not be used by any member of the academic
community for soliciting funds or assistance for a cause not connected with the University, and they
should not be used for expressing private opinions that are not directly related to the user’s Yale
responsibilities. For further detail, see Section 1607.1 of the Information Technology Appropriate
Use Policy and Section 504.1 of the Personnel Policies and Practices Manual.

From time to time, the family or estate of a deceased faculty member requests access to the
faculty member’s Yale office files or e-mail account. Because these records may contain legally
protected information about students, other Yale employees, or patients, the University cannot
honor these requests. In some circumstances, the University may agree to provide to a deceased
faculty member’s family or estate his or her correspondence with a limited number of parties or
records regarding specific subjects.

The University has adopted a standard format and style for official University stationery. All
departments are encouraged to use this format and style. The best grade of Yale stationery is




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printed on paper made especially for Yale and bears the University arms as a watermark. This
paper is used exclusively for the letterhead style approved by the Secretary of the University.

L. University Federal Relations

The Division of the Vice President and General Counsel coordinates the University’s federal
relations efforts and monitors federal legislative and administrative policies and actions. Faculty
members who are interested in information on Congressional or federal administrative activities
affecting the University are encouraged to contact the Associate Vice President for Federal and
State Relations in the Office of Federal Relations. Faculty members who plan to testify before
Congress should consult with the Associate Vice President for assistance and for information on
communications made by the University on related federal matters.

M. Faculty Involvement in            ommunity Activities
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The Office of New Haven and State Affairs is responsible for Yale’s community relations and
appreciates notification of a faculty member’s research, teaching, publications, or civic activities
in the New Haven community that might bear on New Haven’s municipal or social concerns as
well as on the University’s institutional interests. The Office of New Haven and State Affairs
can assist faculty members who seek to engage the municipal or state governments on research
or policy matters and should be informed when a faculty member appears before or submits
testimony to city or state legislative bodies.

    . University ribunal
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The University Tribunal may be convoked by the President as an appropriate forum for addressing
the most serious allegations of misconduct by a student or a member of the faculty. Copies of the
procedures are available in the Office of the Secretary and the Office of the Provost.

O. Indemnification for Legal Expenses

The University will pay, under certain conditions, the legal fees and financial judgments incurred
by its faculty members who are made parties to litigation because of actions they have taken
in good faith and within the scope of their employment at Yale. Indemnification is governed
by Connecticut statute, and questions on the subject may be directed to the Office of the Vice
President and General Counsel.




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P.   Workplace Violence Prevention Policy

Yale University has a long-standing commitment to provide a campus that is safe and secure for
faculty, staff, students, and visitors. Behavior that is threatening, harassing, intimidating or in any
way dangerous or violent is strictly prohibited and will result in serious action by the University.
For further details, please view the Yale University Campus and Workplace Violence Prevention
Policy.




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